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 1
                              UNITED STATES DISTRICT COURT
 2
                            CENTRAL DISTRICT OF CALIFORNIA
 3
 4      SECURITIES AND EXCHANGE                      Case No. 8:21-CV-00403-JVS-ADSx
        COMMISSION,
 5               Plaintiff,
                                                     DECLARATION OF JOHN DWYER
 6            vs.
                                                        (FILED UNDER SEAL)
 7      ANDREW L. FASSARI,
 8
                     Defendant.
 9
10
11
         I, JOHN DWYER, do hereby declare under penalty of perjury, in accordance with
12
      28 U.S.C. § 1746, that the following is true and correct, that I am over 18 years of
13
      age, and I am competent to testify to the matter stated herein:
14
         1.   I am an attorney and have been licensed in Colorado since October 29, 2012. I
15
      am employed in the Division of Enforcement in the Denver Regional Office of the
16
      Securities and Exchange Commission (“SEC”) and hold the title of Counsel.
17
         2.   Among other things, the federal securities laws authorize the SEC to conduct
18
      investigations to determine whether the federal securities laws have been violated and
19
      to bring civil actions before the United States District Courts to enforce and secure
20
      compliance with those laws.
21
         3.   As part of my job duties, I am responsible for investigating potential violations
22
      of the federal securities laws.
23
         4.   In conducting factual investigations, my job responsibilities generally include
24
      requesting and receiving documents from witnesses, sending subpoenas, interviewing
25
      witnesses, taking sworn testimony, and conducting other investigative activities. I was
26
      assigned to investigate a matter—relating in part to Andrew L. Fassari (“Fassari”)—
27
      captioned In the Matter of Arcis Resources Corp. (D-03981).
28

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 1       II.     OVERVIEW OF THE SEC INVESTIGATION
 2       5.     As part of my investigation, I collected, reviewed, and analyzed information
 3    relating to trading in the securities of Arcis Resources Corporation (“ARCS” or the
 4    “Company”) by Fassari. This included a trade blotter reflecting all of Fassari’s ARCS
 5    trades in an E*Trade Securities LLC (“E*Trade”) account ending in *0255 and
 6    additional information associated with Fassari’s E*Trade accounts ending in *0255 and
 7    *3014.
 8       6.     I collected, reviewed, and analyzed information relating to social media posts
 9    on Twitter by the handle @OCMillionaire, as well as posts on the Internet message
10    board https://investorshub.advfn.com (“InvestorsHub”) by a user named
11    “OCMillionaire.”
12       7.     I collected, reviewed, and analyzed SEC filings by ARCS, as well as publicly
13    available data regarding the volume and pricing of ARCS shares during the period
14    between December 9, 2020 and December 18, 2020 (the “Relevant Period”).
15       8.     I reviewed publicly available information related to ARCS from the website
16    https://www.otcmarkets.com (“OTC Markets”), and publicly available information
17    related to ARCS on SilverFlume, the state of Nevada’s business search portal.
18       9.     I received and reviewed copies of emails that Raul Santos (“Santos”), the most
19    recent Chief Executive Office (“CEO”) of ARCS sent to OTC Markets Group Inc. and
20    to my colleagues at the SEC, as well as a declaration by Santos dated February 28,
21    2021.
22       III.    EXHIBITS TO DECLARATION
23       10. The exhibits attached to this declaration are:
24               x Exhibit 1 is a true and correct copy of information related to ARCS
25                  obtained from the Nevada Secretary of State’s business search portal
26                  SilverFlume.
27               x Exhibit 2 is a true and correct copy of an ARCS Quarterly Disclosure
28                  statement that is posted on OTC Markets’ website.

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 1             x Exhibit 3 is a true and correct copy of ARCS’ Form 15 filed with the SEC.
 2             x Exhibit 4 is a true and correct copy of an Arcis Resources Corporation
 3                Press Release dated Dec. 20, 2016, as available on OTC Markets’ website.
 4             x Exhibit 5 is not used.
 5             x Exhibit 6 is a true and correct copy of @OCMillionaire’s Twitter profile.
 6             x Exhibit 7 is a true and correct copy of OCMillionaire’s profile on
 7                InvestorsHub.
 8             x Exhibit 8 is a summary chart of a trade blotter provided by E*Trade for
 9                Fassari’s brokerage account ending in *0255, showing ARCS trades
10                between December 9 and December 16, 2020.
11             x Exhibit 9 is a summary chart of a trade blotter provided by E*Trade for
12                Fassari’s brokerage account ending in *0255, showing ARCS trades
13                between December 17 and December 18, 2020.
14             x Exhibit 10 is a chart summarizing the content of tweets by
15                @OCMillionaire regarding ARCS between December 9 and December 21,
16                2020.
17             x Exhibit 11 is a compilation of true and correct copies of certain
18                @OCMillionaire tweets related to ARCS.
19             x Exhibit 12 is a true and correct copy of an InvestorsHub post by
20                OCMillionare, dated May 31, 2013.
21             x Exhibit 13 is a true and correct copy of an email from Raul Santos to OTC
22                Markets.
23             x Exhibit 14 is a true and correct copy of OTC Markets website showing a
24                “Caveat Emptor” designation for ARCS.
25             x Exhibit 15 is a true and correct copy of emails between Raul Santos and
26                SEC staff.
27             x Exhibit 16 is a true and correct copy of a Yahoo Finance chart showing
28                ARCS share pricing and volume in December 2020.

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 1       IV.     BACKGROUND OF KEY ENTITIES AND INDIVIDUALS
 2       11. Based on the investigative work I conducted, I identified the facts below:
 3          A.       Arcis Resources Corporation
 4       12. Arcis Resources Corporation is a Nevada corporation that previously used a
 5    business address in Denver, Colorado. (Exhibit 1; Exhibit 2). ARCS’s common stock
 6    is quoted under the trading symbol “ARCS” on OTC Link, whose parent company is
 7    OTC Markets Group Inc. On January 13, 2015, ARCS filed a Form 15 with the
 8    Commission, terminating the registration of its securities pursuant to Section 12(g) of
 9    the Exchange Act, and suspending its obligation to file Exchange Act periodic reports.
10    (Exhibit 3).
11       13. A Quarterly Disclosure Statement of Arcis Resources Corporation dated June
12    30, 2016 was posted on OTC Markets’ website (www.otcmarkets.com). (Exhibit 2).
13    This disclosure statement identifies ARCS’s CEO as Raul Santos and lists the company
14    website as www.arcisresourcescorp.com. This is the last disclosure statement posted for
15    ARCS on OTC Markets’ website.
16       14. As part of my investigation I searched and reviewed publicly available press
17    releases by ARCS. The last available press release is dated December 2016, in which
18    ARCS reported its plan to launch a vape store in the Latin American market in the first
19    quarter of 2017. (Exhibit 4).
20       15. ARCS previously used the website www.arcisresourcescorp.com. In 2016, the
21    Company stopped paying for and maintaining its website. (See Santos Declaration).
22          B.       Defendant Andrew Fassari / @OCMillionaire
23       16. Brokerage records show that Andrew Fassari is 33 years old and a resident of
24    Irvine, California. As detailed below, Fassari uses “@OCMillionaire” and similar
25    names on social media—including on Twitter and InvestorsHub. (Exhibit 6; Exhibit 7).
26    @OCMillionaire describes himself as a “Master short squeeze artist [and] #Pennystock
27    Wizard.” @OCMillionaire’s Twitter profile stated he joined Twitter in July 2013 and as
28    of February 28, 2021 has approximately 13,100 followers.

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 1       V.    FASSARI’S DECEMBER 2020 PURCHASE OF ARCS
 2       17. I reviewed a trade blotter provided by E*Trade for Fassari’s brokerage account
 3    ending in *0255 (the “E*Trade blotter”). It reflects all of Fassari’s transactions in
 4    ARCS during December 2020. The E*Trade blotter is a business record that E*Trade is
 5    required to keep and maintain in the regular course of its business that memorializes
 6    securities transactions. For each of Fassari’s transactions in ARCS, the E*Trade blotter
 7    recorded the quantity of shares purchased or sold, execution time and date, and
 8    execution price, among other details. I created Exhibits 8 and 9, which summarize
 9    Fassari’s ARCS trading during the Relevant Period. For Exhibits 8 and 9, columns A–I
10    were copied directly from the E*Trade blotter. Columns J–N reflect SEC calculations
11    summarizing—among other things—the gross cost/proceeds of each ARCS transaction,
12    a running sum of ARCS shares owned by Fassari, and a running gross loss/profit tally
13    of Fassari’s ARCS trades. Exhibit 8 reflects Fassari’s trades from December 9 through
14    December 16, 2020. Exhibit 9 reflects Fassari’s trades from December 17 through
15    December 18, 2020.
16       18. Beginning on December 9, 2020 and ending on December 18, 2020, Fassari
17    purchased and sold shares of ARCS. The E*Trade blotter shows that on December 9
18    starting at 9:31 a.m. ET, Fassari began purchasing ARCS stock and accumulated
19    41,071,413 shares on that day. Fassari’s first purchase of ARCS shares was at $.0012
20    per share, and he continued to make incremental purchases through mid-day at
21    increasingly higher prices until he had purchased 41,071,413 shares in 107 transactions.
22    His final two purchases of shares on December 9, 2020 at or about 12:49 p.m. were at
23    prices of $.007 and $.0069. On December 9, Fassari purchased a total of 41,071,413
24    shares at a gross cost of $90,095.03. (Exhibit 8).
25       19. The next day, December 10, Fassari began to sell ARCS, eventually closing his
26    position on December 16. On December 10, he sold 25,000 shares for gross proceeds
27    of $475. On December 14, Fassari sold an additional 4,045,939 shares for gross
28    proceeds of $194,962.30. Finally, on December 16, Fassari sold his remaining

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 1    37,000,474 shares for gross proceeds of $824,351.61. Fassari received a total of
 2    $1,019,788.91 in gross proceeds from these sales. (Exhibit 8).
 3          20. When he closed his ARCS position on December 16, Fassari had received gross
 4    profits of $929,693.88. (Exhibit 8).
 5          21. Based on a review of Fassari’s December E*Trade brokerage statement, he
 6    immediately used the proceeds from his sales of ARCS shares to purchase securities of
 7    other companies.
 8          22. On December 17, 2020, Fassari opened a new position in ARCS securities. In
 9    total, he purchased 35,311,809 shares of ARCS at a gross cost of $586,215.29. (Exhibit
10    9).
11          23. Fassari sold all 35,311,809 of his ARCS shares on December 18, receiving
12    gross proceeds of $149,903.89. (Exhibit 9). In total, Fassari lost $436,311.40 on his
13    Dec 17–18 ARCS transactions. (Id.).
14          24. The chart below summarizes Fassari’s ARCS trading during the Relevant
15    Period:
16                   DATE            BUY/SELL            QUANTITY           GROSS $
17                                                                          AMOUNT
18                Dec. 9, 2020           Buy             41,071,413        ($90,095.03)
19               Dec. 10, 2020           Sell              25,000            $475.00
20               Dec. 14, 2020           Sell             4,045,939        $194,962.30
21               Dec. 16, 2020           Sell            37,000,474        $824,351.61
22               Dec. 17, 2020           Buy             35,311,809       ($586,215.29)
23               Dec. 18, 2020           Sell            35,311,809        $149,903.89
24
25          25. In January 2021, Fassari continued to use a portion of the proceeds from the
26    sales of his ARCS shares to purchase securities of other companies. A review of
27    Fassari’s January E*Trade brokerage account *0255 shows an Ending Account Value
28

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 1    on January 31, 2021 of $370,461.92.
 2       26. I reviewed statements for Fassari’s E*Trade brokerage account ending in
 3    *3014. The account did not show any trading in ARCS during December 2020, and the
 4    closing value was $3.42. I have also reviewed information indicating that Fassari
 5    maintained or maintains a bank account at JPMorgan Chase.
 6
 7       VI.   @OCMILLIONAIRE’S DECEMBER 2020 PROMOTION OF ARCS
 8       27. On December 9, 2020—the same day Fassari first purchased ARCS—
 9    @OCMillionaire began to promote the stock and tweet positive news about ARCS.
10    Between December 9, and 20, 2020, @OCMillionaire posted approximately 120 tweets
11    about ARCS (Exhibit 10; Exhibit 11). Examples include:
12             x Dec. 9 (10:46a ET): 15 Min till my new alert that i am expecting 3000%
13                minimum. $TSNP $BRTX $TSLA $IGPK $WOGI $STHC $TPTW $WOLF
14                $AAPL $bldv
15             x Dec. 9 (10:57a ET): OK GUYS! THE NEW ALERT IS $ARCS!! I will
16                share what i have uncovered the past 24 hours with you all! :smile: Lets
17                buy! #stocks #alert pennystocks #ocmillionaire
18             x Dec. 9 (1:49p ET): $ARCS 01 + today .10+ coming. It will squeeze and
19                they have a ton of news coming and backed by huge investors for its
20                #cannabis operations. I encourage all to reach out to the CEO. He is
21                honest and going to bring value to shareholders.
22             x Dec. 10 (10:23a ET): $ARCS I will not back down on my price target. I
23                will stand firm like I did on $TSNP.
24             x Dec. 10 (1:42p ET): People act like i was born yesterday. Bashing the
25                heck out of me AFTER All THAT DD i did and brought to the table.
26                Sending pm's to people saying i was selling. lf anyone believed that lie then
27                shame on you. The ones accusing others are the ones selling. Cheaters
28                mentality $arcs[.]

                                                   7
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 1             x Dec. 11 (12:14p ET): $ARCS Hedge fund coming in. Watch. 1.4 million sq
 2                 ft $TSNP will look like child 's play and that was a BEAST. biggest #mj
 3                 #cannabis #merger in the USA no notes no RS no dilution share buyback
 4                 share retirement idk what else anyone needs to hear $HEXO $ACS $TLRY
 5                 $APHA $ACAN
 6             x Dec. 14 (12:58p ET): $ARCS AGAIN I Will SAY IT. KNOW WHAT YOU
 7                 OWN. HOLDING ALL MY SHARES WITH GRIP TIGHT FIST. We are
 8                 going .85+ I dont care what the rest of you all think or do. God is good.
 9                 This company is doing everything the right way.
10             x Dec. 15 (9:29a ET): Today is my last buy day for $ARCS then i will hold
11                 all for the promise land. It has been awesome getting to know some of you.
12                 See you .85+ + one day. Oh, and I am about 99.5% sure i found the
13                 #cannabis company merger..and ITS HUGE Won’t have any issues
14                 running past my targets
15       28. @OCMillionaire also claimed to purportedly have inside information regarding
16    ARCS’s plans—specifically that he was in touch with the CEO of ARCS (Raul Santos)
17    via the email address info@arcisresources.com. (See Exhibit 10, rows 3, 4, 5, 7, 8, 14,
18    17, 21, 22, 24, 60, 68, 77, 78, 91, 99, 108, 114, 115, and 117). His alleged “due
19    diligence” tweets claimed that ARCS was planning to revive its business by—among
20    other things—bringing in a significant investor, merging with a significant cannabis
21    company, and purchasing or leasing significant cannabis processing. (Exhibit 10;
22    Exhibit 11). Examples include:
23             x Dec. 9 (11:04a ET): $ARCS i will share what i have uncovered in the last
24                 24 hours with you! Give me a few moments to load emails from the ceo on
25                 the big short squeeze that is coming! I just bought OOSs! WEEEEE.
26             x Dec. 9 (12:10p ET): $ARCS 380,000 indoor cultivation 1 Million+ sq ft
27                 processing. WEEEEEEEEE This CEO has big plans for us. It will move
28                 like $TSNP. I bought more at 0055.

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 1             x Dec. 9 (8:59p ET): l have $arcs revenue #s i will be posting tonight for the
 2                 valuation of the current grow operations, not only that. .. they are
 3                 EXPANDING out of state to OTHER BIGGER operations. THIS WILL
 4                 RUN LIKE STSNP. Make no mistake. Again, read below on emails. 1.4
 5                 million sq ft $TLRY $ACB
 6                      x This tweet includes a screenshot of alleged email communications
 7                       with Raul Santos, the CEO of ARCS.
 8             x Dec. 10 (8:24a ET): $ARCS, after speaking with CEO last night I am
 9                 adjusting my price targets significantly. I think we see .10-15 in 1-2 weeks
10                 from now but ultimately over .3 by end of Jan. They have massive
11                 scalability and already have licenses and operations compared to $TLRY
12                 $ACS and $HEXO
13             x Dec. 15 (2:27p ET): $ARCS for those in the trenches with me remember
14                 these key things. No rs no dilution share retirement buyback. #merger
15                 #CannabisCommunity 1.4 million sq ft facility with revenues of 450 million
16                 in net profits for that scale ... $ACB largest facility is 1.2 milly $TLRY
17                 800k[.]
18       29. @OCMillionaire promoted ARCS until December 18, 2020—the same day that
19    Fassari closed his ARCS position—when he tweeted that he sold ARCS for a “huge
20    loss.” (Exhibit 11).
21       VII. FASSARI IS @OCMILLIONAIRE
22       30. On December 18, 2020, @OCMillionaire tweeted that he “[s]old [ARCS] for a
23    huge loss. I don’t care what anyone says about me. I back up what I say. I take my
24    losses like a man. …” (Exhibit 11). To support this claim, he posted a screenshot of an
25    E*Trade account showing a sale of 35,311,809 shares of ARCS for a loss of
26    $436,678.07. The blotter for Fassari’s E*Trade account confirms that he sold—
27    exactly—35,311,809 shares of ARCS on December 18, 2020. (Exhibit 9).
28       31. On May 31, 2013, a user named OCMillionaire posted information on message

                                                     9
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 1     boards for InvestorsHub. OCMillionaire wrote “FOR THOSE OF YOU WHO CANT
 2     VIEW MY FB LINK,THIS IS THE EMAIL I GOT” and quoted an email sent to “Andrew
 3     Fassari” at email address andrewfassari@ymail.com. (Exhibit 12).
 4        VIII. FORMER CEO’S DENIAL THAT ARCS WAS CONDUCTING
 5                BUSINESS
 6           A.       Raul Santos
 7        32. Santos previously served as the CEO of ARCS. He is described as the CEO of
 8     ARCS in 2016 disclosure documents posted on OTC Markets (Exhibit 2). He is also
 9     listed as the President of ARCS on the state of Nevada’s business search portal.
10     (Exhibit 1).
11           B.       Santos’ December 17, 2020 Email to OTC Markets
12        33. On December 17, 2020, Santos (using a Gmail address not associated with
13     info@arciscorporation.com) emailed OTC Markets. (Exhibit 13). The email replied to
14     a 2016 billing invoice sent by OTC Markets Billing to ARCS via Santos’ email account.
15        34. Santos claimed that certain misrepresentations regarding ARCS were being
16     made online, and requested to be removed from OTC Market’s profile of the company.
17     He wrote:
18                    I have just become aware someone not affiliated with Arcis Resources
19                    corporation is spreading lies about Arcis Resources on Twitter/
20                    message boards claiming they have an affiliation with the company &
21                    spreading false lies. This has been a dormant shell for several years
22                    now & there is nothing is going on. What can I do to have my name
23                    removed from the OTC Markets? Additionally, what person from the
24                    OTC Markets can I talk to so investors are not harmed any further?
25                    (Exhibit 13).
26        35. A representative from OTC Markets subsequently provided a copy of Exhibit
27     15 to the SEC.
28        36. On December 17, 2020, OTC Markets affixed a “Caveat Emptor” warning to

                                                     10
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 1     ARCS—indicating that “there is a public interest concern associated with the company,
 2     which may include a spam campaign, questionable stock promotion, known
 3     investigation of fraudulent activity committed by the company or insiders, regulatory
 4     suspensions, or disruptive corporate actions.” (Exhibit 14)
 5            C.      Santos’ February 23, 2020 Email to the SEC
 6        37. On February 23, 2020, SEC staff contacted Santos via the email address that he
 7     used to contact OTC Markets. (Exhibit 15). Santos replied about two hours later,
 8     writing, in part:
 9                 x “ARCS was a failed project. It has been inactive since approximately 2016.
10                    ( no updated filings have been done with the OTC markets in years.)”
11                 x “The website: arcisresourcescorp.com ( became available years ago due to
12                    non payment) As there was no need for it. At some point last year someone
13                    purchased it to spread false rumors about Arcis. In addition, someone also
14                    made up a fake Twitter account to make false statements on Twitter.”
15                 x “I believe someone named OCmillionaire on Investorshub & Twitter with
16                    several thousands followers purchased shares in the open market with
17                    several of his associates. He then purchased the domain name/ made up a
18                    fake Twitter account in order to sell shares he had purchased at higher
19                    price.”
20        38. On February 28, 2021, Santos provided a declaration to the staff of the SEC
21     regarding ARCS, Andrew Fassari, and @OCMillionaire.
22        IX.      ARCS’S TRADING VOLUME AND PRICING DURING THE
23                 RELEVANT PERIOD
24        39. From Wednesday, December 9, 2020, to Friday, December 18, 2020—the
25     period coinciding with Fassari’s trading and the false social media posts by
26     @OCMillionaire—ARCS’s stock price and volume increased substantially. (Exhibit
27     16).
28

                                                     11
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 1        40. The chart below reflects publicly available trading dates, opening price, closing
 2     price, and volumes in ARCS for December 8 through December 18, 2020:
 3          DATE               OPEN         INTRADAY           CLOSE            VOLUME
 4                             PRICE           HIGH             PRICE
 5       Dec. 8, 2020          $0.0010        $0.0014          $0.0012            78.51 M
 6       Dec. 9, 2020          $0.0012        $0.0160          $0.0016           478.92 M
 7       Dec. 10, 2020         $0.0189        $0.0190          $0.0084           276.33 M
 8       Dec. 11, 2020         $0.0092        $0.0200          $0.0199           323.47 M
 9       Dec. 14, 2020         $0.0286        $0.0790          $0.0540           377.34 M
10       Dec. 15, 2020         $0.0575        $0.0620          $0.0400           140.38 M
11       Dec. 16, 2020         $0.0235        $0.0270          $0.0187           373.42 M
12       Dec. 17, 2020         $0.0196        $0.0298          $0.0245           237.84 M
13       Dec. 18, 2020         $0.0037        $0.0068          $0.0035           440.73 M
14
15
16
17            I certify under penalty of perjury that the foregoing is true and correct to the
18     best of my knowledge.
19
20     Dated: March 1, 2021
21
22
23                                                                John Dwyer
24
25
26
27
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                                  Index to Exhibits
                    To the March 1, 2021 Declaration of John Dwyer
   Exhibit      Description
   1            Nevada Secretary of State information for Arcis Resources Corporation
   2            OTC Pink Basic Disclosure Guidelines for
                Quarter Period ending June 30, 2016 for Arcis Resources Corporation
   3            Form 15 for Arcis Resources Corporation (Jan. 13, 2015)
   4            Arcis Resources Corporation Press Release, as available on OTC Markets’
                website (Dec. 20, 2016)
   5            No Exhibit
   6            @OCMillionaire Twitter profile
   7            OCMillionaire iHub info
   8            Summary of E*Trade Blotter for Fassari’s executed trades in ARCS (Dec. 9 –
                Dec. 16, 2020)
   9            Summary of E*Trade Blotter for Fassari’s executed trades in ARCS (Dec. 17 –
                Dec. 18, 2020)
   10           Chart summarizing the content of tweets by @OCMillionaire regarding ARCS
                (Dec. 9 – Dec. 21, 2020)
   11           Screenshots of key @OCMillionaire tweets (Dec. 9 – Dec. 18)
   12           iHub post by OCMillionaire (May 31, 2013)
   13           Email from Raul Santos to OTC Markets (Dec. 14, 2020)
   14           OTC Markets’ website “Details” for ARCS, showing OTC designations for
                ARCS’s securities
   15           Emails to/from Raul Santos and Danielle Voorhees (Feb. 23, 2021)
   16           Chart of ARCS’s share price and volume from Yahoo Finance (showing Dec.
                2020)
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  ENTITY INFORMATION



   ENTITY INFORMATION



     Entity Name:

     ARCIS RESOURCES CORPORATION
     Entity Number:

     E0206042008-4

     Entity Type:

     Domestic Corporation (78)
     Entity Status:

     Active

     Formation Date:

     03/27/2008
     NV Business ID:

     NV20081139163

     Termination Date:

     Perpetual                                               Exhibit
                                                                        exhibitsticker.com




     Annual Report Due Date:
                                                                1
     3/31/2021




   REGISTERED AGENT INFORMATION


     Name of Individual or Legal Entity:

     PREMIER LEGAL GROUP
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     Status:

     Active

     CRA Agent Entity Type:

     Registered Agent Type:

     Commercial Registered Agent

     NV Business ID:

     NV20111753309
     Office or Position:


     Jurisdiction:

     NEVADA

     Street Address:

     1333 N BUFFALO DR STE 210, LAS VEGAS, NV, 89128, USA

     Mailing Address:


     Individual with Authority to Act:

     Debra Reade

     Fictitious Website or Domain Name:




  OFFICER INFORMATION

     VIEW HISTORICAL DATA


                                                                Last
 Title    Name             Address                              Updated      Status

 President RAUL            401 RYLAND ST STE 200-A, RENO, NV,   01/04/2016   Active
           SANTOS          89502, USA

 Secretary RAUL            401 RYLAND ST STE 200-A, RENO, NV,   01/04/2016   Active
           SANTOS          89502, USA
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                                                                                       Last
 Title           Name                    Address                                       Updated      Status

 Treasurer RAUL                          401 RYLAND ST STE 200-A, RENO, NV,            01/04/2016   Active
           SANTOS                        89502, USA

 Director        RAUL                    401 RYLAND ST STE 200-A, RENO, NV,            01/04/2016   Active
                 SANTOS                  89502, USA

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 CURRENT SHARES

 Class/Series                      Type                           Share Number         Value

                                   Authorized                     1,999,000,000        0.000100000000

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  Number of No Par Value Shares:
  0

  Total Authorized Capital:
  1,999,000


                                                 Filing History       Name History     Mergers/Conversions




                                          Return to Search         Return to Results
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     OTC Pink Basic Disclosure Guidelines for
     Quarter Period ending June 30, 2016


     1) Name of the issuer and its predecessors (if any)

     In answering this item, please also provide any names used by predecessor entities in the past five years and the
     dates of the name changes.

     ARCIS RESOURCES CORPORATION


     2) Address of the issuer’s principal executive offices

     Company Headquarters
     Address 1: 1550 Larimer Street
     Address 2: Denver, CO 80202
     Phone: 888.850.3778
     Email: info@arcisresourcescorp.com
     Website(s):       www.arcisresourcescorp.com
                       www.vapeoutlet.co
                       www.vapestandard.com
     IR Contact
     Address 1: None
     Address 2:
     Address 3:
     Phone:
     Email:
     Website(s):


     3) Security Information

     The "Capital Stock" of the stock of the corporation is divided into two classes:

     Trading Symbol: ARCS
     Exact title and class of securities outstanding: Common Stock
     CUSIP: 03959D205
                                                                                                               Exhibit



                                                                                                                         exhibitsticker.com
     Par or Stated Value:                  $0.0001
     Total shares authorized:              1,300,000,000. as of: 6/30/2016
     Total shares outstanding:              1,140,867,849. as of: 6/30/2016                                      2
     Total shares authorized:                 1,300,000,000. as of: 9/29/2016
     Total shares outstanding:                1,141,267,854. as of: 9/29/2016

     (1) Common Stock, the authorized Common Stock is One Billion and Three Hundred million (1,300,000,000.)
     shares, and the par is $0.0001 for each share. The holders of Common Stock shall have one vote per share of
     Common Stock held as of such date.

     Additional class of securities (if necessary):
     Trading Symbol: None
     Exact title and class of securities outstanding: Preferred Stock
     CUSIP: None
OTC Markets Group Inc.
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     Par or Stated Value:                     $0.0001
     Total shares authorized:                 1,000,000. as of: 6/30/2016.
     Total shares outstanding:                250,000. as of: 6/30/2016.

     Total shares authorized:                 1,000,000. as of: 9/29/2016.
     Total shares outstanding:                250,000. as of: 9/29/2016.

     (2) Preferred Stock, the authorized Preferred Stock class is in the amount of One million (1,000,000) shares
     having par value of $0.0001 each. The Board of Directors shall have the authority, by resolution or resolutions,
     to divide the preferred stock into series, to establish and fix the distinguishing designation of each such series
     and the number of shares thereof (which number, by like action of the Board of Directors from time to time
     thereafter may be increased, except when otherwise provided by the Board of Directors in creating such series,
     or may be decreased, but not below the number of shares thereof then outstanding) and, within the limitations of
     applicable law of the State of Nevada or as otherwise set forth in this article, to fix and determine the relative
     rights and preferences of the shares of each series so established prior to the issuance, thereof. There shall be no
     cumulative voting by shareholders.

              The designation, powers, including voting rights, preferences and any qualifications, limitations, or
     restrictions of the Preferred Stock of Corporation are initially specified as below:

     A. Conversion into Common Stock.

          (1) Right to Convert. Each share of Preferred Stock shall be convertible, at the option of the holder
     thereof, at any time after the date of issuance (the “Conversion Date”) into One Hundred (100) shares of fully
     paid and non-assessable shares of Common Stock (the “Conversion Ration”).

           (a) Mechanics of Conversion. Before any holder shall be entitled to convert, he shall surrender the
     certificate or certificates representing convertible Preferred Stock to be converted, duly endorsed or the
     Corporation or of any transfer agent, and shall give written notice to the Corporation at such office that he elects
     to convert the same. The Corporation shall, as soon as practicable thereafter, issue a certificate or certificates for
     the number of shares of Common Stock to which the holder shall be entitled. The Corporation shall, as soon as
     practicable after delivery of such certificates, or such agreement and indemnification in the case of a lost, stolen
     or destroyed certificate, issue and deliver to such holder of convertible Preferred Stock a certificate or
     certificates for the number of shares of Common Stock to which such holder is entitled as aforesaid and a check
     payable to the holder in the amount of any cash amounts payable as the result of a conversion into fractional
     shares of Common Stock. Such conversion shall be deemed to have been made immediately prior to the close of
     business on the date of such surrender of the shares of convertible Preferred Stock to be converted.

           (b)    Adjustment to Conversion Ratio.

          (i)        Merger or Reorganization. In case of any consolidation or merger of the Corporation as a result
     of which holder of Common Stock become entitled to receive other stock or securities or property, or in case of
     any conveyance of all or substantially all of the assets of the Corporation to another corporation, the Corporation
     shall mail to each holder of convertible Preferred Stock at least thirty (30) days prior to the consummation of
     such event a notice thereof, and each such holder shall have the option to either (i) convert such holder’s shares
     of Convertible Preferred Stock into shares of Common Stock pursuant to this Section 1(a) and thereafter receive
     the number of shares of stock or other securities or property to which a holder of the number of shares of
     Common Stock of the Corporation deliverable upon conversion of such convertible Preferred Stock would have
     been entitled upon such consolidation, merger or conveyance, or (ii) exercise such holder’s rights pursuant to
     Section 1(b). Unless otherwise set forth by the Board of Directors, the Conversion Ratio shall not be affected by
     a stock dividend or subdivision (stock split) on the Common Stock of the corporation, or a stock combination
     (reverse stock split) or stock consolidation by reclassification of the Common Stock. However, once the
     Convertible Preferred Stock has been converted to Common Stock, it shall be subject to all corporate actions
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     that affect or modify the common stock.

          (c) No Impairment. The Corporation will not, by amendment of its Articles of Incorporation, this
     Certificate of Designation or through any reorganization, transfer of assets, consolidation, merger, dissolution,
     issue or sale of securities or any other voluntary action, avoid or seek to avoid the observance or performance of
     any of the terms to be observed or performed hereunder by the Corporation, but will at all times in good faith
     assist in the carrying out of all the provisions of this Section 1 and in the taking of all such action as may be
     necessary or appropriate in order to protect the Conversion Rights of the holders of the Convertible Preferred
     Stock against impairment.

           (d) Certificate as to Adjustments. Upon the occurrence of each adjustment or readjustment of the
     Conversion Ratio of the convertible Preferred Stock pursuant to this Section 1(a), the Corporation at its expense
     shall promptly compute such adjustment or readjustment in accordance with the terms hereof and furnish to each
     holder of convertible Preferred Stock a certificate setting forth such adjustment or readjustment and the
     calculation on which such adjustment or readjustment is based. The Corporation shall, upon the written request
     at any time of any holder of convertible Preferred Stock, furnish or cause to be furnished to such holder a like
     certificate setting forth (i) such adjustment and readjustment, (ii) the Conversion Ratio for the convertible
     Preferred Stock at the time in effect and (iii) the number of share of Common Stock and the amount, if any, of
     other property which at the time would be received upon the conversion of the convertible Preferred Stock.

           (e) Notice of Record Date. In the event of any taking by the Corporation of a record of the holders of
     any class of securities for the purpose of determining the holders thereof who are entitled to receive any
     dividend (other than a cash dividend which is the same as cash dividends paid in previous quarter) or other
     distribution, the Corporation shall mail to each holder of convertible Preferred Stock at least ten (10) days prior
     to the date specified herein, a notice specifying the date on which any such record is to be taken for the purpose
     of such dividend or distribution.

          (f)   Common Stock Reserve. The corporation shall reserve and keep available out of its authorized but
     unissued Common Stock such number of shares of Common Stock as shall from time to time be sufficient to
     effect conversion of the convertible Preferred Stock.

          (2) Voting Rights. Except as otherwise required by law, the holders of Preferred Stock and the holders
     of Common Stock shall be entitled to notice of any stockholders’ meeting and to vote as a single class upon any
     matter submitted to the stockholders for a vote as follows: (i) the holders of Preferred Stock shall have one vote
     for each full share of Common Stock into which a share of Preferred Stock would be convertible at the ratio of
     One to Ten Thousand (1:10,000.) on the record date for the vote, or, if no such record date is established, at the
     date such vote is taken or any written consent of stockholders is solicited; and (ii) the holders of Common Stock
     shall have one vote per share of Common Stock held as of such date.

          (3) Reissuance. No share or shares of convertible Preferred Stock acquired by the Corporation by reason
     of conversion, all such shares thereafter shall be returned to be the status of unissued shares of convertible
     Preferred Stock of the Corporation.

          The Board of Directors shall have the authority, by resolution or resolutions, at any time or from time to
     time after the Issuance Date to fix a record date for the effectuation of a forward or reverse split of the issued
     and outstanding shares of Common Stock. In accordance with NRS 78.2055 shareholder approval shall not be
     required. Also in accordance with NRS 78.207 the Corporation will not be required to reduce or increase its
     authorized shares in a corresponding ratio in the event of a reverse or forward split.
     ______________________________________________________________________________

     Transfer Agent

     Action Stock Transfer
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     2469 E. Fort Union Blvd, Suite 214
     Salt Lake City, UT 84121
     Office Phone (801) 274-1088
     Office Fax (801) 274-1099
     Web: Http://www.actionstocktransfer.com

     Is the Transfer Agent registered under the Exchange Act?* Yes: X No:

     *To be included in the OTC Pink Current Information tier, the transfer agent must be registered under the
     Exchange Act.

     List any restrictions on the transfer of security:

     None

     Describe any trading suspension orders issued by the SEC in the past 12 months.

            There have been no SEC suspensions.

     List any stock split, stock dividend, recapitalization, merger, acquisition, spin-off, or reorganization either
     currently anticipated or that occurred within the past 12 months:

           On October 6, 2015, the Board of Directors of the Corporation authorized and approved that Article V of
     the Corporations Articles of Incorporation, entitled "SHARES" and same was amended with the Nevada
     Department of Corporations such that on November 17, 2015 all common stock holders shall and did receive six
     (6) shares for every five (5) shares of common stock they own. After November 17, 2015, those holding
     physical certificates must turn their certificates back into the transfer agent for new certificates. All others shall
     receive their new share(s) electronically through their brokers on November 17, 2015. Further, the Corporation
     did increase its authorized common shares from 975,000,000. to 1,300,000,000. common shares to allow for the
     above-mentioned 6 for 5 forward split.

            On December 30, 2015, the Board of Directors and the majority of the voting shareholders authorized and
     approved by same that Raul Santos by installed as a Director and as Chief Executive Officer to the Corporation,
     effective immediately, and that Christopher Margait did resigns all positions, including, President, Secretary,
     Treasurer, and Chief Executive Officer, with the Corporation, effective immediately. In conjunction with this
     change, Mr. Margait transferred all of his common and preferred stock ownership to Mr. Santos, who retired this
     ownership and was issued his own shares as specified below in number four.

           On January 14, 2016, the Corporation acquired the business operations of www.vapeoutlet.co.
     www.vapeoutlet.co is a U.S. Internet based distributor and retailer of premium portable & desktop vaporizers,
     E-juice, oils & accessories. The Corporation 's technology has a streamlined supply chain, marketing strategies
     and wide distribution capabilities to deliver its products. The Corporation 's brands include all major brands. The
     Corporation sells direct to consumer via e-commerce. Since 2008, the number of U.S. vape shops has grown to
     about 8,500, and the sale of electronic cigarettes and supplies climbed to $3.5 billion. Analysts expect the use of
     e-cigarettes and vaporizers to overtake combustible cigarettes in 10 years. Vapeoutlet.co is profitable today and
     will implement improved SEO, PPC and strategic Instagram to add to revenue and market growth. The energy
     drinks will contain hemp infused seed oil. Fatty acids in hemp oil are associated with health benefits that include
     protection against heart disease, cancer, bowel disease and other auto immune diseases.

           On July 13, 2016, the Corporation acquired the business operations of US based
     www.VapeStandard.com, which operates an online based news platform providing news about vaping and the
     vape community. VapeStandard also retails vape related products through its online medium.

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            No other stock split, stock dividend or recapitalization is anticipated or currently planned.


     4) Issuance History

     List below any events, in chronological order, that resulted in changes in total shares outstanding by the issuer in
     the past two fiscal years and any interim period. The list shall include all offerings of equity securities,
     including debt convertible into equity securities, whether private or public, and all shares or any other securities
     or options to acquire such securities issued for services, describing (1) the securities, (2) the persons or entities
     to whom such securities were issued and (3) the services provided by such persons or entities. The list shall
     indicate:

     Shares of Common and Preferred Stock (First Quarter, 2015- service shares)

     A. The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);

     During the period of the first quarter of 2015, in connection with the issuance of 5,000,000 common and
     250,000 preferred shares, for professional services to the then current officer of the Company, the Company
     relied upon the exemption from securities registration afforded by Section 4(2) of the Securities Act. No
     advertising or general solicitation was employed in offering the securities. The transfer was restricted by the
     Company in accordance with the requirements of the Securities Act of 1933.

     B. Any jurisdictions where the offering was registered or qualified;

     Not applicable.

     C. The number of shares offered;

     Not applicable.
     .
     D. The number of shares sold;

     Not applicable.

     E. The price at which the shares were offered, and the amount actually paid to the issuer;

     Not applicable.

     F. The trading status of the shares; and

     Not applicable.

     G. Whether the certificates or other documents that evidence the shares contain a legend (1) stating that the
     shares have not been registered under the Securities Act and (2) setting forth or referring to the restrictions on
     transferability and sale of the shares under the Securities Act.

     The certificate bears a standard restrictive legends as well as a control person stamp in red.


     Shares of Common Stock (First Quarter, 2015- conversion)

     A. The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);

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     During the first quarter period of 2015, in connection with the issuance of 10,000,000 shares, for the retirement
     of convertible debt, the Company relied upon the exemption from securities registration afforded by Section
     4(2) of the Securities Act. No advertising or general solicitation was employed in offering the securities. The
     issuances of these shares were made to a limited number of persons, and transfer was restricted by the Company
     in accordance with the requirements of the Securities Act of 1933. The stockholders have not been identified on
     the Transfer Agent’s control sheet.

     B. Any jurisdictions where the offering was registered or qualified;

     Not applicable.

     C. The number of shares offered;

     Not applicable.
     .
     D. The number of shares sold;

     Not applicable.

     E. The price at which the shares were offered, and the amount actually paid to the issuer;

     Not applicable.

     F. The trading status of the shares; and

     Not applicable.

     G. Whether the certificates or other documents that evidence the shares contain a legend (1) stating that the
     shares have not been registered under the Securities Act and (2) setting forth or referring to the restrictions on
     transferability and sale of the shares under the Securities Act.

     The certificates do not bear standard restrictive legends.


     Shares of Common Stock (Second Quarter, 2015- service shares)

     A. The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);

     During the period of the second quarter of 2015, in connection with the issuance of 195,000,000 common
     shares, for professional services to the then current officer of the Company, the Company relied upon the
     exemption from securities registration afforded by Section 4(2) of the Securities Act. No advertising or general
     solicitation was employed in offering the securities. The transfer was restricted by the Company in accordance
     with the requirements of the Securities Act of 1933.

     B. Any jurisdictions where the offering was registered or qualified;

     Not applicable.

     C. The number of shares offered;

     Not applicable.
     .
     D. The number of shares sold;
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     Not applicable.

     E. The price at which the shares were offered, and the amount actually paid to the issuer;

     Not applicable.

     F. The trading status of the shares; and

     Not applicable.

     G. Whether the certificates or other documents that evidence the shares contain a legend (1) stating that the
     shares have not been registered under the Securities Act and (2) setting forth or referring to the restrictions on
     transferability and sale of the shares under the Securities Act.

     The certificate bears a standard restrictive legends as well as a control person stamp in red.


     Shares of Common Stock (Second Quarter, 2015- service shares)

     A. The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);

     During the period of the second quarter of 2015, in connection with the issuance of 5,000,000 common shares,
     for professional services to a single vendor for web related services to maintain the corporate website for the
     Company, the Company relied upon the exemption from securities registration afforded by Section 4(2) of the
     Securities Act. No advertising or general solicitation was employed in offering the securities. The transfer was
     restricted by the Company in accordance with the requirements of the Securities Act of 1933.

     B. Any jurisdictions where the offering was registered or qualified;

     Not applicable.

     C. The number of shares offered;

     Not applicable.
     .
     D. The number of shares sold;

     Not applicable.

     E. The price at which the shares were offered, and the amount actually paid to the issuer;

     Not applicable.

     F. The trading status of the shares; and

     Not applicable.

     G. Whether the certificates or other documents that evidence the shares contain a legend (1) stating that the
     shares have not been registered under the Securities Act and (2) setting forth or referring to the restrictions on
     transferability and sale of the shares under the Securities Act.

     The certificate bears a standard restrictive legend.
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     Shares of Common Stock (Second Quarter, 2015- conversion)

     A. The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);

     During the second quarter period of 2015, in connection with the issuance of 276,823,270 shares, for the
     retirement of convertible debt, the Company relied upon the exemption from securities registration afforded by
     Section 4(2) of the Securities Act. No advertising or general solicitation was employed in offering the securities.
     The issuances of these shares were made to a limited number of persons, and transfer was restricted by the
     Company in accordance with the requirements of the Securities Act of 1933. The stockholders have not been
     identified on the Transfer Agent’s control sheet.

     B. Any jurisdictions where the offering was registered or qualified;

     Not applicable.

     C. The number of shares offered;

     Not applicable.
     .
     D. The number of shares sold;

     Not applicable.

     E. The price at which the shares were offered, and the amount actually paid to the issuer;

     Not applicable.

     F. The trading status of the shares; and

     Not applicable.

     G. Whether the certificates or other documents that evidence the shares contain a legend (1) stating that the
     shares have not been registered under the Securities Act and (2) setting forth or referring to the restrictions on
     transferability and sale of the shares under the Securities Act.

     The certificates do not bear standard restrictive legends.


     Shares of Common Stock (Third Quarter, 2015- service shares)

     A. The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);

     During the period of the third quarter of 2015, in connection with the issuance of 100,000,000 common shares,
     for professional services to the then current officer of the Company, the Company relied upon the exemption
     from securities registration afforded by Section 4(2) of the Securities Act. No advertising or general solicitation
     was employed in offering the securities. The transfer was restricted by the Company in accordance with the
     requirements of the Securities Act of 1933.

     B. Any jurisdictions where the offering was registered or qualified;

     Not applicable.
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     C. The number of shares offered;

     Not applicable.
     .
     D. The number of shares sold;

     Not applicable.

     E. The price at which the shares were offered, and the amount actually paid to the issuer;

     Not applicable.

     F. The trading status of the shares; and

     Not applicable.

     G. Whether the certificates or other documents that evidence the shares contain a legend (1) stating that the
     shares have not been registered under the Securities Act and (2) setting forth or referring to the restrictions on
     transferability and sale of the shares under the Securities Act.

     The certificate bears a standard restrictive legends as well as a control person stamp in red.


     Shares of Common Stock (Third Quarter, 2015- service shares)

     A. The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);

     During the period of the third quarter of 2015, in connection with the issuance of 2,400,000 common shares, for
     professional services to two outside experts for professional services to the Company, the Company relied upon
     the exemption from securities registration afforded by Section 4(2) of the Securities Act. No advertising or
     general solicitation was employed in offering the securities. The transfer was restricted by the Company in
     accordance with the requirements of the Securities Act of 1933.

     B. Any jurisdictions where the offering was registered or qualified;

     Not applicable.

     C. The number of shares offered;

     Not applicable.
     .
     D. The number of shares sold;

     Not applicable.

     E. The price at which the shares were offered, and the amount actually paid to the issuer;

     Not applicable.

     F. The trading status of the shares; and

     Not applicable.
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     G. Whether the certificates or other documents that evidence the shares contain a legend (1) stating that the
     shares have not been registered under the Securities Act and (2) setting forth or referring to the restrictions on
     transferability and sale of the shares under the Securities Act.

     The certificates bear standard restrictive legends.


     Shares of Common Stock (Third Quarter, 2015- conversion)

     A. The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);

     During the second third period of 2015, in connection with the issuance of 87,720,600. shares, for the retirement
     of convertible debt, the Company relied upon the exemption from securities registration afforded by Section
     4(2) of the Securities Act. No advertising or general solicitation was employed in offering the securities. The
     issuances of these shares were made to a limited number of persons, and transfer was restricted by the Company
     in accordance with the requirements of the Securities Act of 1933. The stockholders have not been identified on
     the Transfer Agent’s control sheet.

     B. Any jurisdictions where the offering was registered or qualified;

     Not applicable.

     C. The number of shares offered;

     Not applicable.
     .
     D. The number of shares sold;

     Not applicable.

     E. The price at which the shares were offered, and the amount actually paid to the issuer;

     Not applicable.

     F. The trading status of the shares; and

     Not applicable.

     G. Whether the certificates or other documents that evidence the shares contain a legend (1) stating that the
     shares have not been registered under the Securities Act and (2) setting forth or referring to the restrictions on
     transferability and sale of the shares under the Securities Act.

     The certificates do not bear standard restrictive legends.


     Shares of Common Stock (Fourth Quarter, 2015- service shares)

     A. The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);

     During the period of the fourth quarter of 2015, in connection with the issuance of 20,000,000 common shares,
     for professional services to the then newly appointed officer of the Company, the Company relied upon the
     exemption from securities registration afforded by Section 4(2) of the Securities Act. No advertising or general
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     solicitation was employed in offering the securities. The transfer was restricted by the Company in accordance
     with the requirements of the Securities Act of 1933.

     B. Any jurisdictions where the offering was registered or qualified;

     Not applicable.

     C. The number of shares offered;

     Not applicable.
     .
     D. The number of shares sold;

     Not applicable.

     E. The price at which the shares were offered, and the amount actually paid to the issuer;

     Not applicable.

     F. The trading status of the shares; and

     Not applicable.

     G. Whether the certificates or other documents that evidence the shares contain a legend (1) stating that the
     shares have not been registered under the Securities Act and (2) setting forth or referring to the restrictions on
     transferability and sale of the shares under the Securities Act.

     The certificate bears a standard restrictive legends as well as a control person stamp in red.


     Shares of Common and Preferred Stock (First Quarter, 2016- service shares)

     A. The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);

     During the period of the first quarter of 2016, in connection with the issuance of 500,000,000 common shares
     and 250,000 of preferred shares, for professional services to the then current officer of the Company, the
     Company relied upon the exemption from securities registration afforded by Section 4(2) of the Securities Act.
     No advertising or general solicitation was employed in offering the securities. The transfer was restricted by the
     Company in accordance with the requirements of the Securities Act of 1933.

     B. Any jurisdictions where the offering was registered or qualified;

     Not applicable.

     C. The number of shares offered;

     Not applicable.
     .
     D. The number of shares sold;

     Not applicable.

     E. The price at which the shares were offered, and the amount actually paid to the issuer;
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     Not applicable.

     F. The trading status of the shares; and

     Not applicable.

     G. Whether the certificates or other documents that evidence the shares contain a legend (1) stating that the
     shares have not been registered under the Securities Act and (2) setting forth or referring to the restrictions on
     transferability and sale of the shares under the Securities Act.

     The certificate bears a standard restrictive legends as well as a control person stamp in red.

     Shares of Common Stock (Third Quarter, 2016- conversion)

     A. The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);

     During the second third period of 2016, in connection with the issuance of 100,000,000. shares, for the
     retirement of convertible debt, the Company relied upon the exemption from securities registration afforded by
     Section 4(2) of the Securities Act. No advertising or general solicitation was employed in offering the securities.
     The issuances of these shares were made to a limited number of persons, and transfer was restricted by the
     Company in accordance with the requirements of the Securities Act of 1933. The stockholders have not been
     identified on the Transfer Agent’s control sheet.

     B. Any jurisdictions where the offering was registered or qualified;

     Not applicable.

     C. The number of shares offered;

     Not applicable.

     D. The number of shares sold;

     Not applicable.

     E. The price at which the shares were offered, and the amount actually paid to the issuer;

     Not applicable.

     F. The trading status of the shares; and

     Not applicable.

     G. Whether the certificates or other documents that evidence the shares contain a legend (1) stating that the
     shares have not been registered under the Securities Act and (2) setting forth or referring to the restrictions on
     transferability and sale of the shares under the Securities Act.

     The certificates do not bear standard restrictive legends.


     Shares of Common Stock (Third Quarter, 2015- service shares)

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     A. The nature of each offering (e.g., Securities Act Rule 504, intrastate, etc.);

     During the period of the third quarter of 2016, in connection with the issuance of 28,000,000 common shares for
     past business services rendered to the Company, the Company relied upon the exemption from securities
     registration afforded by Section 4(2) of the Securities Act. No advertising or general solicitation was employed
     in offering the securities. The transfer was restricted by the Company in accordance with the requirements of the
     Securities Act of 1933.

     B. Any jurisdictions where the offering was registered or qualified;

     Not applicable.

     C. The number of shares offered;

     Not applicable.
     .
     D. The number of shares sold;

     Not applicable.

     E. The price at which the shares were offered, and the amount actually paid to the issuer;

     Not applicable.

     F. The trading status of the shares; and

     Not applicable.

     G. Whether the certificates or other documents that evidence the shares contain a legend (1) stating that the
     shares have not been registered under the Securities Act and (2) setting forth or referring to the restrictions on
     transferability and sale of the shares under the Securities Act.

     The certificate bears a standard restrictive legend.

     * On August 26, 2016, Company Officer Raul Santos officially retired 70,000,000 of his Common restricted
     shares back to the Companies' treasury, leaving him with 450,000,000 Common restricted shares.
     ** This issuance of 250,000. preferred shares in the first quarter of 2016 to Company Officer Raul Santos was
     done simultaneously with the Boards resolution to return to treasury the same amount of shares by the former
     Officer, pursuant to agreement. The outstanding number of shares was not affected by these transactions.


     5) Financial Statements

     Provide the financial statements described below for the most recent fiscal year end or quarter end to maintain
     qualification for the OTC Pink Current Information tier. For the initial disclosure statement (qualifying for
     Current Information for the first time) please provide reports for the two previous fiscal years and any interim
     periods.

A.   Balance sheet;
B.   Statement of income;
C.   Statement of cash flows;
D.   Financial notes; and
E.   Audit letter, if audited
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     The financial statements requested pursuant to this item shall be prepared in accordance with US GAAP by
     persons with sufficient financial skills.

     You may either (i) attach/append the financial statements to this disclosure statement or (ii) post such financial
     statements through the OTC Disclosure & News Service as a separate report using the appropriate report name
     for the applicable period end. (“Annual Report,” “Quarterly Report” or “Interim Report”).

     If you choose to publish the financial reports separately as described in part (ii) above, you must state in the
     accompanying disclosure statement that such financial statements are incorporated by reference. You may
     reference the document(s) containing the required financial statements by indicating the document name, period
     end date, and the date that it was posted to otciq.com in the field below. The appropriate financial statements are
     attached below.

     Information contained in a Financial Report is considered current until the due date for the subsequent Financial
     Report. To remain in the OTC Pink Current Information tier, a company must post its Annual Report within 90
     days from its fiscal year-end date and Quarterly Reports within 45 days of its fiscal quarter-end date.


     6) Describe the Issuer’s Business, Products and Services

     Describe the issuer’s business so a potential investor can clearly understand the company. In answering this
     item, please include the following:

A. a description of the issuer’s business operations:

     Arcis Resources Corporation, by and through its wholly owned subsidiaries, and assets such as
     www.vapeoutlet.co and www.vapestandard.com, is engaged in the development and sale of premium portable &
     desktop vaporizers, E-juice, oils & accessories, and also energy drinks and coffee pods which contain organic
     hemp seeds with premium Colombian coffee beans, which produce an intense, full-flavored hemp seed coffee
     that doesn't leave a bitter after-taste. They also contain Omega 3 acids. These fatty acids promote heart health,
     lower triglycerides, work to reduce inflammation, promote brain health and support the immune system. These
     drinks are hemp infused with hemp oil. Fatty acids in hemp oil are associated with health benefits that include
     protection against heart disease, cancer, bowel disease and other auto immune diseases.

B. Date and State (or Jurisdiction) of Incorporation:

     March 27, 2008

C. the issuer’s primary and secondary SIC Codes;

     Primary SIC Code 3433 - Heating Equipment, Except Electric and Warm Air Furnaces

D. the issuer’s fiscal year end date;

     December 31st

E. principal products or services, and their markets;

     All of our products and technology solutions are available worldwide through the Internet.


     7) Describe the Issuer’s Facilities
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      The goal of this section is to provide a potential investor with a clear understanding of all assets, properties or
      facilities owned, used or leased by the issuer. In responding to this item, please clearly describe the assets,
      properties or facilities of the issuer, give the location of the principal plants and other property of the issuer and
      describe the condition of the properties. If the issuer does not have complete ownership or control of the
      property (for example, if others also own the property or if there is a mortgage on the property), describe the
      limitations on the ownership. If the issuer leases any assets, properties or facilities, clearly describe them as
      above and the terms of their leases.

      The issuer has executive rental office space of approximately 200 sq foot space, in downtown Denver, Colorado,
      close to the major airport, on an annual lease for $1,200.00. Company has programmers located remotely within
      the U.S., including Denver, and abroad.


      8) Officers, Directors, and Control Persons

      The goal of this section is to provide an investor with a clear understanding of the identity of all the persons or
      entities that are involved in managing, controlling or advising the operations, business development and
      disclosure of the issuer, as well as the identity of any significant shareholders.

A.    Names of Officers, Directors, and Control Persons. In responding to this item, please provide the names of each
      of the issuer’s executive officers, directors, general partners and control persons (control persons are beneficial
      owners of more than five percent (5%) of any class of the issuer’s equity securities), as of the date of this
      information statement.

     A.           any class of the issuer’s equity securities), as of the date of this information statement.


                        Name and Position                     Shares of    Percentage      Shares of       Percentage
                                                              Common        of Class       Preferred        of Class
                                                               Stock       (Common)          Stock
                                                                                                           (Preferred)


           Raul Santos, Officer                              450,000,000     40.42%         250,000           100%
           1550 Larimer Street                                    .
           Denver, CO 80202

           Footnotes:     Preferred shares have super voting rights as set above.


     Legal/Disciplinary History

     B.   Legal/Disciplinary History. Please identify whether any of the foregoing persons have, in the last five years, been
          the subject of:

          1. A conviction in a criminal proceeding or named as a defendant in a pending criminal proceeding (excluding
             traffic violations and other minor offenses);

                 None.
          2. The entry of an order, judgment, or decree, not subsequently reversed, suspended or vacated, by a court of
             competent jurisdiction that permanently or temporarily enjoined, barred, suspended or otherwise limited such
             person’s involvement in any type of business, securities, commodities, or banking activities;
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                None.
         3. A finding or judgment by a court of competent jurisdiction (in a civil action), the Securities and Exchange
            Commission, the Commodity Futures Trading Commission, or a state securities regulator of a violation of
            federal or state securities or commodities law, which finding or judgment has not been reversed, suspended,
            or vacated; or

                None.
         4. The entry of an order by a self-regulatory organization that permanently or temporarily barred suspended or
            otherwise limited such person’s involvement in any type of business or securities activities.

                 None.
   C.    Beneficial Shareholders. Provide a list of the name, address and shareholdings or the percentage of shares owned
         by all persons beneficially owning more than ten percent (10%) of any class of the issuer’s equity securities. If
         any of the beneficial shareholders are corporate shareholders, provide the name and address of the person(s)
         owning or controlling such corporate shareholders and the resident agents of the corporate shareholders.


                        Name and Position                     Shares of    Percentage   Shares of       Percentage
                                                              Common        of Class    Preferred        of Class
                                                               Stock       (Common)       Stock         (Preferred)



           Raul Santos, Officer                              450,000,000    40.42%      250,000            100%
           1550 Larimer Street                                    .
           Denver, CO 80202

           Footnotes:     None.



     9) Third Party Providers

     Please provide the name, address, telephone number, and email address of each of the following outside
     providers that advise your company on matters relating to operations, business development and disclosure:

     Legal Counsel
     Name: Benjamin L. Bunker, Esq.
     The Bunker Law Group, PLLC
     3753 Howard Hughes Parkway, Suite 200
     Las Vegas, Nevada 89169
     benbunker@bunkerlawgroup.com
     T (702) 784-5990
     F 888.460.8609

     Accountant or Auditor
     Name: None

     Investor Relations Consultant
     Name: None.


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     Other Advisor: Any other advisor(s) that assisted, advised, prepared or provided information with respect to this
     disclosure statement.
     Name: None.

     10)          Issuer Certification

     The issuer shall include certifications by the chief executive officer and chief financial officer of the issuer (or
     any other persons with different titles, but having the same responsibilities).

     The certifications shall follow the format below:

     I, Raul Santos certify that:

         1.       I have reviewed this June 30, 2016 Quarterly Disclosure Statement of Arcis Resources Corporation:

         2.      Based on my knowledge, this disclosure statement does not contain any untrue statement of a
     material fact or omit to state a material fact necessary to make the statements made, in light of the circumstances
     under which such statements were made, not misleading with respect to the period covered by this disclosure
     statement; and

        3.       Based on my knowledge, the financial statements, and other financial information included or
     incorporated by reference in this disclosure statement, fairly present in all material respects the financial
     condition, results of operations and cash flows of the issuer as of, and for, the periods presented in this
     disclosure statement.

     09/29/2016 [Date]

     /s/ Raul Santos [CEO’s Signature] Chief Executive Officer and Chief Financial Officer

     /s/Raul Santos [CFO’s Signature] Chief Executive Officer and Chief Financial Officer
     (Digital Signatures should appear as “/s/ [OFFICER NAME]”)

     Chief Executive Officer and Chief Financial Officer [Title]




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                                         NOTES TO FINANCIALS FOR
                                    QUARTERLY PERIOD ENDING JUNE 30, 2016

  Note 1 - Organization and Summary of Significant Accounting Policies

  Forward Looking Statements

  Some of the statements contained in this information statement that are not historical facts are "forward-looking
  statements" which can be identified by the use of terminology such as "estimates," "projects," "plans," "believes,"
  "expects," "anticipates," "intends," or the negative or other variations, or by discussions of strategy that involve risks
  and uncertainties. We urge you to be cautious of the forward-looking statements, that such statements, which are
  contained in this prospectus, reflect our current beliefs with respect to future events and involve known and
  unknown risks, uncertainties and other factors affecting our operations, market growth, services, products and
  licenses. No assurances can be given regarding the achievement of future results, as actual results may differ
  materially as a result of the risks we face, and actual events may differ from the assumptions underlying the
  statements that have been made regarding anticipated events. Factors that may cause actual results, our performance
  or achievements, or industry results, to differ materially from those contemplated by such forward-looking
  statements include without limitation:

               Our ability to attract and retain management, and to integrate and maintain technical information and
                management information systems;
               Our ability to raise capital when needed and on acceptable terms and conditions;
               The intensity of competition; and
               General economic conditions.

  All written and oral forward-looking statements made in connection with this prospectus that are attributable to us or
  persons acting on our behalf are expressly qualified in their entirety by these cautionary statements. Given the
  uncertainties that surround such statements, you are cautioned not to place undue reliance on such forward-looking
  statements.

  During the next twelve months, the Company’s plans to expand its business into other countries The Company
  plans to finance its growth through traditional bank financing sources as well as additional potential debt and equity
  private placements. To that end, the Company may attempt to raise money in a private placement of its shares of
  Common Stock, but has not yet commenced this initiative. There can be no assurance that financing sufficient to
  enable us to expand and grow our business will be available to us in the future. The failure to obtain future financing
  or to produce levels of revenue to meet our financial needs could result in our inability to operate, grow and expand
  our business.

  Off-Balance Sheet Arrangements

  We have not entered into any off-balance sheet arrangements that have or are reasonably likely to have a current or
  future effect on our financial condition, changes in financial condition, revenues or expenses, results of operations,
  liquidity, capital expenditures or capital resources and would be considered material to investors.

  Organization of Business

  Arcis Resources Corporation (the “Company”) was incorporated in Nevada on March 27, 2008 under the name
  “Mountain Renewables, Inc.” Effective on November 15, 2010, the Company filed with the Nevada Secretary of
  State a Certificate of Amendment to its Articles of Incorporation. The amendment changed the name of the
  corporation to “Arcis Resources Corporation.”

  On September 22, 2010, the Company acquired all of the membership interest in Gulf Coast Energy Distribution,
  LLC, an Alabama limited liability company (“GCED”), and all of the outstanding common stock of ARCIS Energy,
  Inc., a Nevada corporation (“ARCIS”), pursuant to a Stock Purchase Agreement entered into by these parties on July
  21, 2010. The acquisition is referred to herein as the “Share Exchange.” GCED and ARCIS will be engaged in the
  business of acquiring, trading and distributing fuel oil and other petroleum products.


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  In exchange for 100% of the membership interest in ARCIS the Company issued to GSA International Group, Ltd.,
  a British Virgin Islands corporation (“GSAI”), 11,000,000 shares of its common stock. The Company issued
  2,200,000 shares of common stock to Kenneth Allen Flatt, Jr. and Activa Transportation Services, LLC, an Alabama
  limited liability company (“Activa”), for their 100% membership interest in GCED.

  The Company has authorized capital stock of 200,000,000 capital shares, consisting of 200,000,000 shares of
  Common Stock, $.001 par value. Before the Share Exchange, there were 13,615,000 shares outstanding, of which
  Bristlecone Associates, LLC, a Colorado limited liability company (“Bristlecone”), held 6,000,000 (44.0%) and
  Richard Giannotti owned 4,030,000 shares (29.6%). As a condition to the Share Exchange, Bristlecone surrendered
  4,500,000 shares and Mr. Giannotti surrendered 3,500,000 shares, reducing the outstanding shares to 5,615,000.
  Immediately after the Share Exchange, there were 18,815,000 shares outstanding, of which Bristlecone held
  1,500,000 shares (8.0%) and Mr. Giannotti held 530,000 shares (2.8%). The acquisition was accounted for as a
  reverse merger under the purchase method of accounting since there was a change of control.

  Acquisition of American Plant Services, LLC and Mobile Fluid Recovery, Inc.

  On July 15, 2011 the Company acquired all of the membership interest in American Plant Services, LLC (“APS”)
  and Mobile Fluid Recovery, Inc. (“MFR”). In exchange for those equity interests, the Registrant issued a total of
  8,800,000 shares of its common stock to (a) the members of APS, who were Kenneth A. Flatt, Jr., Deborah K. Flatt,
  Trevis Lyon and James E. Goins, and (b) the shareholders of MFR other than APS, who were Clifford Briggs and
  David Briggs. Kenneth A. Flatt, Jr., Deborah K. Flatt and Trevis Lyon were the members of the Registrant’s Board
  of Directors at the time of the acquisition. The Company also issued Notes due July 15, 2012 in the aggregate
  amount of $500,000 to Messrs. Flatt, Lyon and Goins. The Notes bear interest at 11.25% per annum and are
  payable in advance of maturity out of the proceeds of any financing of four million dollars or more, or out of any net
  cash provided by operations.

  Effective with the date of acquisition, July 15, 2011, the Company terminated the operations of American Plant
  Services, its newly-acquired wholly-owned subsidiary. It was determined that the operation could not be operated
  profitably due to the constraints imposed by its debt load. The results of operations for the wholly-owned
  subsidiary, American Plant Services, are reported as a discontinued operation and the accompanying consolidated
  financial statements have been reclassified for the three months and nine months ended September 30, 2011, to
  report the assets, liabilities and operating results of this business.

  At the same time, the Company issued an additional one million shares of common stock to Kenneth A. Flatt. Jr. and
  Deborah K. Flatt to compensate them for their personal guarantees of approximately $6.0 million in debt owed by
  APS. To the extent that the guarantees are not released within 180 days after the closing date, the Company shall be
  obliged to issue up to one million additional shares of common stock to the Flatts, the number of shares being
  determined by the amount of unreleased guarantees on the 90th and 180th days after the closing date.

  The Agreement imposed on the Company a further obligations, namely to provide sufficient additional
  compensation to Mr. Flatt to offset any expense that he may incur by reason of a promissory note in the amount of
  $4.0 million that he delivered to APS (the note bearing interest at 3.5% per annum, with two percent of principal
  payable every three years and the balance due in fifteen years).

  On August 24, 2012, Arcis Resources Corporation (the “Company”), and its wholly-owned subsidiary Mobile Fluid
  Recovery, Inc. (“MFR”), entered into an agreement for the purchase and sale of assets (the “Purchase Agreement”)
  with Sustainable Innovations, LLC (“SI”), and on August 28, 2012, the Company, MFR and SI entered into
  amendment No. 1 thereto (as amended, the “Purchase Agreement”). Pursuant to the Purchase Agreement, on August
  29, 2012 (the “Closing Date”), MFR sold to SI substantially all of its assets, for a purchase price of $524,881
  (including $112,272 in assumed liabilities). In connection with the Purchase Agreement, on August 24, 2012, the
  Company and MFR entered into a covenant not to compete (the “Non-Competition Agreement”) with SI. Pursuant
  to the Non-Competition Agreement, the Company and MFR agreed, for a period of five years commencing on the
  Closing Date, not to engage in certain activities competitive with the business of MFR sold to SI under the Purchase
  Agreement, as it relates to the patents sold under the Purchase Agreement, in the continental United States.

  Amendment of Articles and Forward Split


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  On February 24, 2015, the Company amended its Articles with the Nevada Secretary of State to change the "Capital
  Stock" the corporation, and divide it into two classes: (1) Common Stock, the authorized Common Stock is now
  increased from Two Hundred Million (200,000,000.) to Nine Hundred and Seventy-Five million (975,000,000.)
  shares, and the par is now changed from $0.001 to $0.0001 for each share. The holders of Common Stock shall have
  one vote per share of Common Stock held as of such date. and (2) Preferred Stock class is now created in the
  amount of One million (1,000,000) shares having par value of $0.0001 each. Each share of Preferred Stock shall be
  convertible, at the option of the holder thereof, at any time after the date of issuance into One Hundred (100) shares
  of fully paid and non-assessable shares of Common Stock, and the holders of Preferred Stock shall have one vote for
  each full share of Common Stock into which a share of Preferred Stock would be convertible at the ratio of One to
  Ten Thousand (1:10,000) on the record date for the vote, or, if no such record date is established, at the date such
  vote is taken or any written consent of stockholders is solicited.

  On October 6, 2015, the Board of Directors of the Corporation authorized and approved that Article V of the
  Corporations Articles of Incorporation, entitled "SHARES" and same was amended with the Nevada Department of
  Corporations such that on November 17, 2015 all common stock holders shall and did receive six (6) shares for
  every five (5) shares of common stock they own. After November 17, 2015, those holding physical certificates must
  turn their certificates back into the transfer agent for new certificates. All others shall receive their new share(s)
  electronically through their brokers on November 17, 2015. Further, the Corporation did increase its authorized
  common shares from 975,000,000. to 1,300,000,000. common shares to allow for the above-mentioned 6 for 5
  forward split.

  Acquisition of True Prospect, Inc.

  On February 26, 2015, the Company filed its Plan of Exchange attached hereto along with the Nevada Secretary of
  State as its Articles of Exchange and did acquire 100% of the Capital Shares of True Prospects, Inc. ("TP"), as its
  wholly owned subsidiary. In exchange for the issuance by ARCS of 5,000,000 Common shares of stock of ARCS
  and 250,000 Preferred shares of stock of ARCS to the TP Shareholders and/or their assigns. The transaction was
  immediately closed upon the written approval from the board of directors of each party and the exchange of the TP
  shares for shares of ARCS stock. The parties intended that the transactions qualify and meet the Internal Revenue
  Code requirements for a tax free reorganization, in which there is no corporate gain or loss recognized by the parties,
  with reference to Internal Revenue Code (IRC) sections 354 and 368.

  Winding-out of Subsidiaries operating at a Loss and without sustainable operations

  Effective March 31, 2015, the Company issued a resolution removing all subsidiaries previously not consolidated
  and operating at a loss, including APS and SI. MFR having previously been sold, TP was then the remaining
  operating subsidiary.

  Appointment of New C.E.O.

  On December 30, 2015, the Board of Directors and the majority of the voting shareholders authorized and approved
  by same that Raul Santos by installed as a Director and as Chief Executive Officer to the Corporation, effective
  immediately, and that Christopher Margit did resigns all positions, including, President, Secretary, Treasurer, and
  Chief Executive Officer, with the Corporation, effective immediately and Mr. Santos was thereafter in conjunction
  with his written employment agreement twenty million restricted common shares of stock. Further, in conjunction
  with this change, Mr. Margit did retire all of his common and preferred stock and share ownership interests and
  same were reissued to Mr. Santos and made this effective as of February 18, 2016.

  Acquisition of www.vapeoputlet.co

  On January 14, 2016, the Corporation acquired the business operations of www.vapeoutlet.co. www.vapeoutlet.co
  is a U.S. Internet based distributor and retailer of premium portable & desktop vaporizers, E-juice, oils &
  accessories. The Corporation's technology has a streamlined supply chain, marketing strategies and wide
  distribution capabilities to deliver its products. The Corporation 's brands include all major brands. The Corporation
  sells direct to consumer via e-commerce. Since 2008, the number of U.S. vape shops has grown to about 8,500, and
  the sale of electronic cigarettes and supplies climbed to $3.5 billion. Analysts expect the use of e-cigarettes and
  vaporizers to overtake combustible cigarettes in 10 years. Vapeoutlet.co is profitable today and will implement

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  improved SEO, PPC and strategic Instagram to add to revenue and market growth. The Corporation since has
  launched its hemp infused energy drinks. The energy drinks will contain hemp infused seed oil. Fatty acids in hemp
  oil are associated with health benefits that include protection against heart disease, cancer, bowel disease and other
  auto immune diseases.

  Basis of Presentation

  The accompany unaudited interim financial statements of the Company have been prepared in accordance with
  accounting principles generally accepted in the United States of America and the rules of the Securities and
  Exchange Commission (“SEC”) and should be read in conjunction with the audited financial statements of Arcis
  Resources Corporation and related notes thereto contained in the Company’s Form 10-K for the year ended
  December 31, 2010 filed with the SEC on April 15, 2011. Certain information and note disclosure normally
  included in annual financial statements prepared in accordance with generally accepted accounting principles have
  been condensed or omitted pursuant to those rules and regulations. In the opinion of management, all adjustments,
  consisting of normal recurring adjustments, necessary for a fair presentation of financial position and the results of
  operations for the interim periods presented have been reflected herein. The results of operations for interim periods
  are not necessarily indicative of the results to be expected for the full year.

  Use of Estimates

  The preparation of financial statements in conformity with accounting principles generally accepted in the United
  States of America requires management to make estimates and assumptions that affect the reporting amounts of
  assets and liabilities and disclosure of contingent assets and liabilities at the date of the financial statements and the
  reported amounts of revenues and expenses during the periods. Management makes these estimates using the best
  information available at the time the estimates are made; however, actual results could differ materially from these
  estimates.

  Net Loss per Share

  ASC 260, “Earnings per Share,” requires dual presentation of basic and diluted earnings or loss per share (“EPS”)
  for all entities with complex capital structures and requires a reconciliation of the numerator and denominator of the
  basic EPS computation to the numerator and denominator of the diluted EPS computation. Basic EPS excludes
  dilution; diluted EPS reflects the potential dilution that could occur if securities or other contracts to issue common
  stock were exercised or converted into common stock or resulted in the issuance of common stock that then shared
  in the earnings of the entity. Basic loss per share is computed by dividing net loss applicable to common
  shareholders by the weighted average number of common shares outstanding during the period. Diluted loss per
  share reflects the potential dilution that could occur if dilutive securities and other contracts to issue common stock
  were exercised or converted into common stock or resulted in the issuance of common stock that then shared in the
  earnings of the Company, unless the effect is to reduce a loss or increase earnings per share. The Company has
  outstanding common stock purchase warrants; however, inclusion of the warrants in the calculation of diluted loss
  per share would be anti-dilutive. Therefore, diluted loss per share is equivalent to basic loss per share.

  Cash and Cash Equivalents

  Cash and cash equivalents include cash on hand and cash in deposits and all highly liquid debt instruments with an
  original maturity of three months or less.

  Revenue Recognition

  The Company recognizes revenue in accordance with the provisions of Staff Accounting Bulletin (“SAB”)
  104. Sales and service revenue is recognized at the date of shipment, or completion of services rendered, to a
  customer when a formal arrangement exists, the price is fixed or determinable, the delivery or service is completed,
  no other significant obligations of the Company exist and collectability is reasonably assured. Payments received
  before all the relevant criteria for revenue recognition are recorded as customer deposits.

  Accounts Receivable and Allowance for Doubtful Accounts


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  Trade receivables are non-interest bearing, uncollateralized customer obligations and are stated at the amounts billed
  to customers. The preparation of financial statements requires management to make estimates and assumptions
  relating to the collectability of accounts receivable. Management specifically analyzes historical bad debts,
  customer credit worthiness, current economic trends and changes in customer payment terms when evaluating the
  adequacy of the allowance for doubtful accounts.

  Property and Equipment

  Property and equipment are stated at cost less accumulated depreciation and amortization. The Company computes
  depreciation and amortization using the straight-line method over the estimated useful lives of the assets acquired as
  follows:

                               Building                                            39 years
                               Computer equipment                                 3-5 years
                               Furniture and fixtures                             5-7 years
                               Machinery and equipment                           5-10 years
                               Trucks and automobiles                               5 years

  When assets are retired or otherwise disposed of, the cost and related accumulated depreciation or amortization are
  removed from the accounts, and any resulting gain or loss is reflected in the consolidated statements of
  operations. Repairs and maintenance that do not extend the useful lives of the related assets are expensed as
  incurred.

  Going Concern

  The accompanying financial statements have been prepared assuming that the Company will continue as a going
  concern. Management plans to raise additional proceeds from debt and equity transactions and to continue to
  increase its sales and marketing activities. There is no guarantee, however, that management will be able to secure
  sufficient financing to sustain the operations of the Company or that operations will become self-sustaining. In the
  absence of one of those accomplishments, the Company would likely be forced to liquidate. These financial
  statements do not include any adjustments relating to the recoverability and classification of recorded assets, or the
  amounts and classification of liabilities that might be necessary in the event the Company cannot continue in
  existence.

  Business Combinations

  Acquisitions of businesses are accounted for using the purchase method of accounting, and the financial statements
  include the results of the acquired operations from the respective dates they were acquired.

  The purchase price of the acquired entities is allocated to the net assets acquired and liabilities assumed based on the
  estimated fair value at the dates of acquisition, with any excess of cost over the fair value of net assets acquired,
  including intangibles, recognized as goodwill. The balances included in the consolidated balance sheets related to
  recent acquisitions are based upon preliminary information and are subject to change when final asset and liability
  valuations are obtained. Material changes to the preliminary allocations are not anticipated by management.

  Fair Value Measurements

  The FASB’s Accounting Standards Codification defines fair value as the amount that would be received for selling
  an asset or paid to transfer a liability in an orderly transaction between market participants and requires that assets
  and liabilities carried at fair value are classified and disclosed in the following three categories:

  Level 1 – Quoted prices for identical instruments in active markets.
  Level 2 – Quoted prices for similar instruments in active or inactive markets and valuations derived from models
  where all significant inputs are observable in active markets.
  Level 3 – Valuations derived from valuation techniques in which one or more significant inputs are unobservable in
  any market.


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  Fair Value of Financial Instruments

  The carrying values of cash, prepaid expenses, accounts payable and accrued expenses approximate their fair values
  due to their short term maturities. The carrying values of the Company’s notes payable approximate their fair values
  based upon a comparison of the interest rate and terms of such debt given the level of risk to the rates and terms of
  similar debt currently available to the Company in the marketplace.

  Recent Accounting Pronouncements

  Management does not believe that any recently issued, but not yet effective, accounting standards, if currently
  adopted, would have a material effect on the accompanying condensed consolidated financial statements.

  Note 2 - Stockholders' Equity

  For the quarter ending March 31, 2016, the Company was authorized to issue 1,300,000,000 shares of $.0001 par
  value common stock and 1,000,000 shares of $0.0001 per value preferred stock. Dividends may be paid on
  outstanding shares as declared by the Board of Directors. No Dividends were authorized. Each share of common
  stock is entitled to one vote and each share of preferred stock is entitled to 10,000 common votes and fully
  convertible into 100 shares of common stock.

  On October 6, 2015, the Board of Directors of the Corporation authorized and approved that Article V of the
  Corporations Articles of Incorporation, entitled "SHARES" and same was amended with the Nevada Department of
  Corporations such that on November 17, 2015 all common stock holders shall and did receive six (6) shares for
  every five (5) shares of common stock they own. After November 17, 2015, those holding physical certificates must
  turn their certificates back into the transfer agent for new certificates. All others shall receive their new share(s)
  electronically through their brokers on November 17, 2015. Further, on October 6, 2015, the Corporation did
  increase its authorized common shares from 975,000,000. to 1,300,000,000. common shares to allow for the above-
  mentioned 6 for 5 forward split.

  Note 3 – Business Combination

  On June 10, 2016, the Corporation acquired the business assets and operations of www.vapestandard.com, which
  sells premium portable & desktop vaporizers, E-juice, oils & accessories. Since its acquisition, the Corporation has
  streamlined its technology with its existing revenue streams and Internet properties. Vapestandard.com sells and
  delivers direct to consumer via e-commerce.

  Note 4 - Income Taxes

  The Company’s net deferred tax assets consist primarily of net operating loss carry-forwards. These net operating
  loss carry-forwards expire over various years through 2028. The net operating loss carry forwards may be limited
  under the Change of Control provisions of the Internal Revenue Code section 382. There is no income tax provision
  for the year due to the change in valuation allowance. The difference between the effective rate and the statutory rate
  is the result of the change in the valuation allowance.

  Note 5 - Going Concern

  The Company's financial statements are prepared using generally accepted accounting principles in the United States
  of America applicable to a going concern which contemplates the realization of assets and liquidation of liabilities in
  the normal course of business. The Company has not yet established an ongoing source of revenues sufficient to
  cover its operating costs and allow it to continue as a going concern. For the annual period ending December 31,
  2015, the Company had incurred a net loss/gain as set forth in the accompanying financial statements. The ability of
  the Company to continue as a going concern is dependent on raising capital to fund its business plan and ultimately
  to attain profitable operations. Accordingly, these factors raise substantial doubt as to the Company's ability to
  continue as a going concern. The accompanying financial statements do not include any adjustments that might be
  necessary if the Company is unable to continue as a going concern.

  Note 6—Related Party Transactions

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  For the Quarter ending June 30, 2016, the Company did not engage in any related party transactions.

  Note 7 - Lawsuits

  The Company is not named as a party in any lawsuit.

  Note 8 - Notes Convertible

  On October 8, 2011, the Company issued a promissory note for $50,000. at 12% per annum to a non-affiliate for
  working capital. The note is unsecured and has not been repaid.
  On January 24, 2014, the Company issued a promissory note for $10,000. at 10% per annum to a non-affiliate for
  working capital. The note is unsecured and has not been repaid.
  On December 19, 2014, the Company issued a promissory note for $10,000. at 10% per annum to a non-affiliate for
  working capital. The note is unsecured and has not been repaid.

  Note 9- Convertible Notes Payable

  On September 23, 2010, the Company issued a convertible promissory note for $133,500.00 at 8% per annum to a
  non affiliate in part for their payment for certain fuel transaction services, in part for certain direct payments part of
  an Exchange Agreement for its subsidiary American Plant Services, LLC including the payment of legal services
  rendered to the Company, in part for money lent for the purchase of equipment, necessary for use in the general
  operations of the Company.
  On August 2, 2011, the Company issued a convertible promissory note for $120,000.00 at 8% per annum to a non
  affiliate for working capital directly to the Company.
  On August 31, 2012, the Company issued a convertible promissory note for $7,000.00 at 8% per annum to a non
  affiliate for certain Company expenses relative to an agreement for the purchase and sale of its wholly-owned
  subsidiary.
  On March 16, 2013, the Company issued a promissory note for $15,000.00 at 8% per annum to a non-affiliate for
  working capital. The note is unsecured and has not been repaid, and to avoid foreclosure has been amended to
  include a convertibility feature.
  On July 12, 2013, the Company issued a promissory note for $30,000 at 10% per annum to a non-affiliate for
  working capital. The note is unsecured and has not been repaid, and to avoid foreclosure has been amended to
  include a convertibility feature.
  On November 12, 2013, the Company issued a promissory for $20,000.00 at 8% per annum to a non-affiliate for
  working capital. The note is unsecured and has not been repaid, and to avoid foreclosure has been amended to
  include a convertibility feature.

  Note 10 – Subsequent Events
  None.
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                    A                   B              C           D            E           F           G           H           I          J          K            L              M                            N
                                                                                         Security                             Event                  Event
                                  Order_Action_T                                                    Event Type    Event               SEC Calc                  Sec Cal        Running Running Sum
           Event Timestamp                           Quan       Last Name   First Name   Symbol                             Execution              Execution
                                       ype                                                          Definition   Quantity               quan                     Gross        sum quan    Gross
    1                                                                                     Desc                                Price                  Price
    2
    3    12/9/2020 9:31:45 AM          BUY         562900.00    FASSARI     ANDREW        ARCS      EXECUTED     562900      0.00120    562,900    0.0012        -675.48       562,900                        -675.48
    4    12/9/2020 9:33:12 AM          BUY          60000.00    FASSARI     ANDREW        ARCS      EXECUTED      60000      0.00150     60,000    0.0015        -$90.00       622,900                       -$765.48
    5    12/9/2020 9:33:13 AM          BUY         440000.00    FASSARI     ANDREW        ARCS      EXECUTED      440000     0.00150    440,000    0.0015       -$660.00      1,062,900                     -$1,425.48
    6    12/9/2020 9:33:30 AM          BUY         500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00110    500,000    0.0011       -$550.00      1,562,900                     -$1,975.48
    7    12/9/2020 9:33:35 AM          BUY         500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00120    500,000    0.0012       -$600.00      2,062,900                     -$2,575.48
    8    12/9/2020 9:33:51 AM          BUY         500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00116    500,000    0.00116      -$580.00      2,562,900                     -$3,155.48
    9    12/9/2020 9:33:53 AM          BUY         500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00120    500,000    0.0012       -$600.00      3,062,900                     -$3,755.48
   10    12/9/2020 9:34:03 AM          BUY         500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00120    500,000    0.0012       -$600.00      3,562,900                     -$4,355.48
   11    12/9/2020 9:35:01 AM          BUY         500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00115    500,000    0.00115      -$575.00      4,062,900                     -$4,930.48
   12    12/9/2020 9:35:42 AM          BUY         287440.00    FASSARI     ANDREW        ARCS      EXECUTED      287440     0.00130    287,440    0.0013       -$373.67      4,350,340                     -$5,304.15
   13    12/9/2020 9:35:44 AM          BUY         212560.00    FASSARI     ANDREW        ARCS      EXECUTED      212560     0.00130    212,560    0.0013       -$276.33      4,562,900                     -$5,580.48
   14    12/9/2020 9:35:51 AM          BUY         500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00150    500,000    0.0015       -$750.00      5,062,900                     -$6,330.48
   15    12/9/2020 9:35:54 AM          BUY         500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00140    500,000    0.0014       -$700.00      5,562,900                     -$7,030.48
   16    12/9/2020 9:36:04 AM          BUY          1763.00     FASSARI     ANDREW        ARCS      EXECUTED       1763      0.00140      1,763    0.0014         -$2.47      5,564,663                     -$7,032.95
   17    12/9/2020 9:36:04 AM          BUY          20000.00    FASSARI     ANDREW        ARCS      EXECUTED      20000      0.00130     20,000    0.0013        -$26.00      5,584,663                     -$7,058.95
   18    12/9/2020 9:36:05 AM          BUY         478237.00    FASSARI     ANDREW        ARCS      EXECUTED      478237     0.00140    478,237    0.0014       -$669.53      6,062,900                     -$7,728.48
   19    12/9/2020 9:36:16 AM          BUY          1763.00     FASSARI     ANDREW        ARCS      EXECUTED       1763      0.00140      1,763    0.0014         -$2.47      6,064,663                     -$7,730.95
   20    12/9/2020 9:36:23 AM          BUY         210000.00    FASSARI     ANDREW        ARCS      EXECUTED      210000     0.00150    210,000    0.0015       -$315.00      6,274,663                     -$8,045.95
   21    12/9/2020 9:36:54 AM          BUY         288237.00    FASSARI     ANDREW        ARCS      EXECUTED      288237     0.00150    288,237    0.0015       -$432.36      6,562,900                     -$8,478.30
   22    12/9/2020 9:38:25 AM          BUY         500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00150    500,000    0.0015       -$750.00      7,062,900                     -$9,228.30
   23    12/9/2020 9:38:54 AM          BUY         500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00150    500,000    0.0015       -$750.00      7,562,900                     -$9,978.30
   24    12/9/2020 9:39:30 AM          BUY         211763.00    FASSARI     ANDREW        ARCS      EXECUTED      211763     0.00150    211,763    0.0015       -$317.64      7,774,663                    -$10,295.95
   25    12/9/2020 9:39:34 AM          BUY         288237.00    FASSARI     ANDREW        ARCS      EXECUTED      288237     0.00150    288,237    0.0015       -$432.36      8,062,900                    -$10,728.30
   26    12/9/2020 9:39:41 AM          BUY          1586.00     FASSARI     ANDREW        ARCS      EXECUTED       1586      0.00150      1,586    0.0015         -$2.38      8,064,486                    -$10,730.68
   27    12/9/2020 9:39:41 AM          BUY          20000.00    FASSARI     ANDREW        ARCS      EXECUTED      20000      0.00145     20,000    0.00145       -$29.00      8,084,486                    -$10,759.68
   28    12/9/2020 9:39:42 AM          BUY         478414.00    FASSARI     ANDREW        ARCS      EXECUTED      478414     0.00150    478,414    0.0015       -$717.62      8,562,900                    -$11,477.30
   29    12/9/2020 9:40:06 AM          BUY         213349.00    FASSARI     ANDREW        ARCS      EXECUTED      213349     0.00150    213,349    0.0015       -$320.02      8,776,249                    -$11,797.33
   30    12/9/2020 9:40:06 AM          BUY         286651.00    FASSARI     ANDREW        ARCS      EXECUTED      286651     0.00150    286,651    0.0015       -$429.98      9,062,900                    -$12,227.30
   31    12/9/2020 9:40:58 AM          BUY         500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00150    500,000    0.0015       -$750.00      9,562,900                    -$12,977.30
   32    12/9/2020 9:41:54 AM          BUY         250000.00    FASSARI     ANDREW        ARCS      EXECUTED      250000     0.00150    250,000    0.0015       -$375.00      9,812,900                    -$13,352.30
   33    12/9/2020 9:42:27 AM          BUY         193349.00    FASSARI     ANDREW        ARCS      EXECUTED      193349     0.00150    193,349    0.0015       -$290.02      10,006,249                   -$13,642.33
   34    12/9/2020 9:44:24 AM          BUY         250000.00    FASSARI     ANDREW        ARCS      EXECUTED      250000     0.00150    250,000    0.0015       -$375.00      10,256,249                   -$14,017.33
   35    12/9/2020 9:44:24 AM          BUY         250000.00    FASSARI     ANDREW        ARCS      EXECUTED      250000     0.00150    250,000    0.0015       -$375.00      10,506,249                   -$14,392.33
   36    12/9/2020 9:44:25 AM          BUY         250000.00    FASSARI     ANDREW        ARCS      EXECUTED      250000     0.00150    250,000    0.0015       -$375.00      10,756,249                   -$14,767.33
   37    12/9/2020 9:44:25 AM          BUY         250000.00    FASSARI     ANDREW        ARCS      EXECUTED      250000     0.00150    250,000    0.0015       -$375.00      11,006,249                   -$15,142.33
   38    12/9/2020 9:44:30 AM          BUY         306651.00    FASSARI     ANDREW        ARCS      EXECUTED      306651     0.00150    306,651    0.0015       -$459.98      11,312,900                   -$15,602.30
   39    12/9/2020 9:47:54 AM          BUY         200000.00    FASSARI     ANDREW        ARCS      EXECUTED      200000     0.00150    200,000    0.0015       -$300.00      11,512,900                   -$15,902.30
   40    12/9/2020 9:47:54 AM          BUY         200000.00    FASSARI     ANDREW        ARCS      EXECUTED      200000     0.00150    200,000    0.0015       -$300.00      11,712,900                   -$16,202.30
   41    12/9/2020 9:48:12 AM          BUY         250000.00    FASSARI     ANDREW        ARCS      EXECUTED      250000     0.00150    250,000    0.0015       -$375.00      11,962,900                   -$16,577.30
   42    12/9/2020 9:48:12 AM          BUY         200000.00    FASSARI     ANDREW        ARCS      EXECUTED      200000     0.00150    200,000    0.0015       -$300.00      12,162,900                   -$16,877.30
   43    12/9/2020 9:50:49 AM          BUY         130000.00    FASSARI     ANDREW        ARCS      EXECUTED      130000     0.00150    130,000    0.0015       -$195.00      12,292,900                   -$17,072.30
   44    12/9/2020 9:57:14 AM          BUY         200000.00    FASSARI     ANDREW        ARCS      EXECUTED      200000     0.00150    200,000    0.0015       -$300.00      12,492,900                   -$17,372.30
   45    12/9/2020 9:57:14 AM          BUY         245000.00    FASSARI     ANDREW        ARCS      EXECUTED      245000     0.00150    245,000    0.0015       -$367.50      12,737,900                   -$17,739.80
   46    12/9/2020 9:57:21 AM          BUY         500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00150    500,000    0.0015       -$750.00      13,237,900                   -$18,489.80
   47    12/9/2020 10:04:41 AM         BUY         100000.00    FASSARI     ANDREW        ARCS      EXECUTED      100000     0.00150    100,000    0.0015       -$150.00      13,337,900                   -$18,639.80
   48    12/9/2020 10:09:18 AM         BUY         300000.00    FASSARI     ANDREW        ARCS      EXECUTED      300000     0.00160    300,000    0.0016       -$480.00      13,637,900                   -$19,119.80
   49    12/9/2020 10:15:29 AM         BUY         200000.00    FASSARI     ANDREW        ARCS      EXECUTED      200000     0.00160    200,000    0.0016       -$320.00      13,837,900                   -$19,439.80
   50    12/9/2020 10:15:29 AM         BUY         250000.00    FASSARI     ANDREW        ARCS      EXECUTED      250000     0.00160    250,000    0.0016       -$400.00      14,087,900                   -$19,839.80
   51    12/9/2020 10:15:55 AM         BUY         250000.00    FASSARI     ANDREW        ARCS      EXECUTED      250000     0.00160    250,000    0.0016       -$400.00      14,337,900                   -$20,239.80
   52    12/9/2020 10:15:55 AM         BUY         250000.00    FASSARI     ANDREW        ARCS      EXECUTED      250000     0.00160    250,000    0.0016       -$400.00      14,587,900                   -$20,639.80
   53    12/9/2020 10:22:29 AM         BUY          13000.00    FASSARI     ANDREW        ARCS      EXECUTED      13000      0.00150     13,000    0.0015        -$19.50      14,600,900                   -$20,659.30
   54    12/9/2020 10:27:31 AM         BUY          56000.00    FASSARI     ANDREW        ARCS      EXECUTED      56000      0.00170     56,000    0.0017        -$95.20      14,656,900                   -$20,754.50
   55    12/9/2020 10:27:31 AM         BUY         1000000.00   FASSARI     ANDREW        ARCS      EXECUTED     1000000     0.00170   1,000,000   0.0017      -$1,700.00     15,656,900                   -$22,454.50
   56    12/9/2020 10:27:33 AM         BUY          23428.00    FASSARI     ANDREW        ARCS      EXECUTED      23428      0.00170     23,428    0.0017        -$39.83      15,680,328                   -$22,494.33
   57    12/9/2020 10:27:41 AM         BUY         5000000.00   FASSARI     ANDREW        ARCS      EXECUTED     5000000     0.00170   5,000,000   0.0017      -$8,500.00     20,680,328                   -$30,994.33

Summary of E*Trade Blotter                                                                                                                                             Exhibit




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Fassari Executed Trades in ARCS
Dec. 9 - Dec. 16                                                                                                                                                                                                    1 or 9
                                                                                                                                                                          8
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                    A                   B              C           D            E           F           G           H           I          J          K            L            M            N
                                                                                         Security                             Event                  Event
                                  Order_Action_T                                                    Event Type    Event               SEC Calc                  Sec Cal      Running Running Sum
           Event Timestamp                           Quan       Last Name   First Name   Symbol                             Execution              Execution
                                       ype                                                          Definition   Quantity               quan                     Gross      sum quan    Gross
     1                                                                                    Desc                                Price                  Price
    58   12/9/2020 10:27:43 AM        BUY          1000000.00   FASSARI     ANDREW        ARCS      EXECUTED     1000000     0.00180   1,000,000   0.0018      -$1,800.00   21,680,328   -$32,794.33
    59   12/9/2020 10:27:44 AM        BUY          1500000.00   FASSARI     ANDREW        ARCS      EXECUTED     1500000     0.00180   1,500,000   0.0018      -$2,700.00   23,180,328   -$35,494.33
    60   12/9/2020 10:27:46 AM        BUY           21085.00    FASSARI     ANDREW        ARCS      EXECUTED      21085      0.00180     21,085    0.0018        -$37.95    23,201,413   -$35,532.28
    61   12/9/2020 10:27:46 AM        BUY          2899487.00   FASSARI     ANDREW        ARCS      EXECUTED     2899487     0.00180   2,899,487   0.0018      -$5,219.08   26,100,900   -$40,751.36
    62   12/9/2020 10:27:51 AM        BUY          1670513.00   FASSARI     ANDREW        ARCS      EXECUTED     1670513     0.00180   1,670,513   0.0018      -$3,006.92   27,771,413   -$43,758.28
    63   12/9/2020 10:27:53 AM        BUY          290000.00    FASSARI     ANDREW        ARCS      EXECUTED      290000     0.00170    290,000    0.0017       -$493.00    28,061,413   -$44,251.28
    64   12/9/2020 10:27:53 AM        BUY          500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00180    500,000    0.0018       -$900.00    28,561,413   -$45,151.28
    65   12/9/2020 10:31:44 AM        BUY          500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00180    500,000    0.0018       -$900.00    29,061,413   -$46,051.28
    66   12/9/2020 10:31:44 AM        BUY          500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00180    500,000    0.0018       -$900.00    29,561,413   -$46,951.28
    67   12/9/2020 10:32:03 AM        BUY          500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00170    500,000    0.0017       -$850.00    30,061,413   -$47,801.28
    68   12/9/2020 10:32:08 AM        BUY          500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00180    500,000    0.0018       -$900.00    30,561,413   -$48,701.28
    69   12/9/2020 10:39:50 AM        BUY           60000.00    FASSARI     ANDREW        ARCS      EXECUTED      60000      0.00180     60,000    0.0018       -$108.00    30,621,413   -$48,809.28
    70   12/9/2020 10:42:39 AM        BUY          440000.00    FASSARI     ANDREW        ARCS      EXECUTED      440000     0.00180    440,000    0.0018       -$792.00    31,061,413   -$49,601.28
    71   12/9/2020 10:43:41 AM        BUY           40000.00    FASSARI     ANDREW        ARCS      EXECUTED      40000      0.00180     40,000    0.0018        -$72.00    31,101,413   -$49,673.28
    72   12/9/2020 10:43:41 AM        BUY          350000.00    FASSARI     ANDREW        ARCS      EXECUTED      350000     0.00180    350,000    0.0018       -$630.00    31,451,413   -$50,303.28
    73   12/9/2020 10:44:25 AM        BUY          310000.00    FASSARI     ANDREW        ARCS      EXECUTED      310000     0.00180    310,000    0.0018       -$558.00    31,761,413   -$50,861.28
    74   12/9/2020 10:44:25 AM        BUY          350000.00    FASSARI     ANDREW        ARCS      EXECUTED      350000     0.00180    350,000    0.0018       -$630.00    32,111,413   -$51,491.28
    75   12/9/2020 10:44:50 AM        BUY          500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00180    500,000    0.0018       -$900.00    32,611,413   -$52,391.28
    76   12/9/2020 11:01:19 AM        BUY           11600.00    FASSARI     ANDREW        ARCS      EXECUTED      11600      0.00340     11,600    0.0034        -$39.44    32,623,013   -$52,430.72
    77   12/9/2020 11:01:20 AM        BUY           15900.00    FASSARI     ANDREW        ARCS      EXECUTED      15900      0.00340     15,900    0.0034        -$54.06    32,638,913   -$52,484.78
    78   12/9/2020 11:01:33 AM        BUY           27500.00    FASSARI     ANDREW        ARCS      EXECUTED      27500      0.00340     27,500    0.0034        -$93.50    32,666,413   -$52,578.28
    79   12/9/2020 11:01:38 AM        BUY           55000.00    FASSARI     ANDREW        ARCS      EXECUTED      55000      0.00340     55,000    0.0034       -$187.00    32,721,413   -$52,765.28
    80   12/9/2020 11:01:46 AM        BUY          1250000.00   FASSARI     ANDREW        ARCS      EXECUTED     1250000     0.00350   1,250,000   0.0035      -$4,375.00   33,971,413   -$57,140.28
    81   12/9/2020 11:02:23 AM        BUY          560001.00    FASSARI     ANDREW        ARCS      EXECUTED      560001     0.00400    560,001     0.004      -$2,240.00   34,531,414   -$59,380.29
    82   12/9/2020 11:03:22 AM        BUY          439999.00    FASSARI     ANDREW        ARCS      EXECUTED      439999     0.00500    439,999     0.005      -$2,200.00   34,971,413   -$61,580.28
    83   12/9/2020 11:03:22 AM        BUY          1000000.00   FASSARI     ANDREW        ARCS      EXECUTED     1000000     0.00500   1,000,000    0.005      -$5,000.00   35,971,413   -$66,580.28
    84   12/9/2020 11:05:34 AM        BUY           37500.00    FASSARI     ANDREW        ARCS      EXECUTED      37500      0.00430     37,500    0.0043       -$161.25    36,008,913   -$66,741.53
    85   12/9/2020 11:05:41 AM        BUY          387531.00    FASSARI     ANDREW        ARCS      EXECUTED      387531     0.00450    387,531    0.0045      -$1,743.89   36,396,444   -$68,485.42
    86   12/9/2020 11:05:44 AM        BUY           74969.00    FASSARI     ANDREW        ARCS      EXECUTED      74969      0.00470     74,969    0.0047       -$352.35    36,471,413   -$68,837.78
    87   12/9/2020 11:10:21 AM        BUY          499999.00    FASSARI     ANDREW        ARCS      EXECUTED      499999     0.00400    499,999     0.004      -$2,000.00   36,971,412   -$70,837.77
    88   12/9/2020 11:10:22 AM        BUY              1.00     FASSARI     ANDREW        ARCS      EXECUTED        1        0.00400        1       0.004         $0.00     36,971,413   -$70,837.78
    89   12/9/2020 11:10:24 AM        BUY           36287.00    FASSARI     ANDREW        ARCS      EXECUTED      36287      0.00400     36,287     0.004       -$145.15    37,007,700   -$70,982.93
    90   12/9/2020 11:10:24 AM        BUY          163159.00    FASSARI     ANDREW        ARCS      EXECUTED      163159     0.00400    163,159     0.004       -$652.64    37,170,859   -$71,635.56
    91   12/9/2020 11:10:24 AM        BUY          300554.00    FASSARI     ANDREW        ARCS      EXECUTED      300554     0.00400    300,554     0.004      -$1,202.22   37,471,413   -$72,837.78
    92   12/9/2020 11:15:38 AM        BUY           97227.00    FASSARI     ANDREW        ARCS      EXECUTED      97227      0.00430     97,227    0.0043       -$418.08    37,568,640   -$73,255.85
    93   12/9/2020 11:15:38 AM        BUY          102773.00    FASSARI     ANDREW        ARCS      EXECUTED      102773     0.00430    102,773    0.0043       -$441.92    37,671,413   -$73,697.78
    94   12/9/2020 11:17:21 AM        BUY           14237.00    FASSARI     ANDREW        ARCS      EXECUTED      14237      0.00450     14,237    0.0045        -$64.07    37,685,650   -$73,761.84
    95   12/9/2020 11:17:21 AM        BUY           65763.00    FASSARI     ANDREW        ARCS      EXECUTED      65763      0.00450     65,763    0.0045       -$295.93    37,751,413   -$74,057.78
    96   12/9/2020 11:17:21 AM        BUY          420000.00    FASSARI     ANDREW        ARCS      EXECUTED      420000     0.00450    420,000    0.0045      -$1,890.00   38,171,413   -$75,947.78
    97   12/9/2020 11:17:21 AM        BUY          500000.00    FASSARI     ANDREW        ARCS      EXECUTED      500000     0.00450    500,000    0.0045      -$2,250.00   38,671,413   -$78,197.78
    98   12/9/2020 11:17:34 AM        BUY          164237.00    FASSARI     ANDREW        ARCS      EXECUTED      164237     0.00450    164,237    0.0045       -$739.07    38,835,650   -$78,936.84
    99   12/9/2020 11:17:36 AM        BUY          335763.00    FASSARI     ANDREW        ARCS      EXECUTED      335763     0.00460    335,763    0.0046      -$1,544.51   39,171,413   -$80,481.35
   100   12/9/2020 11:31:54 AM        BUY           37500.00    FASSARI     ANDREW        ARCS      EXECUTED      37500      0.00425     37,500    0.00425      -$159.38    39,208,913   -$80,640.73
   101   12/9/2020 11:32:19 AM        BUY          302348.00    FASSARI     ANDREW        ARCS      EXECUTED      302348     0.00430    302,348    0.0043      -$1,300.10   39,511,261   -$81,940.82
   102   12/9/2020 11:32:24 AM        BUY          160152.00    FASSARI     ANDREW        ARCS      EXECUTED      160152     0.00440    160,152    0.0044       -$704.67    39,671,413   -$82,645.49
   103   12/9/2020 11:46:30 AM        BUY          162000.00    FASSARI     ANDREW        ARCS      EXECUTED      162000     0.00445    162,000    0.00445      -$720.90    39,833,413   -$83,366.39
   104   12/9/2020 11:46:32 AM        BUY          338000.00    FASSARI     ANDREW        ARCS      EXECUTED      338000     0.00470    338,000    0.0047      -$1,588.60   40,171,413   -$84,954.99
   105   12/9/2020 11:46:38 AM        BUY           37500.00    FASSARI     ANDREW        ARCS      EXECUTED      37500      0.00450     37,500    0.0045       -$168.75    40,208,913   -$85,123.74
   106   12/9/2020 11:46:53 AM        BUY          150100.00    FASSARI     ANDREW        ARCS      EXECUTED      150100     0.00470    150,100    0.0047       -$705.47    40,359,013   -$85,829.21
   107   12/9/2020 11:46:53 AM        BUY          312400.00    FASSARI     ANDREW        ARCS      EXECUTED      312400     0.00470    312,400    0.0047      -$1,468.28   40,671,413   -$87,297.49
   108   12/9/2020 12:48:56 PM        BUY          375328.00    FASSARI     ANDREW        ARCS      EXECUTED      375328     0.00700    375,328     0.007      -$2,627.30   41,046,741   -$89,924.79
   109   12/9/2020 12:49:02 PM        BUY           24672.00    FASSARI     ANDREW        ARCS      EXECUTED      24672      0.00690     24,672    0.0069       -$170.24    41,071,413   -$90,095.03
   110   12/10/2020 9:30:08 AM        SELL          -25000.00   FASSARI     ANDREW        ARCS      EXECUTED      25000      0.01900    -25,000     0.019        $475.00    41,046,413   -$89,620.03
   111   12/14/2020 9:44:24 AM        SELL          -37500.00   FASSARI     ANDREW        ARCS      EXECUTED      37500      0.04390    -37,500    0.0439       $1,646.25   41,008,913   -$87,973.78
   112   12/14/2020 9:44:35 AM        SELL           -5000.00   FASSARI     ANDREW        ARCS      EXECUTED       5000      0.04370     -5,000    0.0437        $218.50    41,003,913   -$87,755.28
   113   12/14/2020 9:44:49 AM        SELL          -26546.00   FASSARI     ANDREW        ARCS      EXECUTED      26546      0.04360    -26,546    0.0436       $1,157.41   40,977,367   -$86,597.87

Summary of E*Trade Blotter
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                    A                   B              C           D            E           F           G           H           I         J          K            L            M            N
                                                                                         Security                             Event                 Event
                                  Order_Action_T                                                    Event Type    Event               SEC Calc                 Sec Cal      Running Running Sum
           Event Timestamp                           Quan       Last Name   First Name   Symbol                             Execution             Execution
                                       ype                                                          Definition   Quantity               quan                    Gross      sum quan    Gross
    1                                                                                     Desc                                Price                 Price
   114    12/14/2020 9:44:56 AM       SELL           -2500.00   FASSARI     ANDREW        ARCS      EXECUTED       2500      0.04370     -2,500   0.0437       $109.25     40,974,867   -$86,488.62
   115    12/14/2020 9:45:00 AM       SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.04350    -10,000   0.0435       $435.00     40,964,867   -$86,053.62
   116    12/14/2020 9:45:25 AM       SELL          -12500.00   FASSARI     ANDREW        ARCS      EXECUTED      12500      0.04255    -12,500   0.04255      $531.88     40,952,367   -$85,521.75
   117    12/14/2020 9:45:38 AM       SELL         -118954.00   FASSARI     ANDREW        ARCS      EXECUTED     118954      0.04205   -118,954   0.04205     $5,002.02    40,833,413   -$80,519.73
   118   12/14/2020 10:32:04 AM       SELL         -162500.00   FASSARI     ANDREW        ARCS      EXECUTED     162500      0.04990   -162,500   0.0499      $8,108.75    40,670,913   -$72,410.98
   119   12/14/2020 10:32:39 AM       SELL         -300000.00   FASSARI     ANDREW        ARCS      EXECUTED     300000      0.04990   -300,000   0.0499      $14,970.00   40,370,913   -$57,440.98
   120   12/14/2020 10:33:28 AM       SELL         -375328.00   FASSARI     ANDREW        ARCS      EXECUTED     375328      0.05100   -375,328    0.051      $19,141.73   39,995,585   -$38,299.25
   121   12/14/2020 10:45:50 AM       SELL          -37500.00   FASSARI     ANDREW        ARCS      EXECUTED     37500       0.04945    -37,500   0.04945     $1,854.38    39,958,085   -$36,444.88
   122   12/14/2020 10:45:59 AM       SELL          -20000.00   FASSARI     ANDREW        ARCS      EXECUTED      20000      0.04945    -20,000   0.04945      $989.00     39,938,085   -$35,455.88
   123   12/14/2020 10:46:04 AM       SELL          -37500.00   FASSARI     ANDREW        ARCS      EXECUTED     37500       0.04950    -37,500   0.0495      $1,856.25    39,900,585   -$33,599.63
   124   12/14/2020 10:46:05 AM       SELL          -30000.00   FASSARI     ANDREW        ARCS      EXECUTED     30000       0.04990    -30,000   0.0499      $1,497.00    39,870,585   -$32,102.63
   125   12/14/2020 10:46:06 AM       SELL          -37000.00   FASSARI     ANDREW        ARCS      EXECUTED     37000       0.04950    -37,000   0.0495      $1,831.50    39,833,585   -$30,271.13
   126   12/14/2020 10:47:26 AM       SELL           -5500.00   FASSARI     ANDREW        ARCS      EXECUTED       5500      0.05150     -5,500   0.0515       $283.25     39,828,085   -$29,987.88
   127   12/14/2020 10:47:35 AM       SELL          -24500.00   FASSARI     ANDREW        ARCS      EXECUTED     24500       0.05010    -24,500   0.0501      $1,227.45    39,803,585   -$28,760.43
   128   12/14/2020 10:47:36 AM       SELL          -80757.00   FASSARI     ANDREW        ARCS      EXECUTED     80757       0.05000    -80,757     0.05      $4,037.85    39,722,828   -$24,722.58
   129   12/14/2020 10:47:37 AM       SELL          -17695.00   FASSARI     ANDREW        ARCS      EXECUTED      17695      0.05000    -17,695     0.05       $884.75     39,705,133   -$23,837.83
   130   12/14/2020 10:47:45 AM       SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.05010    -50,000   0.0501      $2,505.00    39,655,133   -$21,332.83
   131   12/14/2020 10:47:48 AM       SELL          -37500.00   FASSARI     ANDREW        ARCS      EXECUTED     37500       0.05005    -37,500   0.05005     $1,876.88    39,617,633   -$19,455.95
   132   12/14/2020 10:47:55 AM       SELL         -111800.00   FASSARI     ANDREW        ARCS      EXECUTED     111800      0.04900   -111,800    0.049      $5,478.20    39,505,833   -$13,977.75
   133   12/14/2020 10:47:59 AM       SELL          -12096.00   FASSARI     ANDREW        ARCS      EXECUTED      12096      0.05000    -12,096     0.05       $604.80     39,493,737   -$13,372.95
   134   12/14/2020 10:48:13 AM       SELL          -62500.00   FASSARI     ANDREW        ARCS      EXECUTED     62500       0.05010    -62,500   0.0501      $3,131.25    39,431,237   -$10,241.70
   135   12/14/2020 10:48:28 AM       SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.05055    -10,000   0.05055      $505.50     39,421,237    -$9,736.20
   136   12/14/2020 10:48:33 AM       SELL         -125000.00   FASSARI     ANDREW        ARCS      EXECUTED     125000      0.05010   -125,000   0.0501      $6,262.50    39,296,237    -$3,473.70
   137   12/14/2020 10:48:35 AM       SELL           -4000.00   FASSARI     ANDREW        ARCS      EXECUTED       4000      0.05000     -4,000     0.05       $200.00     39,292,237    -$3,273.70
   138   12/14/2020 10:48:35 AM       SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.05100    -10,000    0.051       $510.00     39,282,237    -$2,763.70
   139   12/14/2020 10:48:35 AM       SELL         -235000.00   FASSARI     ANDREW        ARCS      EXECUTED     235000      0.05000   -235,000     0.05      $11,750.00   39,047,237     $8,986.30
   140   12/14/2020 10:48:38 AM       SELL           -2000.00   FASSARI     ANDREW        ARCS      EXECUTED      2000       0.05100     -2,000    0.051       $102.00     39,045,237     $9,088.30
   141   12/14/2020 10:48:38 AM       SELL         -362884.00   FASSARI     ANDREW        ARCS      EXECUTED     362884      0.05000   -362,884     0.05      $18,144.20   38,682,353   $27,232.50
   142   12/14/2020 10:48:41 AM       SELL          -90000.00   FASSARI     ANDREW        ARCS      EXECUTED      90000      0.05100    -90,000    0.051      $4,590.00    38,592,353   $31,822.50
   143   12/14/2020 10:48:47 AM       SELL          -25600.00   FASSARI     ANDREW        ARCS      EXECUTED      25600      0.05100    -25,600    0.051      $1,305.60    38,566,753   $33,128.10
   144   12/14/2020 10:48:47 AM       SELL          -47000.00   FASSARI     ANDREW        ARCS      EXECUTED      47000      0.05000    -47,000     0.05      $2,350.00    38,519,753   $35,478.10
   145   12/14/2020 10:48:50 AM       SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED      50000      0.05000    -50,000     0.05      $2,500.00    38,469,753   $37,978.10
   146   12/14/2020 10:50:03 AM       SELL          -38516.00   FASSARI     ANDREW        ARCS      EXECUTED      38516      0.05000    -38,516     0.05      $1,925.80    38,431,237   $39,903.90
   147   12/14/2020 10:53:52 AM       SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED      50000      0.04550    -50,000   0.0455      $2,275.00    38,381,237   $42,178.90
   148   12/14/2020 10:53:52 AM       SELL         -105550.00   FASSARI     ANDREW        ARCS      EXECUTED     105550      0.04520   -105,550   0.0452      $4,770.86    38,275,687   $46,949.76
   149   12/14/2020 10:53:52 AM       SELL         -256833.00   FASSARI     ANDREW        ARCS      EXECUTED     256833      0.04500   -256,833    0.045      $11,557.49   38,018,854   $58,507.24
   150   12/14/2020 10:53:52 AM       SELL         -456250.00   FASSARI     ANDREW        ARCS      EXECUTED     456250      0.04500   -456,250    0.045      $20,531.25   37,562,604   $79,038.49
   151   12/14/2020 10:54:00 AM       SELL          -25000.00   FASSARI     ANDREW        ARCS      EXECUTED      25000      0.04500    -25,000    0.045      $1,125.00    37,537,604   $80,163.49
   152   12/14/2020 10:54:01 AM       SELL          -30000.00   FASSARI     ANDREW        ARCS      EXECUTED      30000      0.04500    -30,000    0.045      $1,350.00    37,507,604   $81,513.49
   153   12/14/2020 10:55:27 AM       SELL          -76367.00   FASSARI     ANDREW        ARCS      EXECUTED      76367      0.04500    -76,367    0.045      $3,436.52    37,431,237   $84,950.01
   154   12/14/2020 10:56:47 AM       SELL          -37500.00   FASSARI     ANDREW        ARCS      EXECUTED      37500      0.04730    -37,500   0.0473      $1,773.75    37,393,737   $86,723.76
   155   12/14/2020 10:56:50 AM       SELL          -75000.00   FASSARI     ANDREW        ARCS      EXECUTED      75000      0.04710    -75,000   0.0471      $3,532.50    37,318,737   $90,256.26
   156   12/14/2020 10:56:54 AM       SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED      50000      0.04700    -50,000    0.047      $2,350.00    37,268,737   $92,606.26
   157   12/14/2020 10:56:56 AM       SELL          -20000.00   FASSARI     ANDREW        ARCS      EXECUTED     20000       0.04720    -20,000   0.0472       $944.00     37,248,737   $93,550.26
   158   12/14/2020 10:56:59 AM       SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.04710    -10,000   0.0471       $471.00     37,238,737   $94,021.26
   159   12/14/2020 10:57:04 AM       SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.04720    -10,000   0.0472       $472.00     37,228,737   $94,493.26
   160   12/14/2020 10:57:05 AM       SELL           -6000.00   FASSARI     ANDREW        ARCS      EXECUTED       6000      0.04720     -6,000   0.0472       $283.20     37,222,737   $94,776.46
   161   12/14/2020 10:57:13 AM       SELL           -5000.00   FASSARI     ANDREW        ARCS      EXECUTED       5000      0.04700     -5,000    0.047       $235.00     37,217,737   $95,011.46
   162   12/14/2020 10:57:18 AM       SELL         -122263.00   FASSARI     ANDREW        ARCS      EXECUTED     122263      0.04720   -122,263   0.0472      $5,770.81    37,095,474   $100,782.27
   163   12/14/2020 10:57:53 AM       SELL          -95000.00   FASSARI     ANDREW        ARCS      EXECUTED      95000      0.04800    -95,000    0.048      $4,560.00    37,000,474   $105,342.27
   164    12/16/2020 9:30:00 AM       SELL         -413513.00   FASSARI     ANDREW        ARCS      EXECUTED     413513      0.02350   -413,513   0.0235      $9,717.56    36,586,961   $115,059.83
   165    12/16/2020 9:30:01 AM       SELL           -1000.00   FASSARI     ANDREW        ARCS      EXECUTED      1000       0.02355     -1,000   0.02355       $23.55     36,585,961   $115,083.38
   166    12/16/2020 9:30:02 AM       SELL          -37500.00   FASSARI     ANDREW        ARCS      EXECUTED     37500       0.02355    -37,500   0.02355      $883.13     36,548,461   $115,966.50
   167    12/16/2020 9:30:02 AM       SELL          -47987.00   FASSARI     ANDREW        ARCS      EXECUTED      47987      0.02360    -47,987   0.0236      $1,132.49    36,500,474   $117,099.00
   168    12/16/2020 9:30:10 AM       SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.02355    -10,000   0.02355      $235.50     36,490,474   $117,334.50
   169    12/16/2020 9:30:12 AM       SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.02355    -10,000   0.02355      $235.50     36,480,474   $117,570.00

Summary of E*Trade Blotter
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Dec. 9 - Dec. 16                                                                                                                                                                                 3 or 9
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                    A                   B              C            D            E           F           G           H           I          J           K            L            M            N
                                                                                          Security                             Event                   Event
                                  Order_Action_T                                                     Event Type    Event               SEC Calc                   Sec Cal      Running Running Sum
           Event Timestamp                           Quan        Last Name   First Name   Symbol                             Execution               Execution
                                       ype                                                           Definition   Quantity               quan                      Gross      sum quan    Gross
    1                                                                                      Desc                                Price                   Price
   170   12/16/2020 9:30:12 AM        SELL           -34541.00   FASSARI     ANDREW        ARCS      EXECUTED      34541      0.02355     -34,541    0.02355      $813.44     36,445,933   $118,383.44
   171   12/16/2020 9:30:12 AM        SELL           -79350.00   FASSARI     ANDREW        ARCS      EXECUTED      79350      0.02355     -79,350    0.02355     $1,868.69    36,366,583   $120,252.13
   172   12/16/2020 9:30:13 AM        SELL          -500000.00   FASSARI     ANDREW        ARCS      EXECUTED      500000     0.02430    -500,000    0.0243      $12,150.00   35,866,583   $132,402.13
   173   12/16/2020 9:30:13 AM        SELL            -5000.00   FASSARI     ANDREW        ARCS      EXECUTED       5000      0.02355      -5,000    0.02355      $117.75     35,861,583   $132,519.88
   174   12/16/2020 9:30:13 AM        SELL            -7534.00   FASSARI     ANDREW        ARCS      EXECUTED       7534      0.02355      -7,534    0.02355      $177.43     35,854,049   $132,697.30
   175   12/16/2020 9:30:13 AM        SELL           -25000.00   FASSARI     ANDREW        ARCS      EXECUTED      25000      0.02355     -25,000    0.02355      $588.75     35,829,049   $133,286.05
   176   12/16/2020 9:30:13 AM        SELL           -30000.00   FASSARI     ANDREW        ARCS      EXECUTED      30000      0.02355     -30,000    0.02355      $706.50     35,799,049   $133,992.55
   177   12/16/2020 9:30:13 AM        SELL           -40000.00   FASSARI     ANDREW        ARCS      EXECUTED      40000      0.02355     -40,000    0.02355      $942.00     35,759,049   $134,934.55
   178   12/16/2020 9:30:13 AM        SELL          -100000.00   FASSARI     ANDREW        ARCS      EXECUTED      100000     0.02355    -100,000    0.02355     $2,355.00    35,659,049   $137,289.55
   179   12/16/2020 9:30:13 AM        SELL          -100000.00   FASSARI     ANDREW        ARCS      EXECUTED      100000     0.02355    -100,000    0.02355     $2,355.00    35,559,049   $139,644.55
   180   12/16/2020 9:30:13 AM        SELL          -166666.00   FASSARI     ANDREW        ARCS      EXECUTED      166666     0.02355    -166,666    0.02355     $3,924.98    35,392,383   $143,569.54
   181   12/16/2020 9:30:17 AM        SELL           -31000.00   FASSARI     ANDREW        ARCS      EXECUTED      31000      0.02430     -31,000    0.0243       $753.30     35,361,383   $144,322.84
   182   12/16/2020 9:30:19 AM        SELL            -9350.00   FASSARI     ANDREW        ARCS      EXECUTED       9350      0.02440      -9,350    0.0244       $228.14     35,352,033   $144,550.98
   183   12/16/2020 9:30:20 AM        SELL           -39600.00   FASSARI     ANDREW        ARCS      EXECUTED      39600      0.02430     -39,600    0.0243       $962.28     35,312,433   $145,513.26
   184   12/16/2020 9:30:21 AM        SELL            -5000.00   FASSARI     ANDREW        ARCS      EXECUTED       5000      0.02435      -5,000    0.02435      $121.75     35,307,433   $145,635.01
   185   12/16/2020 9:30:21 AM        SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.02435     -10,000    0.02435      $243.50     35,297,433   $145,878.51
   186   12/16/2020 9:30:21 AM        SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.02440     -10,000    0.0244       $244.00     35,287,433   $146,122.51
   187   12/16/2020 9:30:22 AM        SELL          -100000.00   FASSARI     ANDREW        ARCS      EXECUTED      100000     0.02435    -100,000    0.02435     $2,435.00    35,187,433   $148,557.51
   188   12/16/2020 9:30:23 AM        SELL          -250000.00   FASSARI     ANDREW        ARCS      EXECUTED      250000     0.02435    -250,000    0.02435     $6,087.50    34,937,433   $154,645.01
   189   12/16/2020 9:30:23 AM        SELL         -1491759.00   FASSARI     ANDREW        ARCS      EXECUTED     1491759     0.02430   -1,491,759   0.0243      $36,249.74   33,445,674   $190,894.75
   190   12/16/2020 9:30:23 AM        SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.02435     -10,000    0.02435      $243.50     33,435,674   $191,138.25
   191   12/16/2020 9:30:27 AM        SELL            -9900.00   FASSARI     ANDREW        ARCS      EXECUTED       9900      0.02435      -9,900    0.02435      $241.07     33,425,774   $191,379.32
   192   12/16/2020 9:30:32 AM        SELL          -490100.00   FASSARI     ANDREW        ARCS      EXECUTED      490100     0.02435    -490,100    0.02435     $11,933.94   32,935,674   $203,313.25
   193   12/16/2020 9:30:32 AM        SELL            -9900.00   FASSARI     ANDREW        ARCS      EXECUTED       9900      0.02435      -9,900    0.02435      $241.07     32,925,774   $203,554.32
   194   12/16/2020 9:30:33 AM        SELL            -5900.00   FASSARI     ANDREW        ARCS      EXECUTED       5900      0.02435      -5,900    0.02435      $143.67     32,919,874   $203,697.98
   195   12/16/2020 9:30:33 AM        SELL           -24100.00   FASSARI     ANDREW        ARCS      EXECUTED      24100      0.02435     -24,100    0.02435      $586.84     32,895,774   $204,284.82
   196   12/16/2020 9:30:33 AM        SELL          -250000.00   FASSARI     ANDREW        ARCS      EXECUTED      250000     0.02435    -250,000    0.02435     $6,087.50    32,645,774   $210,372.32
   197   12/16/2020 9:30:34 AM        SELL          -200000.00   FASSARI     ANDREW        ARCS      EXECUTED      200000     0.02435    -200,000    0.02435     $4,870.00    32,445,774   $215,242.32
   198   12/16/2020 9:30:36 AM        SELL         -2000000.00   FASSARI     ANDREW        ARCS      EXECUTED     2000000     0.02430   -2,000,000   0.0243      $48,600.00   30,445,774   $263,842.32
   199   12/16/2020 9:30:37 AM        SELL          -150000.00   FASSARI     ANDREW        ARCS      EXECUTED      150000     0.02435    -150,000    0.02435     $3,652.50    30,295,774   $267,494.82
   200   12/16/2020 9:30:39 AM        SELL           -50000.00   FASSARI     ANDREW        ARCS      EXECUTED      50000      0.02435     -50,000    0.02435     $1,217.50    30,245,774   $268,712.32
   201   12/16/2020 9:30:41 AM        SELL          -500000.00   FASSARI     ANDREW        ARCS      EXECUTED      500000     0.02440    -500,000    0.0244      $12,200.00   29,745,774   $280,912.32
   202   12/16/2020 9:30:41 AM        SELL          -500000.00   FASSARI     ANDREW        ARCS      EXECUTED      500000     0.02440    -500,000    0.0244      $12,200.00   29,245,774   $293,112.32
   203   12/16/2020 9:30:41 AM        SELL          -429400.00   FASSARI     ANDREW        ARCS      EXECUTED      429400     0.02440    -429,400    0.0244      $10,477.36   28,816,374   $303,589.68
   204   12/16/2020 9:30:46 AM        SELL           -16000.00   FASSARI     ANDREW        ARCS      EXECUTED      16000      0.02420     -16,000    0.0242       $387.20     28,800,374   $303,976.88
   205   12/16/2020 9:30:46 AM        SELL          -192466.00   FASSARI     ANDREW        ARCS      EXECUTED      192466     0.02420    -192,466    0.0242      $4,657.68    28,607,908   $308,634.55
   206   12/16/2020 9:30:47 AM        SELL          -280000.00   FASSARI     ANDREW        ARCS      EXECUTED      280000     0.02430    -280,000    0.0243      $6,804.00    28,327,908   $315,438.55
   207   12/16/2020 9:30:49 AM        SELL            -5000.00   FASSARI     ANDREW        ARCS      EXECUTED       5000      0.02410      -5,000    0.0241       $120.50     28,322,908   $315,559.05
   208   12/16/2020 9:30:53 AM        SELL           -50000.00   FASSARI     ANDREW        ARCS      EXECUTED      50000      0.02415     -50,000    0.02415     $1,207.50    28,272,908   $316,766.55
   209   12/16/2020 9:31:01 AM        SELL           -50000.00   FASSARI     ANDREW        ARCS      EXECUTED      50000      0.02410     -50,000    0.0241      $1,205.00    28,222,908   $317,971.55
   210   12/16/2020 9:31:03 AM        SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.02420     -10,000    0.0242       $242.00     28,212,908   $318,213.55
   211   12/16/2020 9:31:04 AM        SELL             -650.00   FASSARI     ANDREW        ARCS      EXECUTED       650       0.02400       -650       0.024       $15.60     28,212,258   $318,229.15
   212   12/16/2020 9:31:04 AM        SELL           -35000.00   FASSARI     ANDREW        ARCS      EXECUTED      35000      0.02400     -35,000      0.024      $840.00     28,177,258   $319,069.15
   213   12/16/2020 9:31:04 AM        SELL           -35000.00   FASSARI     ANDREW        ARCS      EXECUTED      35000      0.02400     -35,000      0.024      $840.00     28,142,258   $319,909.15
   214   12/16/2020 9:31:06 AM        SELL          -100000.00   FASSARI     ANDREW        ARCS      EXECUTED      100000     0.02420    -100,000    0.0242      $2,420.00    28,042,258   $322,329.15
   215   12/16/2020 9:31:07 AM        SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.02410     -10,000    0.0241       $241.00     28,032,258   $322,570.15
   216   12/16/2020 9:31:11 AM        SELL           -37500.00   FASSARI     ANDREW        ARCS      EXECUTED      37500      0.02439     -37,500    0.02439      $914.63     27,994,758   $323,484.78
   217   12/16/2020 9:31:11 AM        SELL           -87500.00   FASSARI     ANDREW        ARCS      EXECUTED      87500      0.02434     -87,500    0.02434     $2,129.75    27,907,258   $325,614.53
   218   12/16/2020 9:31:11 AM        SELL              -18.00   FASSARI     ANDREW        ARCS      EXECUTED        18       0.02440        -18      0.0244        $0.44     27,907,240   $325,614.97
   219   12/16/2020 9:31:11 AM        SELL          -199896.00   FASSARI     ANDREW        ARCS      EXECUTED      199896     0.02430    -199,896    0.0243      $4,857.47    27,707,344   $330,472.44
   220   12/16/2020 9:31:13 AM        SELL           -75000.00   FASSARI     ANDREW        ARCS      EXECUTED      75000      0.02475     -75,000    0.02475     $1,856.25    27,632,344   $332,328.69
   221   12/16/2020 9:31:15 AM        SELL          -300000.00   FASSARI     ANDREW        ARCS      EXECUTED      300000     0.02475    -300,000    0.02475     $7,425.00    27,332,344   $339,753.69
   222   12/16/2020 9:31:15 AM        SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.02475     -10,000    0.02475      $247.50     27,322,344   $340,001.19
   223   12/16/2020 9:31:15 AM        SELL          -215086.00   FASSARI     ANDREW        ARCS      EXECUTED      215086     0.02475    -215,086    0.02475     $5,323.38    27,107,258   $345,324.57
   224   12/16/2020 9:31:16 AM        SELL           -20000.00   FASSARI     ANDREW        ARCS      EXECUTED      20000      0.02475     -20,000    0.02475      $495.00     27,087,258   $345,819.57
   225   12/16/2020 9:31:18 AM        SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.02500     -10,000      0.025      $250.00     27,077,258   $346,069.57

Summary of E*Trade Blotter
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Dec. 9 - Dec. 16                                                                                                                                                                                    4 or 9
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                    A                   B              C           D            E           F           G           H           I         J          K            L            M            N
                                                                                         Security                             Event                 Event
                                  Order_Action_T                                                    Event Type    Event               SEC Calc                 Sec Cal      Running Running Sum
           Event Timestamp                           Quan       Last Name   First Name   Symbol                             Execution             Execution
                                       ype                                                          Definition   Quantity               quan                    Gross      sum quan    Gross
    1                                                                                     Desc                                Price                 Price
   226   12/16/2020 9:31:20 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02475    -50,000   0.02475     $1,237.50    27,027,258   $347,307.07
   227   12/16/2020 9:31:21 AM        SELL          -25576.00   FASSARI     ANDREW        ARCS      EXECUTED     25576       0.02450    -25,576   0.0245       $626.61     27,001,682   $347,933.68
   228   12/16/2020 9:31:22 AM        SELL          -25576.00   FASSARI     ANDREW        ARCS      EXECUTED     25576       0.02450    -25,576   0.0245       $626.61     26,976,106   $348,560.29
   229   12/16/2020 9:31:22 AM        SELL          -25576.00   FASSARI     ANDREW        ARCS      EXECUTED     25576       0.02450    -25,576   0.0245       $626.61     26,950,530   $349,186.91
   230   12/16/2020 9:31:23 AM        SELL          -25576.00   FASSARI     ANDREW        ARCS      EXECUTED     25576       0.02450    -25,576   0.0245       $626.61     26,924,954   $349,813.52
   231   12/16/2020 9:31:23 AM        SELL          -45576.00   FASSARI     ANDREW        ARCS      EXECUTED     45576       0.02450    -45,576   0.0245      $1,116.61    26,879,378   $350,930.13
   232   12/16/2020 9:31:24 AM        SELL          -20120.00   FASSARI     ANDREW        ARCS      EXECUTED     20120       0.02450    -20,120   0.0245       $492.94     26,859,258   $351,423.07
   233   12/16/2020 9:31:26 AM        SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.02500    -10,000    0.025       $250.00     26,849,258   $351,673.07
   234   12/16/2020 9:31:26 AM        SELL          -75576.00   FASSARI     ANDREW        ARCS      EXECUTED     75576       0.02450    -75,576   0.0245      $1,851.61    26,773,682   $353,524.68
   235   12/16/2020 9:31:26 AM        SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.02475    -10,000   0.02475      $247.50     26,763,682   $353,772.18
   236   12/16/2020 9:31:27 AM        SELL          -75576.00   FASSARI     ANDREW        ARCS      EXECUTED     75576       0.02450    -75,576   0.0245      $1,851.61    26,688,106   $355,623.79
   237   12/16/2020 9:31:27 AM        SELL          -75576.00   FASSARI     ANDREW        ARCS      EXECUTED     75576       0.02450    -75,576   0.0245      $1,851.61    26,612,530   $357,475.41
   238   12/16/2020 9:31:28 AM        SELL           -5000.00   FASSARI     ANDREW        ARCS      EXECUTED      5000       0.02500     -5,000    0.025       $125.00     26,607,530   $357,600.41
   239   12/16/2020 9:31:28 AM        SELL          -24696.00   FASSARI     ANDREW        ARCS      EXECUTED     24696       0.02450    -24,696   0.0245       $605.05     26,582,834   $358,205.46
   240   12/16/2020 9:31:28 AM        SELL          -65576.00   FASSARI     ANDREW        ARCS      EXECUTED     65576       0.02450    -65,576   0.0245      $1,606.61    26,517,258   $359,812.07
   241   12/16/2020 9:31:33 AM        SELL          -27000.00   FASSARI     ANDREW        ARCS      EXECUTED     27000       0.02500    -27,000    0.025       $675.00     26,490,258   $360,487.07
   242   12/16/2020 9:31:33 AM        SELL         -284914.00   FASSARI     ANDREW        ARCS      EXECUTED     284914      0.02700   -284,914    0.027      $7,692.68    26,205,344   $368,179.75
   243   12/16/2020 9:31:33 AM        SELL          -25000.00   FASSARI     ANDREW        ARCS      EXECUTED     25000       0.02480    -25,000   0.0248       $620.00     26,180,344   $368,799.75
   244   12/16/2020 9:31:36 AM        SELL          -25000.00   FASSARI     ANDREW        ARCS      EXECUTED     25000       0.02480    -25,000   0.0248       $620.00     26,155,344   $369,419.75
   245   12/16/2020 9:31:37 AM        SELL          -26538.00   FASSARI     ANDREW        ARCS      EXECUTED     26538       0.02480    -26,538   0.0248       $658.14     26,128,806   $370,077.89
   246   12/16/2020 9:31:38 AM        SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.02480    -10,000   0.0248       $248.00     26,118,806   $370,325.89
   247   12/16/2020 9:31:39 AM        SELL          -85246.00   FASSARI     ANDREW        ARCS      EXECUTED     85246       0.02480    -85,246   0.0248      $2,114.10    26,033,560   $372,439.99
   248   12/16/2020 9:31:39 AM        SELL          -14754.00   FASSARI     ANDREW        ARCS      EXECUTED     14754       0.02480    -14,754   0.0248       $365.90     26,018,806   $372,805.89
   249   12/16/2020 9:31:41 AM        SELL         -100000.00   FASSARI     ANDREW        ARCS      EXECUTED     100000      0.02490   -100,000   0.0249      $2,490.00    25,918,806   $375,295.89
   250   12/16/2020 9:31:42 AM        SELL         -100000.00   FASSARI     ANDREW        ARCS      EXECUTED     100000      0.02490   -100,000   0.0249      $2,490.00    25,818,806   $377,785.89
   251   12/16/2020 9:31:44 AM        SELL          -40000.00   FASSARI     ANDREW        ARCS      EXECUTED     40000       0.02500    -40,000    0.025      $1,000.00    25,778,806   $378,785.89
   252   12/16/2020 9:31:45 AM        SELL          -44154.00   FASSARI     ANDREW        ARCS      EXECUTED     44154       0.02490    -44,154   0.0249      $1,099.43    25,734,652   $379,885.32
   253   12/16/2020 9:31:45 AM        SELL         -500000.00   FASSARI     ANDREW        ARCS      EXECUTED     500000      0.02480   -500,000   0.0248      $12,400.00   25,234,652   $392,285.32
   254   12/16/2020 9:31:45 AM        SELL            -400.00   FASSARI     ANDREW        ARCS      EXECUTED      400        0.02490      -400    0.0249         $9.96     25,234,252   $392,295.28
   255   12/16/2020 9:31:45 AM        SELL         -274846.00   FASSARI     ANDREW        ARCS      EXECUTED     274846      0.02490   -274,846   0.0249      $6,843.67    24,959,406   $399,138.95
   256   12/16/2020 9:31:46 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02500    -50,000    0.025      $1,250.00    24,909,406   $400,388.95
   257   12/16/2020 9:31:46 AM        SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.02490    -10,000   0.0249       $249.00     24,899,406   $400,637.95
   258   12/16/2020 9:31:50 AM        SELL          -20000.00   FASSARI     ANDREW        ARCS      EXECUTED     20000       0.02490    -20,000   0.0249       $498.00     24,879,406   $401,135.95
   259   12/16/2020 9:31:51 AM        SELL          -20833.00   FASSARI     ANDREW        ARCS      EXECUTED     20833       0.02500    -20,833    0.025       $520.83     24,858,573   $401,656.78
   260   12/16/2020 9:31:51 AM        SELL         -352167.00   FASSARI     ANDREW        ARCS      EXECUTED     352167      0.02500   -352,167    0.025      $8,804.18    24,506,406   $410,460.95
   261   12/16/2020 9:31:51 AM        SELL          -10333.00   FASSARI     ANDREW        ARCS      EXECUTED     10333       0.02500    -10,333    0.025       $258.33     24,496,073   $410,719.28
   262   12/16/2020 9:31:52 AM        SELL           -1000.00   FASSARI     ANDREW        ARCS      EXECUTED      1000       0.02580     -1,000   0.0258        $25.80     24,495,073   $410,745.08
   263   12/16/2020 9:31:52 AM        SELL         -150000.00   FASSARI     ANDREW        ARCS      EXECUTED     150000      0.02500   -150,000    0.025      $3,750.00    24,345,073   $414,495.08
   264   12/16/2020 9:31:52 AM        SELL         -250000.00   FASSARI     ANDREW        ARCS      EXECUTED     250000      0.02500   -250,000    0.025      $6,250.00    24,095,073   $420,745.08
   265   12/16/2020 9:31:54 AM        SELL           -1000.00   FASSARI     ANDREW        ARCS      EXECUTED      1000       0.02600     -1,000    0.026        $26.00     24,094,073   $420,771.08
   266   12/16/2020 9:31:56 AM        SELL          -61250.00   FASSARI     ANDREW        ARCS      EXECUTED     61250       0.02560    -61,250   0.0256      $1,568.00    24,032,823   $422,339.08
   267   12/16/2020 9:31:57 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02560    -50,000   0.0256      $1,280.00    23,982,823   $423,619.08
   268   12/16/2020 9:32:04 AM        SELL           -1000.00   FASSARI     ANDREW        ARCS      EXECUTED      1000       0.02565     -1,000   0.02565       $25.65     23,981,823   $423,644.73
   269   12/16/2020 9:32:04 AM        SELL          -21600.00   FASSARI     ANDREW        ARCS      EXECUTED     21600       0.02570    -21,600   0.0257       $555.12     23,960,223   $424,199.85
   270   12/16/2020 9:32:06 AM        SELL         -100000.00   FASSARI     ANDREW        ARCS      EXECUTED     100000      0.02565   -100,000   0.02565     $2,565.00    23,860,223   $426,764.85
   271   12/16/2020 9:32:06 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02560    -50,000   0.0256      $1,280.00    23,810,223   $428,044.85
   272   12/16/2020 9:32:06 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02560    -50,000   0.0256      $1,280.00    23,760,223   $429,324.85
   273   12/16/2020 9:32:06 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02560    -50,000   0.0256      $1,280.00    23,710,223   $430,604.85
   274   12/16/2020 9:32:06 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02560    -50,000   0.0256      $1,280.00    23,660,223   $431,884.85
   275   12/16/2020 9:32:07 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02560    -50,000   0.0256      $1,280.00    23,610,223   $433,164.85
   276   12/16/2020 9:32:07 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02560    -50,000   0.0256      $1,280.00    23,560,223   $434,444.85
   277   12/16/2020 9:32:07 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02560    -50,000   0.0256      $1,280.00    23,510,223   $435,724.85
   278   12/16/2020 9:32:07 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02560    -50,000   0.0256      $1,280.00    23,460,223   $437,004.85
   279   12/16/2020 9:32:07 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02560    -50,000   0.0256      $1,280.00    23,410,223   $438,284.85
   280   12/16/2020 9:32:08 AM        SELL          -18420.00   FASSARI     ANDREW        ARCS      EXECUTED     18420       0.02560    -18,420   0.0256       $471.55     23,391,803   $438,756.40
   281   12/16/2020 9:32:08 AM        SELL          -25000.00   FASSARI     ANDREW        ARCS      EXECUTED     25000       0.02550    -25,000   0.0255       $637.50     23,366,803   $439,393.90

Summary of E*Trade Blotter
Fassari Executed Trades in ARCS
Dec. 9 - Dec. 16                                                                                                                                                                                 5 or 9
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                    A                   B              C            D            E           F           G           H           I          J           K            L            M            N
                                                                                          Security                             Event                   Event
                                  Order_Action_T                                                     Event Type    Event               SEC Calc                   Sec Cal      Running Running Sum
           Event Timestamp                           Quan        Last Name   First Name   Symbol                             Execution               Execution
                                       ype                                                           Definition   Quantity               quan                      Gross      sum quan    Gross
    1                                                                                      Desc                                Price                   Price
   282   12/16/2020 9:32:08 AM        SELL           -50000.00   FASSARI     ANDREW        ARCS      EXECUTED      50000      0.02560     -50,000    0.0256      $1,280.00    23,316,803   $440,673.90
   283   12/16/2020 9:32:08 AM        SELL          -200000.00   FASSARI     ANDREW        ARCS      EXECUTED      200000     0.02540    -200,000    0.0254      $5,080.00    23,116,803   $445,753.90
   284   12/16/2020 9:32:09 AM        SELL          -923257.00   FASSARI     ANDREW        ARCS      EXECUTED      923257     0.02500    -923,257     0.025      $23,081.43   22,193,546   $468,835.32
   285   12/16/2020 9:32:09 AM        SELL         -2644140.00   FASSARI     ANDREW        ARCS      EXECUTED     2644140     0.02500   -2,644,140    0.025      $66,103.50   19,549,406   $534,938.82
   286   12/16/2020 9:32:16 AM        SELL          -499000.00   FASSARI     ANDREW        ARCS      EXECUTED      499000     0.02610    -499,000    0.0261      $13,023.90   19,050,406   $547,962.72
   287   12/16/2020 9:32:29 AM        SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.02620     -10,000    0.0262       $262.00     19,040,406   $548,224.72
   288   12/16/2020 9:32:33 AM        SELL           -20000.00   FASSARI     ANDREW        ARCS      EXECUTED      20000      0.02620     -20,000    0.0262       $524.00     19,020,406   $548,748.72
   289   12/16/2020 9:32:36 AM        SELL          -150000.00   FASSARI     ANDREW        ARCS      EXECUTED      150000     0.02605    -150,000    0.02605     $3,907.50    18,870,406   $552,656.22
   290   12/16/2020 9:32:41 AM        SELL            -2000.00   FASSARI     ANDREW        ARCS      EXECUTED       2000      0.02605      -2,000    0.02605       $52.10     18,868,406   $552,708.32
   291   12/16/2020 9:32:48 AM        SELL            -1700.00   FASSARI     ANDREW        ARCS      EXECUTED       1700      0.02605      -1,700    0.02605       $44.29     18,866,706   $552,752.61
   292   12/16/2020 9:32:50 AM        SELL           -78000.00   FASSARI     ANDREW        ARCS      EXECUTED      78000      0.02605     -78,000    0.02605     $2,031.90    18,788,706   $554,784.51
   293   12/16/2020 9:34:03 AM        SELL           -86209.00   FASSARI     ANDREW        ARCS      EXECUTED      86209      0.02400     -86,209     0.024      $2,069.02    18,702,497   $556,853.52
   294   12/16/2020 9:34:31 AM        SELL           -13193.00   FASSARI     ANDREW        ARCS      EXECUTED      13193      0.02300     -13,193     0.023       $303.44     18,689,304   $557,156.96
   295   12/16/2020 9:34:44 AM        SELL           -90000.00   FASSARI     ANDREW        ARCS      EXECUTED      90000      0.02300     -90,000     0.023      $2,070.00    18,599,304   $559,226.96
   296   12/16/2020 9:34:59 AM        SELL             -250.00   FASSARI     ANDREW        ARCS      EXECUTED       250       0.02305       -250     0.02305        $5.76     18,599,054   $559,232.72
   297   12/16/2020 9:35:00 AM        SELL            -8000.00   FASSARI     ANDREW        ARCS      EXECUTED       8000      0.02310      -8,000    0.0231       $184.80     18,591,054   $559,417.52
   298   12/16/2020 9:35:09 AM        SELL           -18595.00   FASSARI     ANDREW        ARCS      EXECUTED      18595      0.02300     -18,595     0.023       $427.69     18,572,459   $559,845.21
   299   12/16/2020 9:35:10 AM        SELL           -30000.00   FASSARI     ANDREW        ARCS      EXECUTED      30000      0.02280     -30,000    0.0228       $684.00     18,542,459   $560,529.21
   300   12/16/2020 9:35:12 AM        SELL           -21000.00   FASSARI     ANDREW        ARCS      EXECUTED      21000      0.02300     -21,000     0.023       $483.00     18,521,459   $561,012.21
   301   12/16/2020 9:35:22 AM        SELL           -50000.00   FASSARI     ANDREW        ARCS      EXECUTED      50000      0.02270     -50,000    0.0227      $1,135.00    18,471,459   $562,147.21
   302   12/16/2020 9:35:26 AM        SELL           -25000.00   FASSARI     ANDREW        ARCS      EXECUTED      25000      0.02200     -25,000     0.022       $550.00     18,446,459   $562,697.21
   303   12/16/2020 9:36:01 AM        SELL          -591000.00   FASSARI     ANDREW        ARCS      EXECUTED      591000     0.02100    -591,000     0.021      $12,411.00   17,855,459   $575,108.21
   304   12/16/2020 9:36:02 AM        SELL          -100000.00   FASSARI     ANDREW        ARCS      EXECUTED      100000     0.02105    -100,000    0.02105     $2,105.00    17,755,459   $577,213.21
   305   12/16/2020 9:36:05 AM        SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.02105     -10,000    0.02105      $210.50     17,745,459   $577,423.71
   306   12/16/2020 9:36:06 AM        SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.02100     -10,000     0.021       $210.00     17,735,459   $577,633.71
   307   12/16/2020 9:36:06 AM        SELL           -15000.00   FASSARI     ANDREW        ARCS      EXECUTED      15000      0.02100     -15,000     0.021       $315.00     17,720,459   $577,948.71
   308   12/16/2020 9:36:06 AM        SELL           -30000.00   FASSARI     ANDREW        ARCS      EXECUTED      30000      0.02100     -30,000     0.021       $630.00     17,690,459   $578,578.71
   309   12/16/2020 9:36:06 AM        SELL           -35000.00   FASSARI     ANDREW        ARCS      EXECUTED      35000      0.02100     -35,000     0.021       $735.00     17,655,459   $579,313.71
   310   12/16/2020 9:36:06 AM        SELL           -65000.00   FASSARI     ANDREW        ARCS      EXECUTED      65000      0.02100     -65,000     0.021      $1,365.00    17,590,459   $580,678.71
   311   12/16/2020 9:36:06 AM        SELL           -68542.00   FASSARI     ANDREW        ARCS      EXECUTED      68542      0.02105     -68,542    0.02105     $1,442.81    17,521,917   $582,121.52
   312   12/16/2020 9:36:10 AM        SELL          -100000.00   FASSARI     ANDREW        ARCS      EXECUTED      100000     0.02105    -100,000    0.02105     $2,105.00    17,421,917   $584,226.52
   313   12/16/2020 9:36:10 AM        SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.02105     -10,000    0.02105      $210.50     17,411,917   $584,437.02
   314   12/16/2020 9:36:11 AM        SELL            -5000.00   FASSARI     ANDREW        ARCS      EXECUTED       5000      0.02100      -5,000     0.021       $105.00     17,406,917   $584,542.02
   315   12/16/2020 9:36:11 AM        SELL           -14478.00   FASSARI     ANDREW        ARCS      EXECUTED      14478      0.02100     -14,478     0.021       $304.04     17,392,439   $584,846.06
   316   12/16/2020 9:36:11 AM        SELL           -60000.00   FASSARI     ANDREW        ARCS      EXECUTED      60000      0.02100     -60,000     0.021      $1,260.00    17,332,439   $586,106.06
   317   12/16/2020 9:36:11 AM        SELL           -30000.00   FASSARI     ANDREW        ARCS      EXECUTED      30000      0.02105     -30,000    0.02105      $631.50     17,302,439   $586,737.56
   318   12/16/2020 9:36:11 AM        SELL           -85000.00   FASSARI     ANDREW        ARCS      EXECUTED      85000      0.02105     -85,000    0.02105     $1,789.25    17,217,439   $588,526.81
   319   12/16/2020 9:36:12 AM        SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.02105     -10,000    0.02105      $210.50     17,207,439   $588,737.31
   320   12/16/2020 9:36:12 AM        SELL          -300000.00   FASSARI     ANDREW        ARCS      EXECUTED      300000     0.02105    -300,000    0.02105     $6,315.00    16,907,439   $595,052.31
   321   12/16/2020 9:36:12 AM        SELL          -417500.00   FASSARI     ANDREW        ARCS      EXECUTED      417500     0.02100    -417,500     0.021      $8,767.50    16,489,939   $603,819.81
   322   12/16/2020 9:36:13 AM        SELL           -95000.00   FASSARI     ANDREW        ARCS      EXECUTED      95000      0.02100     -95,000     0.021      $1,995.00    16,394,939   $605,814.81
   323   12/16/2020 9:36:14 AM        SELL           -85000.00   FASSARI     ANDREW        ARCS      EXECUTED      85000      0.02105     -85,000    0.02105     $1,789.25    16,309,939   $607,604.06
   324   12/16/2020 9:36:14 AM        SELL           -30000.00   FASSARI     ANDREW        ARCS      EXECUTED      30000      0.02105     -30,000    0.02105      $631.50     16,279,939   $608,235.56
   325   12/16/2020 9:36:16 AM        SELL           -12500.00   FASSARI     ANDREW        ARCS      EXECUTED      12500      0.02100     -12,500     0.021       $262.50     16,267,439   $608,498.06
   326   12/16/2020 9:36:16 AM        SELL          -311458.00   FASSARI     ANDREW        ARCS      EXECUTED      311458     0.02105    -311,458    0.02105     $6,556.19    15,955,981   $615,054.25
   327   12/16/2020 9:36:17 AM        SELL          -188542.00   FASSARI     ANDREW        ARCS      EXECUTED      188542     0.02105    -188,542    0.02105     $3,968.81    15,767,439   $619,023.06
   328   12/16/2020 9:36:20 AM        SELL          -250000.00   FASSARI     ANDREW        ARCS      EXECUTED      250000     0.02105    -250,000    0.02105     $5,262.50    15,517,439   $624,285.56
   329   12/16/2020 9:36:22 AM        SELL           -25000.00   FASSARI     ANDREW        ARCS      EXECUTED      25000      0.02105     -25,000    0.02105      $526.25     15,492,439   $624,811.81
   330   12/16/2020 9:36:22 AM        SELL           -35000.00   FASSARI     ANDREW        ARCS      EXECUTED      35000      0.02105     -35,000    0.02105      $736.75     15,457,439   $625,548.56
   331   12/16/2020 9:36:22 AM        SELL           -50000.00   FASSARI     ANDREW        ARCS      EXECUTED      50000      0.02105     -50,000    0.02105     $1,052.50    15,407,439   $626,601.06
   332   12/16/2020 9:36:24 AM        SELL           -25000.00   FASSARI     ANDREW        ARCS      EXECUTED      25000      0.02110     -25,000    0.0211       $527.50     15,382,439   $627,128.56
   333   12/16/2020 9:36:27 AM        SELL           -40750.00   FASSARI     ANDREW        ARCS      EXECUTED      40750      0.02065     -40,750    0.02065      $841.49     15,341,689   $627,970.04
   334   12/16/2020 9:36:29 AM        SELL            -5000.00   FASSARI     ANDREW        ARCS      EXECUTED       5000      0.02065      -5,000    0.02065      $103.25     15,336,689   $628,073.29
   335   12/16/2020 9:36:29 AM        SELL           -13325.00   FASSARI     ANDREW        ARCS      EXECUTED      13325      0.02065     -13,325    0.02065      $275.16     15,323,364   $628,348.46
   336   12/16/2020 9:36:35 AM        SELL          -279938.00   FASSARI     ANDREW        ARCS      EXECUTED      279938     0.02065    -279,938    0.02065     $5,780.72    15,043,426   $634,129.18
   337   12/16/2020 9:36:41 AM        SELL           -20000.00   FASSARI     ANDREW        ARCS      EXECUTED      20000      0.02060     -20,000    0.0206       $412.00     15,023,426   $634,541.18

Summary of E*Trade Blotter
Fassari Executed Trades in ARCS
Dec. 9 - Dec. 16                                                                                                                                                                                    6 or 9
                              Case 8:21-cv-00403-JVS-ADS Document 6 Filed 03/02/21 Page 56 of 114 Page ID #:127


                    A                   B              C           D            E           F           G           H           I         J          K            L            M            N
                                                                                         Security                             Event                 Event
                                  Order_Action_T                                                    Event Type    Event               SEC Calc                 Sec Cal      Running Running Sum
           Event Timestamp                           Quan       Last Name   First Name   Symbol                             Execution             Execution
                                       ype                                                          Definition   Quantity               quan                    Gross      sum quan    Gross
    1                                                                                     Desc                                Price                 Price
   338   12/16/2020 9:36:41 AM        SELL         -100000.00   FASSARI     ANDREW        ARCS      EXECUTED     100000      0.02040   -100,000   0.0204      $2,040.00    14,923,426   $636,581.18
   339   12/16/2020 9:36:42 AM        SELL           -9859.00   FASSARI     ANDREW        ARCS      EXECUTED      9859       0.02040     -9,859   0.0204       $201.12     14,913,567   $636,782.30
   340   12/16/2020 9:36:46 AM        SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.02034    -10,000   0.02034      $203.40     14,903,567   $636,985.70
   341   12/16/2020 9:36:46 AM        SELL         -180342.00   FASSARI     ANDREW        ARCS      EXECUTED     180342      0.02035   -180,342   0.02035     $3,669.96    14,723,225   $640,655.66
   342   12/16/2020 9:36:46 AM        SELL         -200000.00   FASSARI     ANDREW        ARCS      EXECUTED     200000      0.02035   -200,000   0.02035     $4,070.00    14,523,225   $644,725.66
   343   12/16/2020 9:36:46 AM        SELL         -582500.00   FASSARI     ANDREW        ARCS      EXECUTED     582500      0.02030   -582,500   0.0203      $11,824.75   13,940,725   $656,550.41
   344   12/16/2020 9:36:47 AM        SELL          -33300.00   FASSARI     ANDREW        ARCS      EXECUTED     33300       0.02040    -33,300   0.0204       $679.32     13,907,425   $657,229.73
   345   12/16/2020 9:36:49 AM        SELL          -37041.00   FASSARI     ANDREW        ARCS      EXECUTED     37041       0.02035    -37,041   0.02035      $753.78     13,870,384   $657,983.51
   346   12/16/2020 9:36:50 AM        SELL         -355841.00   FASSARI     ANDREW        ARCS      EXECUTED     355841      0.02030   -355,841   0.0203      $7,223.57    13,514,543   $665,207.09
   347   12/16/2020 9:36:56 AM        SELL          -68084.00   FASSARI     ANDREW        ARCS      EXECUTED     68084       0.02050    -68,084   0.0205      $1,395.72    13,446,459   $666,602.81
   348   12/16/2020 9:41:32 AM        SELL         -212500.00   FASSARI     ANDREW        ARCS      EXECUTED     212500      0.02150   -212,500   0.0215      $4,568.75    13,233,959   $671,171.56
   349   12/16/2020 9:41:34 AM        SELL           -7500.00   FASSARI     ANDREW        ARCS      EXECUTED      7500       0.02155     -7,500   0.02155      $161.63     13,226,459   $671,333.18
   350   12/16/2020 9:41:41 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02150    -50,000   0.0215      $1,075.00    13,176,459   $672,408.18
   351   12/16/2020 9:41:43 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02155    -50,000   0.02155     $1,077.50    13,126,459   $673,485.68
   352   12/16/2020 9:41:44 AM        SELL         -333333.00   FASSARI     ANDREW        ARCS      EXECUTED     333333      0.02100   -333,333    0.021      $6,999.99    12,793,126   $680,485.68
   353   12/16/2020 9:41:44 AM        SELL          -20000.00   FASSARI     ANDREW        ARCS      EXECUTED     20000       0.02150    -20,000   0.0215       $430.00     12,773,126   $680,915.68
   354   12/16/2020 9:41:47 AM        SELL          -17000.00   FASSARI     ANDREW        ARCS      EXECUTED     17000       0.02130    -17,000   0.0213       $362.10     12,756,126   $681,277.78
   355   12/16/2020 9:41:48 AM        SELL          -24271.00   FASSARI     ANDREW        ARCS      EXECUTED     24271       0.02100    -24,271    0.021       $509.69     12,731,855   $681,787.47
   356   12/16/2020 9:41:49 AM        SELL         -100000.00   FASSARI     ANDREW        ARCS      EXECUTED     100000      0.02150   -100,000   0.0215      $2,150.00    12,631,855   $683,937.47
   357   12/16/2020 9:41:50 AM        SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.02155    -10,000   0.02155      $215.50     12,621,855   $684,152.97
   358   12/16/2020 9:41:51 AM        SELL         -200000.00   FASSARI     ANDREW        ARCS      EXECUTED     200000      0.02120   -200,000   0.0212      $4,240.00    12,421,855   $688,392.97
   359   12/16/2020 9:41:52 AM        SELL          -22396.00   FASSARI     ANDREW        ARCS      EXECUTED     22396       0.02150    -22,396   0.0215       $481.51     12,399,459   $688,874.48
   360   12/16/2020 9:41:52 AM        SELL          -40000.00   FASSARI     ANDREW        ARCS      EXECUTED     40000       0.02110    -40,000   0.0211       $844.00     12,359,459   $689,718.48
   361   12/16/2020 9:42:09 AM        SELL          -20000.00   FASSARI     ANDREW        ARCS      EXECUTED     20000       0.02100    -20,000    0.021       $420.00     12,339,459   $690,138.48
   362   12/16/2020 9:42:17 AM        SELL         -837000.00   FASSARI     ANDREW        ARCS      EXECUTED     837000      0.02000   -837,000     0.02      $16,740.00   11,502,459   $706,878.48
   363   12/16/2020 9:42:19 AM        SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.02000    -10,000     0.02       $200.00     11,492,459   $707,078.48
   364   12/16/2020 9:42:22 AM        SELL         -275000.00   FASSARI     ANDREW        ARCS      EXECUTED     275000      0.02000   -275,000     0.02      $5,500.00    11,217,459   $712,578.48
   365   12/16/2020 9:42:43 AM        SELL         -715000.00   FASSARI     ANDREW        ARCS      EXECUTED     715000      0.02000   -715,000     0.02      $14,300.00   10,502,459   $726,878.48
   366   12/16/2020 9:45:04 AM        SELL           -3000.00   FASSARI     ANDREW        ARCS      EXECUTED      3000       0.02010     -3,000   0.0201        $60.30     10,499,459   $726,938.78
   367   12/16/2020 9:45:04 AM        SELL          -80555.00   FASSARI     ANDREW        ARCS      EXECUTED     80555       0.02010    -80,555   0.0201      $1,619.16    10,418,904   $728,557.94
   368   12/16/2020 9:45:10 AM        SELL           -7000.00   FASSARI     ANDREW        ARCS      EXECUTED      7000       0.02025     -7,000   0.02025      $141.75     10,411,904   $728,699.69
   369   12/16/2020 9:45:11 AM        SELL         -409445.00   FASSARI     ANDREW        ARCS      EXECUTED     409445      0.02010   -409,445   0.0201      $8,229.84    10,002,459   $736,929.53
   370   12/16/2020 9:45:35 AM        SELL          -20000.00   FASSARI     ANDREW        ARCS      EXECUTED     20000       0.02034    -20,000   0.02034      $406.80     9,982,459    $737,336.33
   371   12/16/2020 9:45:37 AM        SELL           -5752.00   FASSARI     ANDREW        ARCS      EXECUTED      5752       0.02020     -5,752   0.0202       $116.19     9,976,707    $737,452.52
   372   12/16/2020 9:45:37 AM        SELL          -40000.00   FASSARI     ANDREW        ARCS      EXECUTED     40000       0.02030    -40,000   0.0203       $812.00     9,936,707    $738,264.52
   373   12/16/2020 9:45:37 AM        SELL         -100000.00   FASSARI     ANDREW        ARCS      EXECUTED     100000      0.02020   -100,000   0.0202      $2,020.00    9,836,707    $740,284.52
   374   12/16/2020 9:45:43 AM        SELL          -40000.00   FASSARI     ANDREW        ARCS      EXECUTED     40000       0.02010    -40,000   0.0201       $804.00     9,796,707    $741,088.52
   375   12/16/2020 9:45:44 AM        SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.02010    -10,000   0.0201       $201.00     9,786,707    $741,289.52
   376   12/16/2020 9:45:46 AM        SELL           -8000.00   FASSARI     ANDREW        ARCS      EXECUTED      8000       0.02000     -8,000     0.02       $160.00     9,778,707    $741,449.52
   377   12/16/2020 9:45:46 AM        SELL          -25000.00   FASSARI     ANDREW        ARCS      EXECUTED     25000       0.02000    -25,000     0.02       $500.00     9,753,707    $741,949.52
   378   12/16/2020 9:45:46 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02000    -50,000     0.02      $1,000.00    9,703,707    $742,949.52
   379   12/16/2020 9:45:46 AM        SELL         -211248.00   FASSARI     ANDREW        ARCS      EXECUTED     211248      0.02000   -211,248     0.02      $4,224.96    9,492,459    $747,174.48
   380   12/16/2020 9:45:47 AM        SELL         -100000.00   FASSARI     ANDREW        ARCS      EXECUTED     100000      0.02000   -100,000     0.02      $2,000.00    9,392,459    $749,174.48
   381   12/16/2020 9:45:47 AM        SELL         -116155.00   FASSARI     ANDREW        ARCS      EXECUTED     116155      0.02000   -116,155     0.02      $2,323.10    9,276,304    $751,497.58
   382   12/16/2020 9:45:53 AM        SELL         -115000.00   FASSARI     ANDREW        ARCS      EXECUTED     115000      0.02000   -115,000     0.02      $2,300.00    9,161,304    $753,797.58
   383   12/16/2020 9:45:54 AM        SELL          -38752.00   FASSARI     ANDREW        ARCS      EXECUTED     38752       0.02025    -38,752   0.02025      $784.73     9,122,552    $754,582.31
   384   12/16/2020 9:46:27 AM        SELL          -60000.00   FASSARI     ANDREW        ARCS      EXECUTED     60000       0.02000    -60,000     0.02      $1,200.00    9,062,552    $755,782.31
   385   12/16/2020 9:46:28 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.02000    -50,000     0.02      $1,000.00    9,012,552    $756,782.31
   386   12/16/2020 9:46:39 AM        SELL          -10093.00   FASSARI     ANDREW        ARCS      EXECUTED     10093       0.02000    -10,093     0.02       $201.86     9,002,459    $756,984.17
   387   12/16/2020 9:48:55 AM        SELL          -19500.00   FASSARI     ANDREW        ARCS      EXECUTED     19500       0.02050    -19,500   0.0205       $399.75     8,982,959    $757,383.92
   388   12/16/2020 9:48:56 AM        SELL          -80000.00   FASSARI     ANDREW        ARCS      EXECUTED     80000       0.02020    -80,000   0.0202      $1,616.00    8,902,959    $758,999.92
   389   12/16/2020 9:49:01 AM        SELL         -130000.00   FASSARI     ANDREW        ARCS      EXECUTED     130000      0.02010   -130,000   0.0201      $2,613.00    8,772,959    $761,612.92
   390   12/16/2020 9:49:09 AM        SELL           -5000.00   FASSARI     ANDREW        ARCS      EXECUTED      5000       0.02010     -5,000   0.0201       $100.50     8,767,959    $761,713.42
   391   12/16/2020 9:49:36 AM        SELL          -20000.00   FASSARI     ANDREW        ARCS      EXECUTED     20000       0.02000    -20,000     0.02       $400.00     8,747,959    $762,113.42
   392   12/16/2020 9:49:43 AM        SELL         -100000.00   FASSARI     ANDREW        ARCS      EXECUTED     100000      0.02000   -100,000     0.02      $2,000.00    8,647,959    $764,113.42
   393   12/16/2020 9:51:21 AM        SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.01990    -50,000   0.0199       $995.00     8,597,959    $765,108.42

Summary of E*Trade Blotter
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Dec. 9 - Dec. 16                                                                                                                                                                                 7 or 9
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                    A                   B              C            D            E           F           G           H           I          J           K            L           M            N
                                                                                          Security                             Event                   Event
                                  Order_Action_T                                                     Event Type    Event               SEC Calc                   Sec Cal      Running Running Sum
           Event Timestamp                           Quan        Last Name   First Name   Symbol                             Execution               Execution
                                       ype                                                           Definition   Quantity               quan                      Gross      sum quan    Gross
    1                                                                                      Desc                                Price                   Price
   394    12/16/2020 9:51:24 AM       SELL           -10599.00   FASSARI     ANDREW        ARCS      EXECUTED      10599      0.01990     -10,599    0.0199       $210.92     8,587,360   $765,319.34
   395    12/16/2020 9:51:27 AM       SELL           -18600.00   FASSARI     ANDREW        ARCS      EXECUTED      18600      0.01990     -18,600    0.0199       $370.14     8,568,760   $765,689.48
   396    12/16/2020 9:51:29 AM       SELL           -65100.00   FASSARI     ANDREW        ARCS      EXECUTED      65100      0.01990     -65,100    0.0199      $1,295.49    8,503,660   $766,984.97
   397    12/16/2020 9:51:37 AM       SELL           -37500.00   FASSARI     ANDREW        ARCS      EXECUTED      37500      0.01975     -37,500    0.01975      $740.63     8,466,160   $767,725.59
   398    12/16/2020 9:51:37 AM       SELL         -1683983.00   FASSARI     ANDREW        ARCS      EXECUTED     1683983     0.01960   -1,683,983   0.0196      $33,006.07   6,782,177   $800,731.66
   399    12/16/2020 9:51:39 AM       SELL           -40000.00   FASSARI     ANDREW        ARCS      EXECUTED      40000      0.01990     -40,000    0.0199       $796.00     6,742,177   $801,527.66
   400    12/16/2020 9:51:39 AM       SELL           -40000.00   FASSARI     ANDREW        ARCS      EXECUTED      40000      0.01990     -40,000    0.0199       $796.00     6,702,177   $802,323.66
   401    12/16/2020 9:51:41 AM       SELL            -6718.00   FASSARI     ANDREW        ARCS      EXECUTED       6718      0.01970      -6,718    0.0197       $132.34     6,695,459   $802,456.00
   402    12/16/2020 9:51:41 AM       SELL           -47500.00   FASSARI     ANDREW        ARCS      EXECUTED      47500      0.01990     -47,500    0.0199       $945.25     6,647,959   $803,401.25
   403    12/16/2020 9:53:25 AM       SELL           -37500.00   FASSARI     ANDREW        ARCS      EXECUTED      37500      0.02040     -37,500    0.0204       $765.00     6,610,459   $804,166.25
   404    12/16/2020 9:53:28 AM       SELL           -37500.00   FASSARI     ANDREW        ARCS      EXECUTED      37500      0.02040     -37,500    0.0204       $765.00     6,572,959   $804,931.25
   405    12/16/2020 9:53:39 AM       SELL           -20000.00   FASSARI     ANDREW        ARCS      EXECUTED      20000      0.02110     -20,000    0.0211       $422.00     6,552,959   $805,353.25
   406    12/16/2020 9:53:40 AM       SELL           -19828.00   FASSARI     ANDREW        ARCS      EXECUTED      19828      0.02070     -19,828    0.0207       $410.44     6,533,131   $805,763.69
   407    12/16/2020 9:53:44 AM       SELL          -218675.00   FASSARI     ANDREW        ARCS      EXECUTED      218675     0.02000    -218,675      0.02      $4,373.50    6,314,456   $810,137.19
   408    12/16/2020 9:53:44 AM       SELL          -261497.00   FASSARI     ANDREW        ARCS      EXECUTED      261497     0.02000    -261,497      0.02      $5,229.94    6,052,959   $815,367.13
   409    12/16/2020 9:53:47 AM       SELL          -425000.00   FASSARI     ANDREW        ARCS      EXECUTED      425000     0.02010    -425,000    0.0201      $8,542.50    5,627,959   $823,909.63
   410    12/16/2020 9:53:55 AM       SELL            -1943.00   FASSARI     ANDREW        ARCS      EXECUTED       1943      0.01960      -1,943    0.0196        $38.08     5,626,016   $823,947.72
   411    12/16/2020 9:53:55 AM       SELL           -10050.00   FASSARI     ANDREW        ARCS      EXECUTED      10050      0.01990     -10,050    0.0199       $200.00     5,615,966   $824,147.71
   412    12/16/2020 9:53:55 AM       SELL           -15000.00   FASSARI     ANDREW        ARCS      EXECUTED      15000      0.01990     -15,000    0.0199       $298.50     5,600,966   $824,446.21
   413    12/16/2020 9:53:55 AM       SELL           -20000.00   FASSARI     ANDREW        ARCS      EXECUTED      20000      0.01990     -20,000    0.0199       $398.00     5,580,966   $824,844.21
   414    12/16/2020 9:53:55 AM       SELL           -50000.00   FASSARI     ANDREW        ARCS      EXECUTED      50000      0.01950     -50,000    0.0195       $975.00     5,530,966   $825,819.21
   415    12/16/2020 9:53:59 AM       SELL           -15000.00   FASSARI     ANDREW        ARCS      EXECUTED      15000      0.01975     -15,000    0.01975      $296.25     5,515,966   $826,115.46
   416    12/16/2020 9:54:04 AM       SELL          -150000.00   FASSARI     ANDREW        ARCS      EXECUTED      150000     0.01960    -150,000    0.0196      $2,940.00    5,365,966   $829,055.46
   417    12/16/2020 9:54:58 AM       SELL           -25000.00   FASSARI     ANDREW        ARCS      EXECUTED      25000      0.01900     -25,000     0.019       $475.00     5,340,966   $829,530.46
   418    12/16/2020 9:55:05 AM       SELL           -32012.00   FASSARI     ANDREW        ARCS      EXECUTED      32012      0.01900     -32,012     0.019       $608.23     5,308,954   $830,138.69
   419    12/16/2020 9:55:05 AM       SELL           -50000.00   FASSARI     ANDREW        ARCS      EXECUTED      50000      0.01850     -50,000    0.0185       $925.00     5,258,954   $831,063.69
   420    12/16/2020 9:55:05 AM       SELL          -301498.00   FASSARI     ANDREW        ARCS      EXECUTED      301498     0.01900    -301,498     0.019      $5,728.46    4,957,456   $836,792.15
   421    12/16/2020 9:55:08 AM       SELL           -91490.00   FASSARI     ANDREW        ARCS      EXECUTED      91490      0.01850     -91,490    0.0185      $1,692.57    4,865,966   $838,484.72
   422   12/16/2020 10:02:14 AM       SELL          -500000.00   FASSARI     ANDREW        ARCS      EXECUTED      500000     0.02200    -500,000     0.022      $11,000.00   4,365,966   $849,484.72
   423   12/16/2020 10:02:18 AM       SELL           -40000.00   FASSARI     ANDREW        ARCS      EXECUTED      40000      0.02200     -40,000     0.022       $880.00     4,325,966   $850,364.72
   424   12/16/2020 10:02:27 AM       SELL           -15000.00   FASSARI     ANDREW        ARCS      EXECUTED      15000      0.02200     -15,000     0.022       $330.00     4,310,966   $850,694.72
   425   12/16/2020 10:02:36 AM       SELL           -30000.00   FASSARI     ANDREW        ARCS      EXECUTED      30000      0.02200     -30,000     0.022       $660.00     4,280,966   $851,354.72
   426   12/16/2020 10:04:52 AM       SELL           -50000.00   FASSARI     ANDREW        ARCS      EXECUTED      50000      0.02030     -50,000    0.0203      $1,015.00    4,230,966   $852,369.72
   427   12/16/2020 10:04:53 AM       SELL           -65000.00   FASSARI     ANDREW        ARCS      EXECUTED      65000      0.02060     -65,000    0.0206      $1,339.00    4,165,966   $853,708.72
   428   12/16/2020 10:04:53 AM       SELL          -126200.00   FASSARI     ANDREW        ARCS      EXECUTED      126200     0.02010    -126,200    0.0201      $2,536.62    4,039,766   $856,245.34
   429   12/16/2020 10:04:53 AM       SELL          -313800.00   FASSARI     ANDREW        ARCS      EXECUTED      313800     0.02010    -313,800    0.0201      $6,307.38    3,725,966   $862,552.72
   430   12/16/2020 10:04:57 AM       SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.02055     -10,000    0.02055      $205.50     3,715,966   $862,758.22
   431   12/16/2020 10:04:58 AM       SELL          -132108.00   FASSARI     ANDREW        ARCS      EXECUTED      132108     0.02010    -132,108    0.0201      $2,655.37    3,583,858   $865,413.59
   432   12/16/2020 10:04:59 AM       SELL           -25000.00   FASSARI     ANDREW        ARCS      EXECUTED      25000      0.02000     -25,000      0.02       $500.00     3,558,858   $865,913.59
   433   12/16/2020 10:05:13 AM       SELL           -50000.00   FASSARI     ANDREW        ARCS      EXECUTED      50000      0.02000     -50,000      0.02      $1,000.00    3,508,858   $866,913.59
   434   12/16/2020 10:05:14 AM       SELL          -227892.00   FASSARI     ANDREW        ARCS      EXECUTED      227892     0.02000    -227,892      0.02      $4,557.84    3,280,966   $871,471.43
   435   12/16/2020 10:06:28 AM       SELL           -53000.00   FASSARI     ANDREW        ARCS      EXECUTED      53000      0.02000     -53,000      0.02      $1,060.00    3,227,966   $872,531.43
   436   12/16/2020 10:06:28 AM       SELL          -100000.00   FASSARI     ANDREW        ARCS      EXECUTED      100000     0.02000    -100,000      0.02      $2,000.00    3,127,966   $874,531.43
   437   12/16/2020 10:06:33 AM       SELL            -2000.00   FASSARI     ANDREW        ARCS      EXECUTED       2000      0.02000      -2,000      0.02        $40.00     3,125,966   $874,571.43
   438   12/16/2020 10:06:44 AM       SELL            -1050.00   FASSARI     ANDREW        ARCS      EXECUTED       1050      0.02000      -1,050      0.02        $21.00     3,124,916   $874,592.43
   439   12/16/2020 10:23:57 AM       SELL          -500000.00   FASSARI     ANDREW        ARCS      EXECUTED      500000     0.01880    -500,000    0.0188      $9,400.00    2,624,916   $883,992.43
   440   12/16/2020 10:24:21 AM       SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.01870     -10,000    0.0187       $187.00     2,614,916   $884,179.43
   441   12/16/2020 10:24:21 AM       SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.01870     -10,000    0.0187       $187.00     2,604,916   $884,366.43
   442   12/16/2020 10:24:21 AM       SELL           -47586.00   FASSARI     ANDREW        ARCS      EXECUTED      47586      0.01870     -47,586    0.0187       $889.86     2,557,330   $885,256.29
   443   12/16/2020 10:24:27 AM       SELL          -432414.00   FASSARI     ANDREW        ARCS      EXECUTED      432414     0.01860    -432,414    0.0186      $8,042.90    2,124,916   $893,299.19
   444   12/16/2020 10:25:30 AM       SELL           -10000.00   FASSARI     ANDREW        ARCS      EXECUTED      10000      0.01760     -10,000    0.0176       $176.00     2,114,916   $893,475.19
   445   12/16/2020 10:25:32 AM       SELL           -27500.00   FASSARI     ANDREW        ARCS      EXECUTED      27500      0.01750     -27,500    0.0175       $481.25     2,087,416   $893,956.44
   446   12/16/2020 10:25:41 AM       SELL            -5586.00   FASSARI     ANDREW        ARCS      EXECUTED       5586      0.01760      -5,586    0.0176        $98.31     2,081,830   $894,054.75
   447   12/16/2020 10:25:44 AM       SELL            -9000.00   FASSARI     ANDREW        ARCS      EXECUTED       9000      0.01760      -9,000    0.0176       $158.40     2,072,830   $894,213.15
   448   12/16/2020 10:25:49 AM       SELL           -65000.00   FASSARI     ANDREW        ARCS      EXECUTED      65000      0.01730     -65,000    0.0173      $1,124.50    2,007,830   $895,337.65
   449   12/16/2020 10:25:50 AM       SELL           -65000.00   FASSARI     ANDREW        ARCS      EXECUTED      65000      0.01720     -65,000    0.0172      $1,118.00    1,942,830   $896,455.65

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                    A                   B              C           D            E           F           G           H           I         J          K            L          M            N
                                                                                         Security                             Event                 Event
                                  Order_Action_T                                                    Event Type    Event               SEC Calc                Sec Cal      Running Running Sum
           Event Timestamp                           Quan       Last Name   First Name   Symbol                             Execution             Execution
                                       ype                                                          Definition   Quantity               quan                   Gross      sum quan    Gross
    1                                                                                     Desc                                Price                 Price
   450   12/16/2020 10:25:52 AM       SELL          -70000.00   FASSARI     ANDREW        ARCS      EXECUTED      70000      0.01710    -70,000   0.0171      $1,197.00   1,872,830   $897,652.65
   451   12/16/2020 10:25:52 AM       SELL          -80000.00   FASSARI     ANDREW        ARCS      EXECUTED      80000      0.01710    -80,000   0.0171      $1,368.00   1,792,830   $899,020.65
   452   12/16/2020 10:25:53 AM       SELL          -30000.00   FASSARI     ANDREW        ARCS      EXECUTED     30000       0.01730    -30,000   0.0173       $519.00    1,762,830   $899,539.65
   453   12/16/2020 10:25:59 AM       SELL          -50000.00   FASSARI     ANDREW        ARCS      EXECUTED     50000       0.01700    -50,000    0.017       $850.00    1,712,830   $900,389.65
   454   12/16/2020 10:25:59 AM       SELL          -58823.00   FASSARI     ANDREW        ARCS      EXECUTED     58823       0.01700    -58,823    0.017       $999.99    1,654,007   $901,389.64
   455   12/16/2020 10:25:59 AM       SELL         -336591.00   FASSARI     ANDREW        ARCS      EXECUTED     336591      0.01700   -336,591    0.017      $5,722.05   1,317,416   $907,111.69
   456   12/16/2020 10:25:59 AM       SELL         -500000.00   FASSARI     ANDREW        ARCS      EXECUTED     500000      0.01700   -500,000    0.017      $8,500.00    817,416    $915,611.69
   457   12/16/2020 10:26:06 AM       SELL          -20000.00   FASSARI     ANDREW        ARCS      EXECUTED     20000       0.01710    -20,000   0.0171       $342.00     797,416    $915,953.69
   458   12/16/2020 10:26:07 AM       SELL          -72500.00   FASSARI     ANDREW        ARCS      EXECUTED     72500       0.01650    -72,500   0.0165      $1,196.25    724,916    $917,149.94
   459   12/16/2020 10:26:07 AM       SELL         -100000.00   FASSARI     ANDREW        ARCS      EXECUTED     100000      0.01650   -100,000   0.0165      $1,650.00    624,916    $918,799.94
   460   12/16/2020 10:26:07 AM       SELL           -7500.00   FASSARI     ANDREW        ARCS      EXECUTED      7500       0.01650     -7,500   0.0165       $123.75     617,416    $918,923.69
   461   12/16/2020 10:26:09 AM       SELL          -37500.00   FASSARI     ANDREW        ARCS      EXECUTED     37500       0.01625    -37,500   0.01625      $609.38     579,916    $919,533.06
   462   12/16/2020 10:26:15 AM       SELL          -60000.00   FASSARI     ANDREW        ARCS      EXECUTED     60000       0.01620    -60,000   0.0162       $972.00     519,916    $920,505.06
   463   12/16/2020 10:26:16 AM       SELL          -37500.00   FASSARI     ANDREW        ARCS      EXECUTED     37500       0.01615    -37,500   0.01615      $605.63     482,416    $921,110.69
   464   12/16/2020 10:26:22 AM       SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.01620    -10,000   0.0162       $162.00     472,416    $921,272.69
   465   12/16/2020 10:26:22 AM       SELL          -37500.00   FASSARI     ANDREW        ARCS      EXECUTED     37500       0.01625    -37,500   0.01625      $609.38     434,916    $921,882.06
   466   12/16/2020 10:26:23 AM       SELL          -10000.00   FASSARI     ANDREW        ARCS      EXECUTED     10000       0.01630    -10,000   0.0163       $163.00     424,916    $922,045.06
   467   12/16/2020 10:26:26 AM       SELL          -37500.00   FASSARI     ANDREW        ARCS      EXECUTED     37500       0.01640    -37,500   0.0164       $615.00     387,416    $922,660.06
   468   12/16/2020 10:26:29 AM       SELL         -100000.00   FASSARI     ANDREW        ARCS      EXECUTED     100000      0.01650   -100,000   0.0165      $1,650.00    287,416    $924,310.06
   469   12/16/2020 10:26:33 AM       SELL          -65000.00   FASSARI     ANDREW        ARCS      EXECUTED     65000       0.01660    -65,000   0.0166      $1,079.00    222,416    $925,389.06
   470   12/16/2020 10:26:37 AM       SELL          -97500.00   FASSARI     ANDREW        ARCS      EXECUTED     97500       0.01650    -97,500   0.0165      $1,608.75    124,916    $926,997.81
   471   12/16/2020 11:29:05 AM       SELL         -100000.00   FASSARI     ANDREW        ARCS      EXECUTED     100000      0.02270   -100,000   0.0227      $2,270.00     24,916    $929,267.81
   472   12/16/2020 12:48:31 PM       SELL          -24916.00   FASSARI     ANDREW        ARCS      EXECUTED     24916       0.01710    -24,916   0.0171       $426.06        0       $929,693.88




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              A                     B           C            D         E           F           G            H              I             J             K               L                              M            N
                                                                                Security
                             Order_Action_                                                 Event Type     Event     Event Execution   SEC Calc   Event Execution   Sec Cal       Running sum                 Running Sum
     Event Timestamp                          Quan       Last Name First Name   Symbol
                                 Type                                                       Definition   Quantity        Price          quan          Price         Gross           quan                        Gross
1                                                                                Desc
2
3    12/17/2020 9:30:01 AM       BUY          10000.00    FASSARI   ANDREW       ARCS      EXECUTED        10000        0.01950        10,000         0.0195        -$195.00            10,000                   -$195.00
4    12/17/2020 9:30:04 AM       BUY          10000.00    FASSARI   ANDREW       ARCS      EXECUTED        10000        0.01950        10,000         0.0195        -$195.00            20,000                   -$390.00
5    12/17/2020 9:30:13 AM       BUY          90000.00    FASSARI   ANDREW       ARCS      EXECUTED        90000        0.01950        90,000         0.0195       -$1,755.00          110,000                  -$2,145.00
6    12/17/2020 9:30:15 AM       BUY          42447.00    FASSARI   ANDREW       ARCS      EXECUTED        42447        0.01920        42,447         0.0192        -$814.98           152,447                  -$2,959.98
7    12/17/2020 9:30:15 AM       BUY         142447.00    FASSARI   ANDREW       ARCS      EXECUTED       142447        0.01920        142,447        0.0192       -$2,734.98          294,894                  -$5,694.96
8    12/17/2020 9:30:15 AM       BUY         250000.00    FASSARI   ANDREW       ARCS      EXECUTED       250000        0.01900        250,000        0.019        -$4,750.00          544,894                 -$10,444.96
9    12/17/2020 9:30:15 AM       BUY         140000.00    FASSARI   ANDREW       ARCS      EXECUTED       140000        0.01950        140,000        0.0195       -$2,730.00          684,894                 -$13,174.96
10   12/17/2020 9:30:26 AM       BUY          65106.00    FASSARI   ANDREW       ARCS      EXECUTED        65106        0.01920        65,106         0.0192       -$1,250.04          750,000                 -$14,425.00
11   12/17/2020 9:30:26 AM       BUY          1594.00     FASSARI   ANDREW       ARCS      EXECUTED        1594         0.01910         1,594         0.0191         -$30.45           751,594                 -$14,455.45
12   12/17/2020 9:30:26 AM       BUY          10853.00    FASSARI   ANDREW       ARCS      EXECUTED        10853        0.01890        10,853         0.0189        -$205.12           762,447                 -$14,660.57
13   12/17/2020 9:30:26 AM       BUY          30000.00    FASSARI   ANDREW       ARCS      EXECUTED        30000        0.01890        30,000         0.0189        -$567.00           792,447                 -$15,227.57
14   12/17/2020 9:30:26 AM       BUY         207553.00    FASSARI   ANDREW       ARCS      EXECUTED       207553        0.01910        207,553        0.0191       -$3,964.26         1,000,000                -$19,191.83
15   12/17/2020 9:30:28 AM       BUY         211500.00    FASSARI   ANDREW       ARCS      EXECUTED       211500        0.01600        211,500        0.016        -$3,384.00         1,211,500                -$22,575.83
16   12/17/2020 9:30:28 AM       BUY         216924.00    FASSARI   ANDREW       ARCS      EXECUTED       216924        0.01600        216,924        0.016        -$3,470.78         1,428,424                -$26,046.61
17   12/17/2020 9:30:29 AM       BUY          8000.00     FASSARI   ANDREW       ARCS      EXECUTED        8000         0.01600         8,000         0.016         -$128.00          1,436,424                -$26,174.61
18   12/17/2020 9:30:29 AM       BUY          50000.00    FASSARI   ANDREW       ARCS      EXECUTED        50000        0.01600        50,000         0.016         -$800.00          1,486,424                -$26,974.61
19   12/17/2020 9:30:30 AM       BUY         250000.00    FASSARI   ANDREW       ARCS      EXECUTED       250000        0.01700        250,000        0.017        -$4,250.00         1,736,424                -$31,224.61
20   12/17/2020 9:30:30 AM       BUY         250000.00    FASSARI   ANDREW       ARCS      EXECUTED       250000        0.01700        250,000        0.017        -$4,250.00         1,986,424                -$35,474.61
21   12/17/2020 9:30:40 AM       BUY          13576.00    FASSARI   ANDREW       ARCS      EXECUTED        13576        0.01600        13,576         0.016         -$217.22          2,000,000                -$35,691.83
22   12/17/2020 9:30:52 AM       BUY         229700.00    FASSARI   ANDREW       ARCS      EXECUTED       229700        0.01800        229,700        0.018        -$4,134.60         2,229,700                -$39,826.43
23   12/17/2020 9:30:52 AM       BUY         250000.00    FASSARI   ANDREW       ARCS      EXECUTED       250000        0.01800        250,000        0.018        -$4,500.00         2,479,700                -$44,326.43
24   12/17/2020 9:30:55 AM       BUY          10000.00    FASSARI   ANDREW       ARCS      EXECUTED        10000        0.01790        10,000         0.0179        -$179.00          2,489,700                -$44,505.43
25   12/17/2020 9:30:57 AM       BUY         500000.00    FASSARI   ANDREW       ARCS      EXECUTED       500000        0.01720        500,000        0.0172       -$8,600.00         2,989,700                -$53,105.43
26   12/17/2020 9:30:58 AM       BUY         260300.00    FASSARI   ANDREW       ARCS      EXECUTED       260300        0.01700        260,300        0.017        -$4,425.10         3,250,000                -$57,530.53
27   12/17/2020 9:30:58 AM       BUY         250000.00    FASSARI   ANDREW       ARCS      EXECUTED       250000        0.01650        250,000        0.0165       -$4,125.00         3,500,000                -$61,655.53
28   12/17/2020 9:31:05 AM       BUY          97551.00    FASSARI   ANDREW       ARCS      EXECUTED        97551        0.01600        97,551         0.016        -$1,560.82         3,597,551                -$63,216.35
29   12/17/2020 9:31:05 AM       BUY         402449.00    FASSARI   ANDREW       ARCS      EXECUTED       402449        0.01590        402,449        0.0159       -$6,398.94         4,000,000                -$69,615.28
30   12/17/2020 9:31:16 AM       BUY         140000.00    FASSARI   ANDREW       ARCS      EXECUTED       140000        0.01520        140,000        0.0152       -$2,128.00         4,140,000                -$71,743.28
31   12/17/2020 9:31:16 AM       BUY         360000.00    FASSARI   ANDREW       ARCS      EXECUTED       360000        0.01600        360,000        0.016        -$5,760.00         4,500,000                -$77,503.28
32   12/17/2020 9:31:30 AM       BUY         146165.00    FASSARI   ANDREW       ARCS      EXECUTED       146165        0.01510        146,165        0.0151       -$2,207.09         4,646,165                -$79,710.38
33   12/17/2020 9:31:31 AM       BUY          24842.00    FASSARI   ANDREW       ARCS      EXECUTED        24842        0.01510        24,842         0.0151        -$375.11          4,671,007                -$80,085.49
34   12/17/2020 9:31:31 AM       BUY         328993.00    FASSARI   ANDREW       ARCS      EXECUTED       328993        0.01510        328,993        0.0151       -$4,967.79         5,000,000                -$85,053.28
35   12/17/2020 9:31:36 AM       BUY         250000.00    FASSARI   ANDREW       ARCS      EXECUTED       250000        0.01510        250,000        0.0151       -$3,775.00         5,250,000                -$88,828.28
36   12/17/2020 9:31:36 AM       BUY         500000.00    FASSARI   ANDREW       ARCS      EXECUTED       500000        0.01510        500,000        0.0151       -$7,550.00         5,750,000                -$96,378.28
37   12/17/2020 9:31:39 AM       BUY         450000.00    FASSARI   ANDREW       ARCS      EXECUTED       450000        0.01505        450,000       0.01505       -$6,772.50         6,200,000               -$103,150.78
38   12/17/2020 9:31:44 AM       BUY         500000.00    FASSARI   ANDREW       ARCS      EXECUTED       500000        0.01505        500,000       0.01505       -$7,525.00         6,700,000               -$110,675.78
39   12/17/2020 9:31:51 AM       BUY         500000.00    FASSARI   ANDREW       ARCS      EXECUTED       500000        0.01510        500,000        0.0151       -$7,550.00         7,200,000               -$118,225.78
40   12/17/2020 9:31:51 AM       BUY          16556.00    FASSARI   ANDREW       ARCS      EXECUTED        16556        0.01510        16,556         0.0151        -$250.00          7,216,556               -$118,475.78
41   12/17/2020 9:31:51 AM       BUY         164500.00    FASSARI   ANDREW       ARCS      EXECUTED       164500        0.01510        164,500        0.0151       -$2,483.95         7,381,056               -$120,959.73
42   12/17/2020 9:31:51 AM       BUY         335500.00    FASSARI   ANDREW       ARCS      EXECUTED       335500        0.01510        335,500        0.0151       -$5,066.05         7,716,556               -$126,025.78
43   12/17/2020 9:31:53 AM       BUY          10000.00    FASSARI   ANDREW       ARCS      EXECUTED        10000        0.01500        10,000         0.015         -$150.00          7,726,556               -$126,175.78
44   12/17/2020 9:31:53 AM       BUY          10000.00    FASSARI   ANDREW       ARCS      EXECUTED        10000        0.01500        10,000         0.015         -$150.00          7,736,556               -$126,325.78
45   12/17/2020 9:32:00 AM       BUY         250000.00    FASSARI   ANDREW       ARCS      EXECUTED       250000        0.01680        250,000        0.0168       -$4,200.00         7,986,556               -$130,525.78
46   12/17/2020 9:32:00 AM       BUY         250000.00    FASSARI   ANDREW       ARCS      EXECUTED       250000        0.01680        250,000        0.0168       -$4,200.00         8,236,556               -$134,725.78
47   12/17/2020 9:32:14 AM       BUY         250000.00    FASSARI   ANDREW       ARCS      EXECUTED       250000        0.01680        250,000        0.0168       -$4,200.00         8,486,556               -$138,925.78
48   12/17/2020 9:32:14 AM       BUY         250000.00    FASSARI   ANDREW       ARCS      EXECUTED       250000        0.01680        250,000        0.0168       -$4,200.00         8,736,556               -$143,125.78
49   12/17/2020 9:32:14 AM       BUY         250000.00    FASSARI   ANDREW       ARCS      EXECUTED       250000        0.01680        250,000        0.0168       -$4,200.00         8,986,556               -$147,325.78
50   12/17/2020 9:32:18 AM       BUY         500000.00    FASSARI   ANDREW       ARCS      EXECUTED       500000        0.01620        500,000        0.0162       -$8,100.00         9,486,556               -$155,425.78
51   12/17/2020 9:32:46 AM       BUY          40000.00    FASSARI   ANDREW       ARCS      EXECUTED        40000        0.01650        40,000         0.0165        -$660.00          9,526,556               -$156,085.78
52   12/17/2020 9:32:48 AM       BUY         169069.00    FASSARI   ANDREW       ARCS      EXECUTED       169069        0.01650        169,069        0.0165       -$2,789.64         9,695,625               -$158,875.42
53   12/17/2020 9:32:49 AM       BUY         127569.00    FASSARI   ANDREW       ARCS      EXECUTED       127569        0.01650        127,569        0.0165       -$2,104.89         9,823,194               -$160,980.31
54   12/17/2020 9:32:49 AM       BUY         290931.00    FASSARI   ANDREW       ARCS      EXECUTED       290931        0.01650        290,931        0.0165       -$4,800.36        10,114,125               -$165,780.67
55   12/17/2020 9:32:56 AM       BUY         500000.00    FASSARI   ANDREW       ARCS      EXECUTED       500000        0.01610        500,000        0.0161       -$8,050.00        10,614,125               -$173,830.67
56   12/17/2020 9:32:58 AM       BUY          33444.00    FASSARI   ANDREW       ARCS      EXECUTED        33444        0.01600        33,444         0.016         -$535.10         10,647,569               -$174,365.77
57   12/17/2020 9:32:59 AM       BUY         372431.00    FASSARI   ANDREW       ARCS      EXECUTED       372431        0.01650        372,431        0.0165       -$6,145.11        11,020,000               -$180,510.88
58   12/17/2020 9:32:59 AM       BUY         127569.00    FASSARI   ANDREW       ARCS      EXECUTED       127569        0.01650        127,569        0.0165       -$2,104.89        11,147,569               -$182,615.77
59   12/17/2020 9:33:00 AM       BUY          10000.00    FASSARI   ANDREW       ARCS      EXECUTED        10000        0.01610        10,000         0.0161        -$161.00         11,157,569               -$182,776.77
60   12/17/2020 9:33:02 AM       BUY         500000.00    FASSARI   ANDREW       ARCS      EXECUTED       500000        0.01600        500,000        0.016        -$8,000.00        11,657,569               -$190,776.77
61   12/17/2020 9:33:03 AM       BUY         139935.00    FASSARI   ANDREW       ARCS      EXECUTED       139935        0.01600        139,935        0.016        -$2,238.96        11,797,504               -$193,015.73


       Summary of E*Trade Blotter                                                                                                                                          Exhibit




                                                                                                                                                                                        exhibitsticker.com
       Fassari Trades in ARCS
       Dec. 17 - Dec. 18                                                                                                                                                                                      1 of 4
                                                                                                                                                                             9
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                A                     B            C            D         E           F           G            H              I             J              K               L              M              N
                                                                                   Security
                               Order_Action_                                                  Event Type     Event     Event Execution   SEC Calc    Event Execution    Sec Cal      Running sum   Running Sum
      Event Timestamp                           Quan        Last Name First Name   Symbol
                                   Type                                                        Definition   Quantity        Price          quan           Price          Gross          quan          Gross
 1                                                                                  Desc
62    12/17/2020 9:33:03 AM        BUY          18032.00     FASSARI   ANDREW       ARCS      EXECUTED       18032         0.01600        18,032          0.016          -$288.51     11,815,536    -$193,304.24
63    12/17/2020 9:33:03 AM        BUY         344399.00     FASSARI   ANDREW       ARCS      EXECUTED      344399         0.01600        344,399         0.016         -$5,510.38    12,159,935    -$198,814.63
64    12/17/2020 9:33:23 AM        BUY         340065.00     FASSARI   ANDREW       ARCS      EXECUTED      340065         0.01590        340,065         0.0159        -$5,407.03    12,500,000    -$204,221.66
65    12/17/2020 9:33:24 AM        BUY         500000.00     FASSARI   ANDREW       ARCS      EXECUTED      500000         0.01590        500,000         0.0159        -$7,950.00    13,000,000    -$212,171.66
66    12/17/2020 9:33:47 AM        BUY          37500.00     FASSARI   ANDREW       ARCS      EXECUTED       37500         0.01587        37,500         0.01587         -$595.13     13,037,500    -$212,766.79
67    12/17/2020 9:33:53 AM        BUY          37500.00     FASSARI   ANDREW       ARCS      EXECUTED       37500         0.01570        37,500          0.0157         -$588.75     13,075,000    -$213,355.54
68    12/17/2020 9:33:56 AM        BUY          3947.00      FASSARI   ANDREW       ARCS      EXECUTED       3947          0.01550         3,947          0.0155          -$61.18     13,078,947    -$213,416.72
69    12/17/2020 9:34:12 AM        BUY         160000.00     FASSARI   ANDREW       ARCS      EXECUTED      160000         0.01520        160,000         0.0152        -$2,432.00    13,238,947    -$215,848.72
70    12/17/2020 9:34:16 AM        BUY          72500.00     FASSARI   ANDREW       ARCS      EXECUTED       72500         0.01550        72,500          0.0155        -$1,123.75    13,311,447    -$216,972.47
71    12/17/2020 9:34:19 AM        BUY         188553.00     FASSARI   ANDREW       ARCS      EXECUTED      188553         0.01550        188,553         0.0155        -$2,922.57    13,500,000    -$219,895.04
72    12/17/2020 9:35:54 AM        BUY         250000.00     FASSARI   ANDREW       ARCS      EXECUTED      250000         0.01460        250,000         0.0146        -$3,650.00    13,750,000    -$223,545.04
73    12/17/2020 9:35:54 AM        BUY         500000.00     FASSARI   ANDREW       ARCS      EXECUTED      500000         0.01500        500,000         0.015         -$7,500.00    14,250,000    -$231,045.04
74    12/17/2020 9:35:59 AM        BUY          23241.00     FASSARI   ANDREW       ARCS      EXECUTED       23241         0.01500        23,241          0.015          -$348.62     14,273,241    -$231,393.65
75    12/17/2020 9:35:59 AM        BUY         171778.00     FASSARI   ANDREW       ARCS      EXECUTED      171778         0.01500        171,778         0.015         -$2,576.67    14,445,019    -$233,970.32
76    12/17/2020 9:36:06 AM        BUY          1000.00      FASSARI   ANDREW       ARCS      EXECUTED       1000          0.01480         1,000          0.0148          -$14.80     14,446,019    -$233,985.12
77    12/17/2020 9:36:08 AM        BUY         250000.00     FASSARI   ANDREW       ARCS      EXECUTED      250000         0.01510        250,000         0.0151        -$3,775.00    14,696,019    -$237,760.12
78    12/17/2020 9:36:13 AM        BUY          47780.00     FASSARI   ANDREW       ARCS      EXECUTED       47780         0.01500        47,780          0.015          -$716.70     14,743,799    -$238,476.82
79    12/17/2020 9:36:13 AM        BUY          23000.00     FASSARI   ANDREW       ARCS      EXECUTED       23000         0.01510        23,000          0.0151         -$347.30     14,766,799    -$238,824.12
80    12/17/2020 9:36:26 AM        BUY         112000.00     FASSARI   ANDREW       ARCS      EXECUTED      112000         0.01500        112,000         0.015         -$1,680.00    14,878,799    -$240,504.12
81    12/17/2020 9:36:30 AM        BUY         1567500.00    FASSARI   ANDREW       ARCS      EXECUTED      1567500        0.01510       1,567,500        0.0151       -$23,669.25    16,446,299    -$264,173.37
82    12/17/2020 9:37:39 AM        BUY          27000.00     FASSARI   ANDREW       ARCS      EXECUTED       27000         0.01575        27,000         0.01575         -$425.25     16,473,299    -$264,598.62
83    12/17/2020 9:37:43 AM        BUY         1507909.00    FASSARI   ANDREW       ARCS      EXECUTED      1507909        0.01600       1,507,909        0.016        -$24,126.54    17,981,208    -$288,725.17
84    12/17/2020 9:37:47 AM        BUY          64597.00     FASSARI   ANDREW       ARCS      EXECUTED       64597         0.01700        64,597          0.017         -$1,098.15    18,045,805    -$289,823.32
85    12/17/2020 9:37:47 AM        BUY         400494.00     FASSARI   ANDREW       ARCS      EXECUTED      400494         0.01700        400,494         0.017         -$6,808.40    18,446,299    -$296,631.71
86    12/17/2020 9:39:13 AM        BUY          5071.00      FASSARI   ANDREW       ARCS      EXECUTED       5071          0.01600         5,071          0.016           -$81.14     18,451,370    -$296,712.85
87    12/17/2020 9:39:13 AM        BUY         490000.00     FASSARI   ANDREW       ARCS      EXECUTED      490000         0.01600        490,000         0.016         -$7,840.00    18,941,370    -$304,552.85
88    12/17/2020 9:39:50 AM        BUY          23880.00     FASSARI   ANDREW       ARCS      EXECUTED       23880         0.01600        23,880          0.016          -$382.08     18,965,250    -$304,934.93
89    12/17/2020 9:40:16 AM        BUY          3600.00      FASSARI   ANDREW       ARCS      EXECUTED       3600          0.01600         3,600          0.016           -$57.60     18,968,850    -$304,992.53
90    12/17/2020 9:40:24 AM        BUY          4929.00      FASSARI   ANDREW       ARCS      EXECUTED       4929          0.01600         4,929          0.016           -$78.86     18,973,779    -$305,071.39
91    12/17/2020 9:40:24 AM        BUY          95071.00     FASSARI   ANDREW       ARCS      EXECUTED       95071         0.01600        95,071          0.016         -$1,521.14    19,068,850    -$306,592.53
92    12/17/2020 9:41:17 AM        BUY         500000.00     FASSARI   ANDREW       ARCS      EXECUTED      500000         0.01650        500,000         0.0165        -$8,250.00    19,568,850    -$314,842.53
93    12/17/2020 9:41:28 AM        BUY         472520.00     FASSARI   ANDREW       ARCS      EXECUTED      472520         0.01600        472,520         0.016         -$7,560.32    20,041,370    -$322,402.85
94    12/17/2020 9:41:28 AM        BUY          51087.00     FASSARI   ANDREW       ARCS      EXECUTED       51087         0.01600        51,087          0.016          -$817.39     20,092,457    -$323,220.24
95    12/17/2020 9:41:47 AM        BUY         500000.00     FASSARI   ANDREW       ARCS      EXECUTED      500000         0.01600        500,000         0.016         -$8,000.00    20,592,457    -$331,220.24
96    12/17/2020 9:41:49 AM        BUY         404929.00     FASSARI   ANDREW       ARCS      EXECUTED      404929         0.01600        404,929         0.016         -$6,478.86    20,997,386    -$337,699.11
97    12/17/2020 9:41:54 AM        BUY         448913.00     FASSARI   ANDREW       ARCS      EXECUTED      448913         0.01600        448,913         0.016         -$7,182.61    21,446,299    -$344,881.71
98    12/17/2020 9:42:14 AM        BUY         2000000.00    FASSARI   ANDREW       ARCS      EXECUTED      2000000        0.01610       2,000,000        0.0161       -$32,200.00    23,446,299    -$377,081.71
99    12/17/2020 9:42:33 AM        BUY         170000.00     FASSARI   ANDREW       ARCS      EXECUTED      170000         0.01590        170,000         0.0159        -$2,703.00    23,616,299    -$379,784.71
100   12/17/2020 9:42:36 AM        BUY         150000.00     FASSARI   ANDREW       ARCS      EXECUTED      150000         0.01600        150,000         0.016         -$2,400.00    23,766,299    -$382,184.71
101   12/17/2020 9:42:39 AM        BUY         270951.00     FASSARI   ANDREW       ARCS      EXECUTED      270951         0.01590        270,951         0.0159        -$4,308.12    24,037,250    -$386,492.83
102   12/17/2020 9:42:39 AM        BUY         1500000.00    FASSARI   ANDREW       ARCS      EXECUTED      1500000        0.01650       1,500,000        0.0165       -$24,750.00    25,537,250    -$411,242.83
103   12/17/2020 9:42:47 AM        BUY          40000.00     FASSARI   ANDREW       ARCS      EXECUTED       40000         0.01745        40,000         0.01745         -$698.00     25,577,250    -$411,940.83
104   12/17/2020 9:42:47 AM        BUY         230000.00     FASSARI   ANDREW       ARCS      EXECUTED      230000         0.01745        230,000        0.01745        -$4,013.50    25,807,250    -$415,954.33
105   12/17/2020 9:42:47 AM        BUY         230000.00     FASSARI   ANDREW       ARCS      EXECUTED      230000         0.01745        230,000        0.01745        -$4,013.50    26,037,250    -$419,967.83
106   12/17/2020 9:42:47 AM        BUY         500000.00     FASSARI   ANDREW       ARCS      EXECUTED      500000         0.01745        500,000        0.01745        -$8,725.00    26,537,250    -$428,692.83
107   12/17/2020 9:42:47 AM        BUY         1000000.00    FASSARI   ANDREW       ARCS      EXECUTED      1000000        0.01745       1,000,000       0.01745       -$17,450.00    27,537,250    -$446,142.83
108   12/17/2020 9:43:39 AM        BUY         500000.00     FASSARI   ANDREW       ARCS      EXECUTED      500000         0.01700        500,000         0.017         -$8,500.00    28,037,250    -$454,642.83
109   12/17/2020 9:43:41 AM        BUY         1409049.00    FASSARI   ANDREW       ARCS      EXECUTED      1409049        0.01700       1,409,049        0.017        -$23,953.83    29,446,299    -$478,596.67
110   12/17/2020 9:46:31 AM        BUY         105000.00     FASSARI   ANDREW       ARCS      EXECUTED      105000         0.01575        105,000        0.01575        -$1,653.75    29,551,299    -$480,250.42
111   12/17/2020 9:46:43 AM        BUY         395000.00     FASSARI   ANDREW       ARCS      EXECUTED      395000         0.01690        395,000         0.0169        -$6,675.50    29,946,299    -$486,925.92
112   12/17/2020 9:58:12 AM        BUY          10000.00     FASSARI   ANDREW       ARCS      EXECUTED       10000         0.01780        10,000          0.0178         -$178.00     29,956,299    -$487,103.92
113   12/17/2020 9:58:16 AM        BUY         179895.00     FASSARI   ANDREW       ARCS      EXECUTED      179895         0.01800        179,895         0.018         -$3,238.11    30,136,194    -$490,342.03
114   12/17/2020 9:58:16 AM        BUY         179895.00     FASSARI   ANDREW       ARCS      EXECUTED      179895         0.01800        179,895         0.018         -$3,238.11    30,316,089    -$493,580.14
115   12/17/2020 9:58:17 AM        BUY         130210.00     FASSARI   ANDREW       ARCS      EXECUTED      130210         0.01840        130,210         0.0184        -$2,395.86    30,446,299    -$495,976.00
116   12/17/2020 10:12:21 AM       BUY         100000.00     FASSARI   ANDREW       ARCS      EXECUTED      100000         0.01700        100,000         0.017         -$1,700.00    30,546,299    -$497,676.00
117   12/17/2020 10:12:35 AM       BUY         100000.00     FASSARI   ANDREW       ARCS      EXECUTED      100000         0.01720        100,000         0.0172        -$1,720.00    30,646,299    -$499,396.00
118   12/17/2020 10:12:38 AM       BUY          10000.00     FASSARI   ANDREW       ARCS      EXECUTED       10000         0.01720        10,000          0.0172         -$172.00     30,656,299    -$499,568.00
119   12/17/2020 10:12:38 AM       BUY          10000.00     FASSARI   ANDREW       ARCS      EXECUTED       10000         0.01720        10,000          0.0172         -$172.00     30,666,299    -$499,740.00
120   12/17/2020 10:12:52 AM       BUY          10000.00     FASSARI   ANDREW       ARCS      EXECUTED       10000         0.01730        10,000          0.0173         -$173.00     30,676,299    -$499,913.00
121   12/17/2020 10:13:04 AM       BUY          20000.00     FASSARI   ANDREW       ARCS      EXECUTED       20000         0.01765        20,000         0.01765         -$353.00     30,696,299    -$500,266.00


         Summary of E*Trade Blotter
         Fassari Trades in ARCS
         Dec. 17 - Dec. 18                                                                                                                                                                          2 of 4
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                A                     B            C             D         E           F           G            H              I              J              K               L              M              N
                                                                                    Security
                               Order_Action_                                                   Event Type     Event     Event Execution   SEC Calc     Event Execution    Sec Cal      Running sum   Running Sum
      Event Timestamp                            Quan        Last Name First Name   Symbol
                                   Type                                                         Definition   Quantity        Price          quan            Price          Gross          quan          Gross
 1                                                                                   Desc
122   12/17/2020 10:13:08 AM       BUY          980000.00     FASSARI   ANDREW       ARCS      EXECUTED      980000         0.01780        980,000          0.0178       -$17,444.00    31,676,299    -$517,710.00
123   12/17/2020 10:13:29 AM       BUY          180000.00     FASSARI   ANDREW       ARCS      EXECUTED      180000         0.01820        180,000          0.0182        -$3,276.00    31,856,299    -$520,986.00
124   12/17/2020 10:13:39 AM       BUY           10000.00     FASSARI   ANDREW       ARCS      EXECUTED       10000         0.01830         10,000          0.0183         -$183.00     31,866,299    -$521,169.00
125   12/17/2020 10:13:46 AM       BUY          990000.00     FASSARI   ANDREW       ARCS      EXECUTED      990000         0.01850        990,000          0.0185       -$18,315.00    32,856,299    -$539,484.00
126   12/17/2020 10:14:12 AM       BUY         1000000.00     FASSARI   ANDREW       ARCS      EXECUTED      1000000        0.01870       1,000,000         0.0187       -$18,700.00    33,856,299    -$558,184.00
127   12/17/2020 10:20:51 AM       BUY           10000.00     FASSARI   ANDREW       ARCS      EXECUTED       10000         0.01880         10,000          0.0188         -$188.00     33,866,299    -$558,372.00
128   12/17/2020 10:20:53 AM       BUY          200000.00     FASSARI   ANDREW       ARCS      EXECUTED      200000         0.01890        200,000          0.0189        -$3,780.00    34,066,299    -$562,152.00
129   12/17/2020 10:20:57 AM       BUY          177019.00     FASSARI   ANDREW       ARCS      EXECUTED      177019         0.01890        177,019          0.0189        -$3,345.66    34,243,318    -$565,497.66
130   12/17/2020 10:20:59 AM       BUY           15000.00     FASSARI   ANDREW       ARCS      EXECUTED       15000         0.01900         15,000          0.019          -$285.00     34,258,318    -$565,782.66
131   12/17/2020 10:20:59 AM       BUY           87000.00     FASSARI   ANDREW       ARCS      EXECUTED       87000         0.01900         87,000          0.019         -$1,653.00    34,345,318    -$567,435.66
132   12/17/2020 10:20:59 AM       BUY          200000.00     FASSARI   ANDREW       ARCS      EXECUTED      200000         0.01900        200,000          0.019         -$3,800.00    34,545,318    -$571,235.66
133   12/17/2020 10:21:02 AM       BUY           55000.00     FASSARI   ANDREW       ARCS      EXECUTED       55000         0.01940         55,000          0.0194        -$1,067.00    34,600,318    -$572,302.66
134   12/17/2020 10:21:07 AM       BUY           10000.00     FASSARI   ANDREW       ARCS      EXECUTED       10000         0.01940         10,000          0.0194         -$194.00     34,610,318    -$572,496.66
135   12/17/2020 10:21:07 AM       BUY           45981.00     FASSARI   ANDREW       ARCS      EXECUTED       45981         0.01950         45,981          0.0195         -$896.63     34,656,299    -$573,393.29
136   12/17/2020 10:21:07 AM       BUY          200000.00     FASSARI   ANDREW       ARCS      EXECUTED      200000         0.01930        200,000          0.0193        -$3,860.00    34,856,299    -$577,253.29
137   12/17/2020 10:21:33 AM       BUY           10000.00     FASSARI   ANDREW       ARCS      EXECUTED       10000         0.01900         10,000          0.019          -$190.00     34,866,299    -$577,443.29
138   12/17/2020 10:22:06 AM       BUY          100000.00     FASSARI   ANDREW       ARCS      EXECUTED      100000         0.01960        100,000          0.0196        -$1,960.00    34,966,299    -$579,403.29
139   12/17/2020 10:22:14 AM       BUY          100000.00     FASSARI   ANDREW       ARCS      EXECUTED      100000         0.01960        100,000          0.0196        -$1,960.00    35,066,299    -$581,363.29
140   12/17/2020 10:22:19 AM       BUY          100000.00     FASSARI   ANDREW       ARCS      EXECUTED      100000         0.01960        100,000          0.0196        -$1,960.00    35,166,299    -$583,323.29
141   12/17/2020 10:22:21 AM       BUY           10000.00     FASSARI   ANDREW       ARCS      EXECUTED       10000         0.01960         10,000          0.0196         -$196.00     35,176,299    -$583,519.29
142   12/17/2020 10:22:24 AM       BUY           25510.00     FASSARI   ANDREW       ARCS      EXECUTED       25510         0.01960         25,510          0.0196         -$500.00     35,201,809    -$584,019.29
143   12/17/2020 10:22:31 AM       BUY           10000.00     FASSARI   ANDREW       ARCS      EXECUTED       10000         0.01960         10,000          0.0196         -$196.00     35,211,809    -$584,215.29
144   12/17/2020 10:22:45 AM       BUY          100000.00     FASSARI   ANDREW       ARCS      EXECUTED      100000         0.02000        100,000           0.02         -$2,000.00    35,311,809    -$586,215.29
145   12/18/2020 9:30:06 AM        SELL         -640796.00    FASSARI   ANDREW       ARCS      EXECUTED      640796         0.00380        -640,796         0.0038        $2,435.02     34,671,013    -$583,780.26
146   12/18/2020 9:30:10 AM        SELL        -5000000.00    FASSARI   ANDREW       ARCS      EXECUTED      5000000        0.00370       -5,000,000        0.0037       $18,500.00     29,671,013    -$565,280.26
147   12/18/2020 9:30:14 AM        SELL          -90000.00    FASSARI   ANDREW       ARCS      EXECUTED       90000         0.00370         -90,000         0.0037         $333.00      29,581,013    -$564,947.26
148   12/18/2020 9:30:23 AM        SELL         -100000.00    FASSARI   ANDREW       ARCS      EXECUTED      100000         0.00380        -100,000         0.0038         $380.00      29,481,013    -$564,567.26
149   12/18/2020 9:30:28 AM        SELL         -100000.00    FASSARI   ANDREW       ARCS      EXECUTED      100000         0.00380        -100,000         0.0038         $380.00      29,381,013    -$564,187.26
150   12/18/2020 9:30:28 AM        SELL         -100000.00    FASSARI   ANDREW       ARCS      EXECUTED      100000         0.00380        -100,000         0.0038         $380.00      29,281,013    -$563,807.26
151   12/18/2020 9:30:31 AM        SELL        -5000000.00    FASSARI   ANDREW       ARCS      EXECUTED      5000000        0.00400       -5,000,000        0.004        $20,000.00     24,281,013    -$543,807.26
152   12/18/2020 9:30:32 AM        SELL         -100000.00    FASSARI   ANDREW       ARCS      EXECUTED      100000         0.00380        -100,000         0.0038         $380.00      24,181,013    -$543,427.26
153   12/18/2020 9:30:33 AM        SELL         -100000.00    FASSARI   ANDREW       ARCS      EXECUTED      100000         0.00384        -100,000        0.00384         $384.00      24,081,013    -$543,043.26
154   12/18/2020 9:30:38 AM        SELL         -125000.00    FASSARI   ANDREW       ARCS      EXECUTED      125000         0.00390        -125,000         0.0039         $487.50      23,956,013    -$542,555.76
155   12/18/2020 9:30:39 AM        SELL         -150000.00    FASSARI   ANDREW       ARCS      EXECUTED      150000         0.00390        -150,000         0.0039         $585.00      23,806,013    -$541,970.76
156   12/18/2020 9:30:41 AM        SELL          -87500.00    FASSARI   ANDREW       ARCS      EXECUTED       87500         0.00384         -87,500        0.00384         $336.00      23,718,513    -$541,634.76
157   12/18/2020 9:30:42 AM        SELL         -100000.00    FASSARI   ANDREW       ARCS      EXECUTED      100000         0.00380        -100,000         0.0038         $380.00      23,618,513    -$541,254.76
158   12/18/2020 9:30:44 AM        SELL         -800000.00    FASSARI   ANDREW       ARCS      EXECUTED      800000         0.00390        -800,000         0.0039        $3,120.00     22,818,513    -$538,134.76
159   12/18/2020 9:30:44 AM        SELL         -100000.00    FASSARI   ANDREW       ARCS      EXECUTED      100000         0.00390        -100,000         0.0039         $390.00      22,718,513    -$537,744.76
160   12/18/2020 9:30:45 AM        SELL          -10000.00    FASSARI   ANDREW       ARCS      EXECUTED       10000         0.00390         -10,000         0.0039          $39.00      22,708,513    -$537,705.76
161   12/18/2020 9:30:46 AM        SELL         -150000.00    FASSARI   ANDREW       ARCS      EXECUTED      150000         0.00390        -150,000         0.0039         $585.00      22,558,513    -$537,120.76
162   12/18/2020 9:30:49 AM        SELL        -2544204.00    FASSARI   ANDREW       ARCS      EXECUTED      2544204        0.00380       -2,544,204        0.0038        $9,667.98     20,014,309    -$527,452.79
163   12/18/2020 9:30:53 AM        SELL        -4702500.00    FASSARI   ANDREW       ARCS      EXECUTED      4702500        0.00420       -4,702,500        0.0042       $19,750.50     15,311,809    -$507,702.29
164   12/18/2020 9:31:31 AM        SELL          -10000.00    FASSARI   ANDREW       ARCS      EXECUTED       10000         0.00495         -10,000        0.00495          $49.50      15,301,809    -$507,652.79
165   12/18/2020 9:31:32 AM        SELL           -2000.00    FASSARI   ANDREW       ARCS      EXECUTED       2000          0.00495          -2,000        0.00495           $9.90      15,299,809    -$507,642.89
166   12/18/2020 9:31:32 AM        SELL          -75250.00    FASSARI   ANDREW       ARCS      EXECUTED       75250         0.00495         -75,250        0.00495         $372.49      15,224,559    -$507,270.40
167   12/18/2020 9:31:32 AM        SELL         -100000.00    FASSARI   ANDREW       ARCS      EXECUTED      100000         0.00495        -100,000        0.00495         $495.00      15,124,559    -$506,775.40
168   12/18/2020 9:31:32 AM        SELL         -690000.00    FASSARI   ANDREW       ARCS      EXECUTED      690000         0.00495        -690,000        0.00495        $3,415.50     14,434,559    -$503,359.90
169   12/18/2020 9:31:34 AM        SELL          -20000.00    FASSARI   ANDREW       ARCS      EXECUTED       20000         0.00495         -20,000        0.00495          $99.00      14,414,559    -$503,260.90
170   12/18/2020 9:31:36 AM        SELL         -800000.00    FASSARI   ANDREW       ARCS      EXECUTED      800000         0.00495        -800,000        0.00495        $3,960.00     13,614,559    -$499,300.90
171   12/18/2020 9:31:39 AM        SELL         -100000.00    FASSARI   ANDREW       ARCS      EXECUTED      100000         0.00495        -100,000        0.00495         $495.00      13,514,559    -$498,805.90
172   12/18/2020 9:31:49 AM        SELL        -5000000.00    FASSARI   ANDREW       ARCS      EXECUTED      5000000        0.00490       -5,000,000        0.0049       $24,500.00      8,514,559    -$474,305.90
173   12/18/2020 9:31:55 AM        SELL          -10000.00    FASSARI   ANDREW       ARCS      EXECUTED       10000         0.00495         -10,000        0.00495          $49.50       8,504,559    -$474,256.40
174   12/18/2020 9:31:58 AM        SELL         -390000.00    FASSARI   ANDREW       ARCS      EXECUTED      390000         0.00495        -390,000        0.00495        $1,930.50      8,114,559    -$472,325.90
175   12/18/2020 9:32:05 AM        SELL          -92494.00    FASSARI   ANDREW       ARCS      EXECUTED       92494         0.00495         -92,494        0.00495         $457.85       8,022,065    -$471,868.05
176   12/18/2020 9:32:06 AM        SELL          -90000.00    FASSARI   ANDREW       ARCS      EXECUTED       90000         0.00495         -90,000        0.00495         $445.50       7,932,065    -$471,422.55
177   12/18/2020 9:32:07 AM        SELL          -91000.00    FASSARI   ANDREW       ARCS      EXECUTED       91000         0.00495         -91,000        0.00495         $450.45       7,841,065    -$470,972.10
178   12/18/2020 9:32:24 AM        SELL          -30000.00    FASSARI   ANDREW       ARCS      EXECUTED       30000         0.00490         -30,000         0.0049         $147.00       7,811,065    -$470,825.10
179   12/18/2020 9:32:24 AM        SELL          -30000.00    FASSARI   ANDREW       ARCS      EXECUTED       30000         0.00490         -30,000         0.0049         $147.00       7,781,065    -$470,678.10
180   12/18/2020 9:32:24 AM        SELL        -1147500.00    FASSARI   ANDREW       ARCS      EXECUTED      1147500        0.00500       -1,147,500        0.005         $5,737.50      6,633,565    -$464,940.60
181   12/18/2020 9:32:25 AM        SELL          -30000.00    FASSARI   ANDREW       ARCS      EXECUTED       30000         0.00490         -30,000         0.0049         $147.00       6,603,565    -$464,793.60


         Summary of E*Trade Blotter
         Fassari Trades in ARCS
         Dec. 17 - Dec. 18                                                                                                                                                                            3 of 4
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               A                     B            C             D         E           F           G            H              I              J              K              L             M              N
                                                                                   Security
                              Order_Action_                                                   Event Type     Event     Event Execution   SEC Calc     Event Execution   Sec Cal     Running sum   Running Sum
      Event Timestamp                           Quan        Last Name First Name   Symbol
                                  Type                                                         Definition   Quantity        Price          quan            Price         Gross         quan          Gross
 1                                                                                  Desc
182   12/18/2020 9:32:25 AM       SELL          -30000.00    FASSARI   ANDREW       ARCS      EXECUTED       30000         0.00490         -30,000         0.0049        $147.00      6,573,565    -$464,646.60
183   12/18/2020 9:32:28 AM       SELL          -50000.00    FASSARI   ANDREW       ARCS      EXECUTED       50000         0.00500         -50,000         0.005         $250.00      6,523,565    -$464,396.60
184   12/18/2020 9:32:30 AM       SELL          -30000.00    FASSARI   ANDREW       ARCS      EXECUTED       30000         0.00490         -30,000         0.0049        $147.00      6,493,565    -$464,249.60
185   12/18/2020 9:32:30 AM       SELL          -30000.00    FASSARI   ANDREW       ARCS      EXECUTED       30000         0.00490         -30,000         0.0049        $147.00      6,463,565    -$464,102.60
186   12/18/2020 9:32:30 AM       SELL          -60000.00    FASSARI   ANDREW       ARCS      EXECUTED       60000         0.00500         -60,000         0.005         $300.00      6,403,565    -$463,802.60
187   12/18/2020 9:32:31 AM       SELL           -8255.00    FASSARI   ANDREW       ARCS      EXECUTED       8255          0.00500          -8,255         0.005          $41.28      6,395,310    -$463,761.33
188   12/18/2020 9:32:31 AM       SELL          -30000.00    FASSARI   ANDREW       ARCS      EXECUTED       30000         0.00490         -30,000         0.0049        $147.00      6,365,310    -$463,614.33
189   12/18/2020 9:32:32 AM       SELL          -30000.00    FASSARI   ANDREW       ARCS      EXECUTED       30000         0.00490         -30,000         0.0049        $147.00      6,335,310    -$463,467.33
190   12/18/2020 9:32:33 AM       SELL          -30000.00    FASSARI   ANDREW       ARCS      EXECUTED       30000         0.00490         -30,000         0.0049        $147.00      6,305,310    -$463,320.33
191   12/18/2020 9:32:34 AM       SELL          -30000.00    FASSARI   ANDREW       ARCS      EXECUTED       30000         0.00490         -30,000         0.0049        $147.00      6,275,310    -$463,173.33
192   12/18/2020 9:32:34 AM       SELL         -250000.00    FASSARI   ANDREW       ARCS      EXECUTED      250000         0.00500        -250,000         0.005        $1,250.00     6,025,310    -$461,923.33
193   12/18/2020 9:32:35 AM       SELL          -30000.00    FASSARI   ANDREW       ARCS      EXECUTED       30000         0.00490         -30,000         0.0049        $147.00      5,995,310    -$461,776.33
194   12/18/2020 9:32:36 AM       SELL          -30000.00    FASSARI   ANDREW       ARCS      EXECUTED       30000         0.00490         -30,000         0.0049        $147.00      5,965,310    -$461,629.33
195   12/18/2020 9:32:37 AM       SELL          -30000.00    FASSARI   ANDREW       ARCS      EXECUTED       30000         0.00490         -30,000         0.0049        $147.00      5,935,310    -$461,482.33
196   12/18/2020 9:32:40 AM       SELL          -94245.00    FASSARI   ANDREW       ARCS      EXECUTED       94245         0.00500         -94,245         0.005         $471.23      5,841,065    -$461,011.10
197   12/18/2020 9:32:42 AM       SELL         -487600.00    FASSARI   ANDREW       ARCS      EXECUTED      487600         0.00495        -487,600        0.00495       $2,413.62     5,353,465    -$458,597.48
198   12/18/2020 9:32:46 AM       SELL        -1000000.00    FASSARI   ANDREW       ARCS      EXECUTED      1000000        0.00495       -1,000,000       0.00495       $4,950.00     4,353,465    -$453,647.48
199   12/18/2020 9:32:59 AM       SELL         -239149.00    FASSARI   ANDREW       ARCS      EXECUTED      239149         0.00485        -239,149        0.00485       $1,159.87     4,114,316    -$452,487.61
200   12/18/2020 9:33:01 AM       SELL         -113851.00    FASSARI   ANDREW       ARCS      EXECUTED      113851         0.00440        -113,851         0.0044        $500.94      4,000,465    -$451,986.67
201   12/18/2020 9:33:12 AM       SELL         -133333.00    FASSARI   ANDREW       ARCS      EXECUTED      133333         0.00435        -133,333        0.00435        $580.00      3,867,132    -$451,406.67
202   12/18/2020 9:33:20 AM       SELL          -26000.00    FASSARI   ANDREW       ARCS      EXECUTED       26000         0.00400         -26,000         0.004         $104.00      3,841,132    -$451,302.67
203   12/18/2020 9:33:22 AM       SELL           -1340.00    FASSARI   ANDREW       ARCS      EXECUTED       1340          0.00390          -1,340         0.0039         $5.23       3,839,792    -$451,297.44
204   12/18/2020 9:33:22 AM       SELL         -118205.00    FASSARI   ANDREW       ARCS      EXECUTED      118205         0.00390        -118,205         0.0039        $461.00      3,721,587    -$450,836.44
205   12/18/2020 9:33:35 AM       SELL         -253096.00    FASSARI   ANDREW       ARCS      EXECUTED      253096         0.00390        -253,096         0.0039        $987.07      3,468,491    -$449,849.37
206   12/18/2020 9:33:44 AM       SELL         -200000.00    FASSARI   ANDREW       ARCS      EXECUTED      200000         0.00390        -200,000         0.0039        $780.00      3,268,491    -$449,069.37
207   12/18/2020 9:33:46 AM       SELL         -150000.00    FASSARI   ANDREW       ARCS      EXECUTED      150000         0.00395        -150,000        0.00395        $592.50      3,118,491    -$448,476.87
208   12/18/2020 9:34:46 AM       SELL         -637659.00    FASSARI   ANDREW       ARCS      EXECUTED      637659         0.00380        -637,659         0.0038       $2,423.10     2,480,832    -$446,053.76
209   12/18/2020 9:35:01 AM       SELL          -25000.00    FASSARI   ANDREW       ARCS      EXECUTED       25000         0.00380         -25,000         0.0038         $95.00      2,455,832    -$445,958.76
210   12/18/2020 9:35:07 AM       SELL         -337341.00    FASSARI   ANDREW       ARCS      EXECUTED      337341         0.00390        -337,341         0.0039       $1,315.63     2,118,491    -$444,643.13
211   12/18/2020 9:35:07 AM       SELL         -262659.00    FASSARI   ANDREW       ARCS      EXECUTED      262659         0.00390        -262,659         0.0039       $1,024.37     1,855,832    -$443,618.76
212   12/18/2020 9:35:10 AM       SELL         -400000.00    FASSARI   ANDREW       ARCS      EXECUTED      400000         0.00400        -400,000         0.004        $1,600.00     1,455,832    -$442,018.76
213   12/18/2020 9:35:14 AM       SELL         -337341.00    FASSARI   ANDREW       ARCS      EXECUTED      337341         0.00390        -337,341         0.0039       $1,315.63     1,118,491    -$440,703.13
214   12/18/2020 9:35:14 AM       SELL        -1000000.00    FASSARI   ANDREW       ARCS      EXECUTED      1000000        0.00390       -1,000,000        0.0039       $3,900.00      118,491     -$436,803.13
215   12/18/2020 9:35:35 AM       SELL          -10000.00    FASSARI   ANDREW       ARCS      EXECUTED       10000         0.00415         -10,000        0.00415         $41.50       108,491     -$436,761.63
216   12/18/2020 9:35:35 AM       SELL          -25000.00    FASSARI   ANDREW       ARCS      EXECUTED       25000         0.00415         -25,000        0.00415        $103.75        83,491     -$436,657.88
217   12/18/2020 9:35:35 AM       SELL          -83491.00    FASSARI   ANDREW       ARCS      EXECUTED       83491         0.00415         -83,491        0.00415        $346.49          0        -$436,311.40




        Summary of E*Trade Blotter
        Fassari Trades in ARCS
        Dec. 17 - Dec. 18                                                                                                                                                                          4 of 4
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     TIME (ET)   DATE      STATEMENTS                                                       ATTACHMENTS
1    10:46 AM    Dec. 9,   15 Min till my new alert that I am expecting 3000%
                 2020      minimum $TSNP $BRTX $TSLA $WOGI $STHC $TPTW
                           $WDLF $AAPL $blvd
2    10:57 AM    Dec. 9,   OK GUYS! THE NEW ALERT IS $ARCS!! I will share
                 2020      what i have uncovered the past 24 hours with you all! :smile:
                           Lets buy! #stocks #alert #pennystocks #ocmillionaire
3    11:04 AM    Dec. 9,   $ARCS i will share what i have uncovered in the last 24 hours
                 2020      with you! Give me a few moments to load emails from the
                           ceo on the big short squeeze that is coming! I just bought
                           OOSs! WEEEEE
4    11:23 AM    Dec. 9,   $ARCS this is one of the emails i got today when i checked       Email screenshot
                 2020      my inbox. I have others and i will share with you all and this   attached
                           is prob one of the biggest #cannabis #stocks I have seen
                           since the days of $FlTX who did 50,000 sq ft with a 3.5
                           billion float. We have 20* that. $tsnp $IGPK
5    12:10 PM    Dec. 9,   $ARCS 380,000 indoor cultivation 1 Million+ sq ft
                 2020      processing. WEEEEEEEEE
                           This CEO has big plans for us. It will move like $TSNP. I
                           bought more at 0055.
                           :) #potstocks #cannabis Stlry $ACB #stockmarketnews
                           #stockmarket
                           @cannabisnewsnet @TMCCTweets @CannabisCulture
                           @CannabisWire
6    12:28 PM    Dec. 9,   $ARCS is about to set a new standard In the American
                 2020      cannabis industry. Our mission is to become the most known
                           cannabis company in the U.S market. And we will achieve
                           that with the help of some of the leading forces in the
                           sector.~ #cannabis #potstocks #pennystocks #lowfloat
7    1:31 PM     Dec. 9,   .0094 close enough .... Here is the 2nd email i received for     Email screenshot
                 2020      this 1.4 million sq ft #cannabis behemoth. Big share             attached
                           reduction coming.#CannabisCommunity #Cannab1sNews
                           i<cannabisindustry .-stocks #pennystocks #bullish
                           #stockmarketnews #stockmarket #trading #stockstowatch
                           #StocksToBuy
8    1:49 PM     Dec. 9,   $ARCS 01 + today .10+ coming. It will squeeze and they
                 2020      have a ton of news coming and backed by huge investors for
                           its #cannabis operations. I encourage all to reach out to the
                           CEO. He is honest and going to bring value to shareholders.
9    3:43 PM     Dec. 9,   $ARCS i told you all to hold. After all the wonderful emails i
                 2020      posted some just couldnt see the future. Now you get left in
                           da dust. [emoji] .10+ coming. #pots tocks -!#cannabis -
                           #shortsqueeze Next STSNP for sure!
10   3:49 PM     Dec. 9,   Shorts are FRYING on $ARCS right now. LIKE I
                 2020      ALWAYS TELL YOU ALL DO YOUR DD. $ARCS WILL
                           BE THE NEXT BlG #CANNBIS CO AND BE
                           ABOVE .15 LIKE $tsnp RAN. 500 MILLION SHARE
                           REDUCTION COMING ACCORDING TO MY EMAILS
                           ANO BIG INVESTORS WITH 1.4 MILLION SQ FT IN
                           GROWING AND PROCESSING.


                                                                                                    Exhibit
                                                                                                               exhibitsticker.com




                                                                                                      10
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11   4:28 PM    Dec. 9,   $ARCS i told you all didn't I? I try to make as much$$ for        Quoted tweet unavailable
                2020      people as I can. Some listen, some dont, some hear but do
                          not do. I want to see everyone maximize themselves in life.
                          This will be a life changer. #potstocks #cannabis
                          #cannabisNews #cannabismedicinal #medicalmarijuana
                          twitter.com/GainsDayTrades ...
12   4:57 PM    Dec. 9,   l have $arcs revenue #s i will be posting tonight for the         Email screenshots
                2020      valuation of the current grow operations, not only that. ..       attached
                          they are EXPANDING out of state to OTHER BIGGER
                          operations. THIS WILL RUN LIKE S$TSNP. Make no
                          mistake. Again, read below on emails. 1.4 million sq ft
                          $TLRY $ACB
13   5:15 PM    Dec. 9,   Since you all love screen shots so much ... does this count?      Trading account
                2020      @GoonOfWallSt                                                     screenshot attached
                          $ARCS $TSNP $BLDV $WOGI $IGPK $TPTW $TSLA
                          $DPW $TOPS $AAPL $FB $BABA
14   5:59 PM    Dec. 9,   Ok folks please read it slowly ... now you all know why I am      Link to Arcis Resources
                2020      giving $ARCS a .85 cent share valuation. Again, you can           InvestorsHub post
                          verify EVERYTHING with CEO. Next $TSNP guys. Dont                 attached
                          miss it!!! $TLRY $ACB $IGPK $WOGI $ARCS $AAPL
                          #stocks #potstocks #cannabis #cannabisstocks
15   7:37 PM    Dec. 9,   $ARCS to put things in perspective with share structures,
                2020      $TSNP hit .35 ... $ENZC has a float of 1.67 billion an OS of
                          2.75 billion hit .10, TSN has 3.5 billion and we have 1.3 OS
                          with 578 million RESTRICTED on their way to be retired.
                          Float is less than 715 million =.84 cents ..
16   7:49 PM    Dec. 9,   Oh and by the way, I have one last email i will share that will
                2020      show you not only what $ARCS is doing, but what they have
                          in store for us. Let them get settled in. I will post it
                          tomorrow hopefully at or above .03 cents a share :) .84 cent
                          value, pure #cannabis w/1.4 MILL sq ft.
17   8:59 PM    Dec. 9,   $ARCS another email confirmation. See, I got your back ya'll      Email screenshot
                2020                                                                        attached
18   10:12 PM   Dec. 9,   $ARCS WEEEEEEE dont forget about the other 1,000,000              Quoting Twitter handle
                2020      sq ft processing center they have!                                @GainsDayTrades
                                                                                            “$ARCS confirmed with
                                                                                            the company myself to
                                                                                            dispel any rumors. They
                                                                                            officially have a 380,000
                                                                                            sq ft cultivation facility
                                                                                            for cannabis and is
                                                                                            expecting to return to
                                                                                            current status hopefully
                                                                                            by the end of december.
                                                                                            Conduct your own due
                                                                                            dilligence before
                                                                                            concluding” with an
                                                                                            email from ARCS to
                                                                                            support.
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19   12:13 AM   Dec.   $ARCS perspective ... Just the 1 million sq ft facility alone     HEXO grow facility
                10,    compared to $HEXO ... which is trading at .98 cents. 1            pictures attached
                2020   attached HEXOS facility .... now we don’t know where the 1
                       million sq ft $ARCS is BUT we know it IS completed! SS of
                       HEXO is 488,000,000 OS shares ... hit a high of 1.30
20   12:19 AM   Dec.   . “Growers and other observers estimated that indoor-grown
                10,    cannabis was at $1,700-$2,200 per pound, observers said.
                2020   They also noted that most of that $2,000-plus crop was
                       coming from boutique cultivators growing relatively small
                       amounts, like 10-20 pounds" $ARCS
21   8:24 AM    Dec.   $ARCS, after speaking with CEO last night I am adjusting
                10,    my price targets significantly. I think we see .10-15 in 1-2
                2020   weeks from now but ultimately over .3 by end of Jan. They
                       have massive scalability and already have licenses and
                       operations compared to $TLRY $ACS and $HEXO
22   8:24 AM    Dec.   Go look at any big co's and you can easily :see how much          Email screenshots
                10,    bigger $ARCS is than most #cannabis #Stocks and                   attached
                2020   #potstocks. I will post my other emails today ... and
                       remember ... $HEXO has only 1 million sq ft that isn't built
                       out and 600 employees. CEO said they have big plans for us
23   9:17 AM    Dec.   “$ARCS is about to set a new standard in the American
                10,    #cannabis industry . ... most known cannabis company in the
                2020   U.S market.”
                       -The most known
                       -Leading forces
                       -500 million share retirement
                       380,000 sq ft grow
                       1 million sq ft facility indoor for processing
                       -More acreage coming
24   9:47 AM    Dec.   $ARCS here is another email i received. Again, you can all        Email screenshot
                10,    verify it with CEO:) On top of the current operations they        attached
                2020   have, they are EXPANDING out of
                       Colorado for BIGGER GROWS. #CannabisCommunity
                       #cannabis #potstocks #stocks $TLRY $HEXO $acb
25   9:55 AM    Dec.   Anyone who just sold $ARCS was a large flipper/ daytrader
                10,    and FEAR took over people's emotions. You are about to
                2020   find out how much of a big mistake that was
26   10:23 AM   Dec.   $ARCS I will not back down on my price target. I will stand
                10,    firm like I did on $TSNP.
                2020
27   10:42 AM   Dec.   $ARCS I told you all. ... anyone selling doesn't understand.      Quoted tweet unavailable
                10,    LOL Got more buddy twitter.com/Adamw5516/stat ...
                2020
28   10:59 AM   Dec.   $ARCS webpage just updated!!! WEEEEEEE NEWS 1S                    Arcis website screenshot
                10,    COMING!!! #potstocks #cannabis $TLRV $ACB $APHA                   attached
                2020
29   11:02 AM   Dec.   $arcs news!!! #cannabis #potstocks Dear shareholders,
                10,    A letter explaining our multi-state operation will be released.
                2020   lt will explain in detail our plan of operation and how we are
                       going to become one of the leading cannabis companies in
                       the states.
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                       Thank you for your patience
30   11:32 AM   Dec.   Anyone in $TSNP looking for another crazy run .. $ARCS
                10,    -Multi state for #cannabis operations
                2020   -380,000 sq ft grow
                       - 1 million sq ft processing center
                       -No RS
                       -QB listing
                       -No debt or note-;
                       -Retirement of shares
                       -More grow operations to add to its size
                       -Headed to be biggest US op.
31   12:39 PM   Dec.   $ARCS get in b4 "..the big n ews starts rolling out!            Link to Arcis Resources
                10,                                                                    InvestorsHub post
                2020                                                                   attached
32   1:42 PM    Dec.   People act like i was born yesterday. Bashing the heck out of
                10,    me AFTER All THAT DD i did and brought to the table.
                2020   Sending pm's to people saying i was selling. lf anyone
                       believed that lie then shame on you. The ones accusing
                       others are the ones selling. Cheaters mentality $arcs
33   3:05 PM    Dec.   looks like $ARCS just put up a new twitter! !! WEEEEEEE         Link to Arcis webpage
                10,                                                                    attached
                2020   arcisresourcescorp.com top left!

                       twitter.comjResourcesArcis
34   3:18 PM    Dec.   Read this gentlemen’s email, then read it again;) $ARCS         Email screenshots
                10,                                                                    attached
                2020
35   2:04 AM    Dec.   $ARCS ... tomorrow Is your last chance to load low. I told
                11,    you all 1000’s of percent's comming. I am sticking to it. We
                2020   should run another 3000-5000% from here. Don't miss it.
36   9:45 AM    Dec.   $ARCS ! I told you all you listen to me! I got laughed at.      Quoted tweet unavailable
                11,    bashed, threatened. You all will see what happens in the
                2020   coming weeks. This will be the largest #cannabis company
                       soon enough. #stocks #potstocks #stockmarket
                       @CannabisNews @cannabisnewsnet @CNWMediaOnline
                       #hemp t.CO/T 4e287HIWp
37   9:48 AM    Dec.   $ARCS share buyback! WOOO HOOOO .20++-,.                        Quoted tweet unavailable
                11,    Hereweee come guys! t.co/mJibNStXTT
                2020
38   9:54 AM    Dec.   $TSNP shareholders, come over to $ARCS! look at the             Quoted tweet unavailable
                11,    updates! They will be reducing the OS by 577 million ANO
                2020   buying shares in the open markt
                       -Share buyback
                       - Share retirement
                       -No dilution
                       -No reverse split
                       largest #cannbis operations in the #UnitedStates
                       twitter.com/ResourcesArcis ...
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39   10:55 AM   Dec.   $ARCS wow!!!!!!!!!!!!!!!!!!! #potstocks #stocks                 Quoted tweet unavailable
                11,    #stockmarketnews $TLRY $HEXO $APHA $ACB !!!!!!!!!!
                2020   t.co/4z7xMdvl0h
40   11:53 AM   Dec.   As i told you all before, .25++ coming and I'm not joking       Quoted tweet unavailable
                11,    $TLRY $ACB $APHA $ARCS $HEXO $TSNP $BABA
                2020   $AAPL $TSLA $FB $F $B $D $H #stocks #merger
                       #CannabisCommunity #cannbisstocks #potstocks
                       #greenstocks #stockstotrade #stockstobuy #stockstoown
                       #trading #shortsqueeze
                       #investing t .co/4z:7xMdvlDh
41   12:14 PM   Dec.   $ARCS Hedge fund coming in. Watch. 1.4 million sq ft
                11,    $TSNP will look like child 's play and that was a BEAST.
                2020   biggest #mj #cannabis #merger in the USA
                       no notes
                       no RS
                       no dilution
                       share buyback
                       share retirement
                       idk what else anyone needs to hear
                       $HEXO $ACS $TLRY $APHA $ACAN
42   1:35 PM    Dec.   $ARCS selling pure foolishness. Friday beer sellers. Be
                11,    patient guys. This has more than enough potential to
                2020   see .85+ + +
43   1:38 PM    Dec.   The $ARCS float has officially turned over at an avg price
                11,    of .012. Get ready
                2020
44   3:27 PM    Dec.   $ARCS all this selling ... LOL I dont buy it when people say
                11,    they are holding .... HOWEVER .. someone .... someone
                2020   BIG is buying .... updates on that coming .. ;)
45   3:40 PM    Dec.   On top of the share retirement and share buy back. FOOLS        Quoted tweet unavailable
                11,    are selling. $ARCS. Lco/nPPxM20HGS
                2020
46   3:48 PM    Dec.   $ARCS ... the top 10 #cannabis companies pull in over
                11,    S145,000,000 million dollars in profit. Think!
                2020   $TLRY $HEXO $ACB $APHA Everything ANYONE
                       COULD WANT ON THE OTC IS HERE WITHIN THIS
                       COMPANY.
                       -BIGGEST #MJ #CANNABI #POTSTOCK #merger
                       -NO RS -NO CONVERTIBLES -Buyback and Retirement
47   4:00 PM    Dec.   $ARCS .... BOOOOOM ... Just the start ... another 2500% to
                11,    go. Short squeeze has officially started! I am sticking to
                2020   my .25 short term price target and .85 cent target long term.
48   5:25 PM    Dec.   $ARCS .... read hard ... sound familiar? $TSNP 2.0 ."We are     Quoted tweet unavailable
                11,    in the PROCESS OF PURCHASING SHARES" shares out
                2020   of the retail market. .. will be assigned to a NEW CLASS OF
                       PREFERRED shares and LOCKED OUT of the
                       market. . .Statement will come out at the END of the
                       process." #cannabis #merger t.co/mjibNStXTT
49   12:37 AM   Dec.   Just received an email confirming today's tweets about
                12,    $ARCS buyback. They will make an announcement on it next
                2020   week in the shareholder letter per their tweet today. Guys, I
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                       never ever .... EVER said something like this .... maybe .. just
                       maybe ... this is a once in a lifetime stock.
50   10:15 AM   Dec.   $ARCS is painting a picture, and it's going to be a
                12,    masterpiece. They have worked long and hard on this .... for
                2020   US. Remember, be patient. The DD is there.
51   2:54 PM    Dec.   So some questions about $ARCS debtVnotes/ toxic lending            Email screenshot
                12,    they might have .. Again, there is ZERO. Absolutely none.          attached
                2020   They have stated it here:
                       twitter.com/ResourcesArcis ..
                       Also, the company coming in is SO BIG, they have there
                       own funding. That is the reason for the retirement of shares
52   4:50 PM    Dec.   $ARCS I have spent the last 5 hours writing this on why I          Link to Arcis Resources
                12,    believe it may be worth over 1$ some day. Please share             InvestorsHub post
                2020   retweet. tike. I truly believe we have                             attached
                       uncovered a massive life changing #cannabis co.
                       investorshub.advfn.comfboards/read_ms ... $tlry $apha
                       $acan $hexo $acb #potstocks #StocksToBuy
53   3:21 AM    Dec.   Well .. well .. well Get ready $ARCS                               Reply tweet showing
                13,                                                                       Arcis website “under
                2020                                                                      construction”
54   9:19 AM    Dec.   $ARCS .... remember .... MULT1 State #cannabis and #MJ             Quoted tweet unavailable
                13,    #potstocks
                2020   operations ... bigger than anyone could imagine.
                       tw1tter.com/idm316/status ...
                       Sacb Shexo Sapha S TLRY Smcoa Sfb Sbaba Sstz
55   3:52 PM    Dec.   $ARCS buyback email. Confirmed. How much they will buy             Attached image of email.
                13,    back we have yet to be informed but it WILL be addressed in
                2020   the shareholder letter. This massive #mj #potstock and
                       #cannabis co will be one for the ages. 1.4 mill sq ft. no RS,
                       no dilution, double expanding, OS retirement
56   11:34 PM   Dec.   $ARCS Here is how they will become the BIGGEST #mJ                 Link to Arcis Resources
                13,    #potstocks #cannabis #mJ in the industry next to $ACB              InvestorsHub post
                2020   $TLRY $APHA $ACAN $STZ $HEXO                                       attached
                       investorshub.advfn.com/boards/read_ms ...

                       #mmj #stocks #stockmarket #pennystocks #spac
                       #investing #StocksToTrade #StocksTobuy
                       #cannab1sculture @cannab1snewsnet
57   9:15 AM    Dec.   $ARCS as of last Wednesday, over 520 million shares short at       Excel short ARCS
                14,    an avg price of .012. On top of their tweet updates on Friday,     trading spreadsheet
                2020   its about to be FRY-day. @buyinsnet Biggest #merger on             attached
                       the #otc for an #mJ #potstodc. No RS, No Dilution, Share
                       retirement, Share buyback. muti state ops
58   9:36 AM    Dec.   $ARCS going over .05 today. #FOMO. Dont miss out and
                14,    be stubborn about price when its worth .85 + + +
                2020   380,000 sq ft grow PLUS the 1 million sq ft facility for
                       processing
                       -Share retirement reduction from the OS
                       -Share buyback(dont know the amount)
                       -Current plans and goals
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59   9:36 AM    Dec.   Future of the company, uplisting to bigger exchange, funding
                14,    No RS
                2020   No Dilution or notes or any of that nasty sauce
                       The multi state deal they have with the big merging company
                       The expansion and size of expansion #cannbis #merger #mj
                       #potstocks #greenrush #nasdaq #stockmarket
60   9:53 AM    Dec.   $ARCS, folks this is just the start. Again, read ALL the DD
                14,    and emails and ask yourself what you really own and what
                2020   they are CURRENTLY DOING. $TLRY size operations
                       already. They will double In size when the merger is
                       competed. FACT. Dont sell yourselves short. #mJ
                       #cannabis #MMJ
61   11:09 AM   Dec.   $ARCS again, if you have any questions, you can email the
                14,    company on the otcmarkets profile and verify the twitter and
                2020   everything else that 1 0O's of people posted response to. lts
                       gonna beee epic .
                       otcmarkets.com/stock/ARCS/pro ..

                       info@arcisresourcescorp.com

                       Raul Santos is the CEO.
62   11:42 AM   Dec.   $ARCS churning for next leg. lots of people selling but again
                14,    BIG BUYERS .... wonder where they are coming from???
                2020   Company? Buyback? Who knows?
63   12:37 PM   Dec.   $ARCS gobbled up sellers. Your loss. LOOOOOOOOOL
                14,    WEEEEEEEEEEEEEEEEEEEEEEEEEEEE ....
                2020   comment WEEEEEEEEEEEEEEEEEEEEEEEEEEEE
                       guys :D
64   12:58 PM   Dec.   $ARCS AGAIN I Will SAY IT. KNOW WHAT YOU
                14,    OWN. HOLDING ALL MY
                2020   SHARES WITH GRIP TlGHT FIST. We are going .85+ I
                       dont care what the rest of you all think or do. God is good.
                       This company is doing everything the right way.
65   1:11 PM    Dec.   $ARCS today proves that gaps don't always fill. Suckas
                14,
                2020
66   1:17 PM    Dec.   $ARCS facilities the size of Aurora out in California. Aurora's
                14,    smallest facility is 800,000 sq ft that pulls in 1oo·s of millions
                2020   in revenue .... we have 1.4 million
                       sq ft and EXPANING to other states with MORE growing
                       operations. $ACS $TLRY $HEXO $APHA $ACAN
67   1:50 PM    Dec.   $ARCS one laaaaaaassssst time …. MULTI STATE                         Email screenshots
                14,    GROWING OPERATIONS COMING WITH BIG                                   attached
                2020   #cannabis #merger 1.4 million sq ft ALREADY UP AND
                       RUNNING. The next $TLRY $ACB $HEXO $APHA
                       $STZ for .10 cents a share with buyback and OS retirement
                       and FULLY FUNDED. #StocksToBuy #stocks #investing
                       twitter.com/AngryRed316/st...
68   2:23 PM    Dec.   $arcs Got another email:
                14,    Arcis Resources Corporation
                2020   <info@arcisresourcescorp.com> wrote:
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                      "Yes, I will talk with our website developer about some
                      changes.”

                      CEO said making changes to website for pictures, letter, and
                      other changes. Be patient.
69   2:46 PM   Dec.   I aint the only one who got emails ... there are 50 others      Email screenshots
               14,    LMBO $tlry #cannabis #mJ #mJstocks #potstocks $ACB              attached
               2020   $ACAN $APHA $HEXO #investing #pennystocks #stocks
                      #otc #shortsqueeze #DD #ty #news #stocknews
                      @ChronicReports @cannabisnewsnet @CNWMediaOnline
70   3:16 PM   Dec.   .10++ tomorrow? LOL .15 gap? Bets?
               14,
               2020
71   3:37 PM   Dec.   $ARCS is like buying $ACB or $TLRY if it was a penny
               14,    stock LOLZ
               2020
72   3:52 PM   Dec.   $ARCS got some friend that scooped up more:) Be patient.
               14,    We will see .50+++ Holdfast.
               2020
73   3:55 PM   Dec.   $ARCS SPLN market maker ... hint? Founded in 1986.
               14,    Celadon Financial Group is a full service broker-dealer
               2020   serving financial institutions, hedge funds, money managers,
                      and high net-worth clients in the U.S. and abroad.
74   4:41 PM   Dec.   $ARCS . Otcmarkets. Hit up the email on there, i even
               14,    verified with TA that its real company contact info to reach
               2020   out. Just more verification for you all that
                      we are safe and i did a lot of OD for us here. See you all
                      above .25 then .50..then fireworks.
                      otcmarkets.com/stock/ARCS/pro...
75   5:58 PM   Dec.   $ARCS congrats to everyone today. Great consolidation and
               14,    strength into the next big squeeze. Once we break .10, It
               2020   wont ever see it ag ain I think. LOTS of peeps got churned
                      out like the sub 03 people. l told you al l. This is gonna be
                      BIG.
76   N/A       Dec.   RETWEET @StockTalk1010: “$ARCS retiring 577                     Screenshot of message
               14,    MILLION shares”                                                 from Arcis attached
               2020
77   7:57 PM   Dec.   $ARCS so a couple of things. There has been more than
               14,    enough updates from the company CEO Raul Santos on
               2020   Friday's tweets and emails. Remember guys, i told you to be
                      patient. Give him some room to breathe. He has a lot on his
                      plate. With all the evidence presented, you can . . .

                      effectively make your own choices. Buy Sell Hold. I am
                      choosing to hold and i hope you go on this ride with me.
                      Heis doing US a favor so lets do some DD and be grateful.
                      He gave us his word and has worked long and hard on this.
                      Go over emails again. See you over .50 soon
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78   9:08 PM    Dec.   Ok so I know some are showing up late to the start of a             Reply to tweet with
                14,    great, long party for $ARCS. These pics were taken before           screenshots of Arcis
                2020   ceo took the website down to update all the pages for pics          website
                       and cultivation sites etc ... the merger with whomever it is
                       will not be announced till they are current
79   7:45 AM    Dec.   GM everyone. Looking forward to another great day. Still
                15,    sticking to my PPS target on $ARCS. Know a lot of people
                2020   will do this or do that and say this or say that. People can
                       choose what they do. Those still holding $ARCS i feel
                       are going to be very happy soon. Be patient. .85++
80   8:38 AM    Dec.   For some still wondering, you can ALWAYS check $ARCS                Link to Arcis webpage
                15,    filing for DD backend.otcmarkets.com/otcap1/company ...             attached
                2020   The latest filing shows that otcmkt is displaying
                       arcisreourcescorp.com web
                       addy correctly. Again, trying to dispel any lies by people who
                       sold and now are to get back in cheaper pps
81   9:29 AM    Dec.   Today is my last buy day for $ARCS then i will hold all for
                15,    the promise land. It has been awesome getting to know some
                2020   of you. See you .85+ + one day. Oh, and I am about 99.5%
                       sure i found the #cannabis company merger..and
                       ITS HUGE Won’t have any issues running past my targets
82   9:36 AM    Dec.   $ARCS remember when it drops to 007 after hitting 016 only
                15,    to break out to 07? Be patient. Do your OD, reach out to
                2020   company and get your answers. Be strong in low volume big
                       dips like these.
83   9:45 AM    Dec.   $ARCS for those who missed it;) Next $ACB $TLRY                     Quote of prior tweet
                15,    $HEXO $APHA #merger #cannabis #mj #mmJ                              from 12/14/2020
                2020   #potstocks
                       @cannabisnewsnet

                       @CNWMediaOnline

                       @ChronicReports
84   10:08 AM   Dec.   $ARCS lf ...if ......... if i found the company (dont want to say
                15,    prematurely if i happen to be wrong) then the value of the
                2020   company lies somewhere between $4.65 per share if OS is
                       retired with no buyback and 8.65 with full restricted cancelled
                       and buyback of 150 million+ shares.
85   11:21 AM   Dec.   $ARCS notice how thin level 2 is getting? Maybe they already
                15,    started their buy back like they said?
                2020
86   12:32 PM   Dec.   ... tick tick tick time is running out                              Tweet quote “$ARCS
                15,                                                                        this is huge. company
                2020                                                                       about to update
                                                                                           shareholders. site
                                                                                           updated lock and load”
87   12:35 PM   Dec.   $ARCS                                                               Email screenshots
                15,                                                                        attached
                2020   twitter.com/GainsDayTrades ...
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                      $TLRY $ACS $HEXO $STZ #merger $APHA $ACAN
                      #cannabis #investing #StocksToWatch #stocknews #news
                      #invest #investingtips #TradingTips #stocksinnews
88   1:58 PM   Dec.   $ARCS Simple impatient want it now mentality. It isnt here,
               15,    so you sell. Dumb donkeys LOL
               2020
89   2:27 PM   Dec.   $ARCS for those in the trenches with me remember these
               15,    key things.
               2020   No rs
                      no dilution
                      share retirement
                      buyback.
                      #merger
                      #CannabisCommunity
                      1.4 million sq ft facility with revenues of 450 million in net
                      profits for that scale ...
                      $ACB largest facility is 1.2 milly $TLRY 800k
90   3:59 PM   Dec.   $ARCS float has officially turned above 035 now :D Gonna
               15,    go higher. Those in $TSNP remember how it was before it
               2020   beast past .10
91   5:29 PM   Dec.   $ARCS i have to say this as i get around 400 messages a day       Arcis website screenshots
               15,    and am bewildered some of you dent do any DD. You just            attached
               2020   got here and we shot up 10,000% in a few days. If you dont
                      like it, sell and move on. You all expect 300-500% days. Be
                      realistic. No one who is long expects that.

                      Also, again, these pics were up on the website before you all
                      came along. CEO told us he would be updating website and i
                      even showed an email yesterday saying he is. Chill out or sell
                      and move on. I am believe i will get my .85+ on it. Stocks go
                      up

                      Stocks go down, stocks consolidate. But i am sick of the
                      complaining from some of you. 1 cent drop and the sky is
                      falling. STOP. Move on then. You didn't do any dd and you
                      blindly purchased something you didn’t even
                      research. l DID. l heard everything i needed to from

                      the CEO himself. I shared it EVEN THOUGH I DIDNT
                      HAVE TO. I thought by sharing we can all make money. But
                      instead, you all want me to tell you when he will release news.
                      Aint gonna happen. 90% that ask just want to
                      know to sell into news. I am here for long term. You do you
92   5:50 PM   Dec.   $ARCS merger #Potstocks #merger #news SAPHA STLRY                 TD Ameritrade article
               15,    $ACB research.                                                    link attached
               2020   tdameritrade.com/grid/public/ma ...

                      This is exactly what is going to happen to $ARCS. Buckle up.
93   5:57 PM   Dec.   $ARCS when website comes back from being changed and
               15,    updated, i dont wanna hear about how you sold and how sick
               2020   you are cause you didnt do your DD. $TLRY $APHA bige
                      #cbd #mj #mjnews afterhours ... Just you
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                        wait....$ARCS is on its way. I dont care what you all do. I
                        gave it to you
94    7:44 PM    Dec.   $ARCS you all make your own decisions but there will always
                 15,    be down days. Nothing goes up forever. I remain committed
                 2020   on my .SSC price target+++ We had only 2 down red days
                        LOL We are still up 400% for most and in my case more
                        than 1000% I still have all my shares. Love u all
95    8:00 PM    Dec.   $ARCS this is why i always tell all of you to not listen to      Screenshot of
                 15,    message board posters. He screams- scam blah blah blah to        InvestorsHub post
                 2020   load your hard earned shares.                                    attached
96    8:30 PM    Dec.   ibb.co/tmncWKm gosh this is rich see kids, dont listen to        Screenshot of
                 15,    bashers on $ARCS BWAHAHAHAHAHAH                                  InvestorsHub post
                 2020                                                                    attached
97    11:16 PM   Dec.   $ARCS here is some clairty in dips. These bashers wor1cing       Link to InvestorsHub
                 15,    over time tonight LOL Remember, do your DD. Bashers              post attached
                 2020   have agendas.
                        lnvestorshub.advfn.com/boards/read_ms ...
98    1:01 AM    Dec.   Hey guys I have a wonderful confirmation of the website for
                 16,    $ARCS proof! Let me get some things in order here and i will
                 2020   post Someone who reached out to Raul got a response and
                        proved it was him. :) WEEEEEEEE Like i said,
                        do your DD!
99    1:22 AM    Dec.   So this man's name is Sean Travis. Mt Travis emailed $ARCS       Screenshot of text
                 16,    on the website when it was up and almost immediately the         exchange attached
                 2020   CEO of $ARCS got back to him and responded.
                        amsresourcescorp.com

                        Anyone claiming it Isn't the company website is a fraud and
                        preying on the gullible and weak.
100   8:52 AM    Dec.   $ARCS more awesome DD. Again, do your research guys.             Quote tweet of Arcis
                 16,    WEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEE                             “due diligence” attached
                 2020
101   9:23 AM    Dec.   $ARCS this is the day for cheap shares. Fear is easier to sell
                 16,    than truth.
                 2020
102   9:37 AM    Dec.   $ARCS website still up, if it was a scam along with tehir        Link to Arcis webpage
                 16,    twitter, ask yourself... .. why would it still be up? Email      attached
                 2020   company and get answers.
                        "Bringing you the good stuff"
103   9:44 AM    Dec.   $ARCS from 078 to 016 on what bad news??? LOL
                 16,
                 2020
104   9:47 AM    Dec.   $ARCS every email i posted, every link and website i posted,
                 16,    all of it I stand behind 100000% I will hold through this
                 2020   Chaos and wait for the company to speak. You guys do
                        whatever you feel you need to do.
105   10:13 AM   Dec.   $ARCS So sad to see days like today. Nothing has                 Screenshot of ARCS
                 16,    fundamentally changed. People dont get a website update so       price fall attached
                 2020   it crashes cause it didnt come when they wanted it too?
                        Pathetic.
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106   11:09 AM   Dec.   $ARCS for those stiiiiiil wondering                               Link to Arcis Resources
                 16,    web.archive.org/web/2020120816 ...                                web archive attached
                 2020
                        more proof
107   12:13 PM   Dec.   $ARCS more clarity.                                               Link to InvestorsHub
                 16,                                                                      post attached
                 2020
108   12:28 PM   Dec.   $IGPK running. Nice news today. Another big hemp and
                 16,    cannabis play i alerted at .002. $ARCS just chilling till ceo
                 2020   says something.
109   2:31 PM    Dec.   $ARCS think about it. .. nothing is actually wrong with it.       Link to Arcis Resources
                 16,    Just the fact the shareholder letter never came out when          web archive attached
                 2020   people wanted it too.
                        web.archive.org/web/2020120916 ...

                        At the bottom of the contact info page it is listed. Once again
                        i am sticking to my guns in that it is real.
110   10:05 AM   Dec.   While everyone has been fighting on $ARCS ive been
                 17,    loading.
                 2020
111   10:16 AM   Dec.   $ARCS this was the email this guy received. I reached out to      Email screenshot
                 17,    him and he confirmed it was 100000% legit. #otc #news             attached
                 2020   #arcs $tlry $ACB #bottomism #loaded #stocks #cannabis
112   10:53 AM   Dec.   $ARC owns this btw .. not the huge merger but worth               Link to online cannabis
                 17,    noting.                                                           shop attached
                 2020
                        [correction to] $ARCS
113   1:19 PM    Dec.   $arcs remember where this is at now .... just wait .. .. next     Screenshot of OTC
                 17,    update pops it over 05 on a massive gap n squeeze.                Markets attached
                 2020   otcmar1cets.com/stock/ARCS/ pro ... email listed ...
                        info@arcisresourcescorp.com now look below ... so many
                        people were tricked out of their positions simply for trading
                        on emotion.
114   5:41 PM    Dec.   $ARCS I just saw otc markets put a CE on it. CEO needs to
                 17,    put out the letter tonight and address it. Spam his email
                 2020   everyone.
                        info@arcisresourcescorp.com
115   6:23 PM    Dec.   arcisresourcescorp.com its still up .... Again, Email $ARCS       Link to Arcis Resources
                 17,    CEO so he can address these issues. OTCMARKETS is                 website attached
                 2020   pathetic for doing this AFTER the bell.
116   7:46 PM    Dec.   $ARCS .....interesting                                            Link to InvestorsHub
                 17,                                                                      post attached
                 2020   There was no filings, no news, website wasnt up till Dec
                        8th ....
                        "Interested in what happens over the next few weeks here -”

                        tnvestorshub.advfn.com/boards/ read_ms...

                        mvestorshub.advfn.com/boards/read_ms...
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117   9:28 PM   Dec.   $ARCS                                                           Screenshot of E*Trade
                18,    Sold for a huge loss. I don't care what anyone says about me.   brokerage account
                2020   I back up what i say. I take my losses like a man. I dont       attached
                       blame anyone for this. Everyone received the emails and saw
                       their twitter. This was either calculated pump or
                       a CEO who did things in the wrong order.
118   4:07 PM   Dec.   $ARCS investorshub.advfn.com/boards/read_ms ...
                20,
                2020
119   4:33 PM   Dec.   $ARCS Again, whomever is behind all this will be punished.
                20,    By my hand or someone else's. The amount of damage they
                2020   have done 10 me and others will not go unpunished. You
                       think if anyone was guilty they would leave this all up? No.
                       No guilty person would. People have reached out

                       to help me with this and I gave them the nod. People know i
                       was stuck in the forefront of it all 10 use me as the scape
                       goat. The truth will come out. I was very excited to receive
                       the emails. I was NOT the FIRST person to receive and
                       email. In fact, it was others. Many others.
120   2:08 PM   Dec.   $AMLH can anyone verify if that twitter is real....looks
                21,    fake...we dont need another $ARCS or CE on stocks ...
                2020   gonna wait till company comes out with updates/pr’s and or
                       filings
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                         @OCMillionaire Tweets (times MT)
  December 9, 2020




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    From:            Issuer Services
    To:
    Subject:         Fw: [EXT] Re: Invoice from OTC Markets for Arcis Resources Corporation
    Date:            Thursday, December 17, 2020 1:32:09 PM




    From: Raul Santos                @gmail.com>
    Sent: Monday, December 14, 2020 2:32 PM
    To: OTC Markets Group Billing <otcmarketsgroupbilling@otcmarkets.com>; Info Box
    <info@otcmarkets.com>
    Subject: [EXT] Re: Invoice from OTC Markets for Arcis Resources Corporation

    To whoever it may concern,

    I have just become aware someone not affiliated with Arcis Resources corporation is
    spreading lies about Arcis Resources on Twitter/ message boards claiming they have an
    affiliation to the company & spreading false lies. This has been a dormant shell for several
    years now & there is nothing is going on. What can I do to have my name removed from the
    OTC Markets? Additionally, what person from the OTC Markets can I talk to so investors are
    not harmed any further?

    Respectfully,

    Raul Santos

    Sent from my iPhone


           On Feb 1, 2016, at 5:00 PM, OTC Markets Group Billing
           <otcmarketsgroupbilling@otcmarkets.com> wrote:


           Dear Arcis Resources Corporation,
           Please find attached your renewal invoice, I217558, for services provided by OTC Markets
           Group Inc.
           We have also sent under separate cover a hard copy of the invoice via regular mail for your
           records. Our preferred method of payment is ACH, although payment instructions for all
           methods of payment are included on the bottom of the attached invoice.
           If you have any questions regarding your invoice please e-mail us at
           otcmarketsgroupbilling@otcmarkets.com or call us at (212) 896-4405. You may also
           contact Issuer Services at (212) 896-4420 or issuers@otcmarkets.com for any other
           questions.
           Thank you.
           Finance Department
           OTC Markets Group
           304 Hudson Street / New York, NY 10013
           Office: (212) 896-4405                                                                     Exhibit
                                                                                                                exhibitsticker.com




           Website: http://www.otcmarkets.com/home
           Twitter: https://twitter.com/OTCMarkets
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         Facebook: https://www.facebook.com/OTCMarkets
         LinkedIn: https://www.linkedin.com/company/otc-markets-group




         This e-mail (including any attachments) is confidential and may contain sensitive or legally privileged information. It is
         for the intended recipient only. Do not, directly or indirectly, copy, reproduce, print or disclose any part of this e-mail
         without the prior written consent of OTC Markets Group Inc. If you receive this message in error, please delete it and
         any attachments, and notify OTC Markets Group of misdelivery by return e-mail.




         This email has been scanned for email related threats and delivered safely by Mimecast.
         For more information please visit http://www.mimecast.com

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Case 8:21-cv-00403-JVS-ADS Document 6 Filed 03/02/21 Page 104 of 114 Page ID #:175


    From:            Raul Santos
    To:              Voorhees, Danielle
    Subject:         Re: SEC call
    Date:            Tuesday, February 23, 2021 11:39:48 AM



    CAUTION: This email originated from outside of the organization. Do not click links or open
    attachments unless you recognize the sender and know the content is safe.

    Dear Danielle,

        Unfortunately I am working in Macau full time at a Hotel. ( Due to time differences I will
    not be able to hold a call.) But this is the e-mail I sent the OTC Markets. ( below) To
    summarize, ARCS was a failed project. It has been inactive since approximately 2016. ( no
    updated filings have been done with the OTC markets in years.)
    The website: arcisresourcescorp.com ( became available years ago due to non payment) As
    there was no need for it. At some point last year someone purchased it to spread false rumors
    about Arcis. In addition, someone also made up a fake Twitter account to make false
    statements on Twitter. ( Once I became aware of this situation I immediately contacted the
    OTC Markets of what can be done to warn the general public about this situation)
    Furthermore, I’ve also had them remove me as the CEO from the OTC Markets. I have a full
    time job & don’t want to be associated with a penny stock. After trying to make sense of this
    situation for some time. I believe someone named OCmillionaire on Investorshub & Twitter
    with several thousands followers purchased shares in the open market with several of his
    associates. He then purchased the domain name/ made up a fake Twitter account in order to
    sell shares he had purchased at higher price ( and other people on Investorshub) Whoever is
    behind that alias on Investorshub was extremely active on Investorshub spreading these false
    lies to others.

    Respectfully,

    Raul Santos


           To whom it may concern:




           I have just become aware someone not affiliated with Arcis Resources
           corporation is spreading lies about Arcis Resources on Twitter/ message boards.
           This has been a dormant shell for several years now & there is nothing is going
           on. What can I do to have my name removed from the OTC Markets?
           Additionally, what can I do to warn the general public about this false information
           being spread?

           Respectfully,

           Raul Santos
                                                                                              Exhibit
                                                                                                        exhibitsticker.com




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    Sent from my iPhone


         On Feb 23, 2021, at 4:21 PM, Voorhees, Danielle <VoorheesD@sec.gov> wrote:



         Hello Mr. Santos,

         We are attorneys at the Securities and Exchange Commission in the Denver Regional
         Office. We are conducting a confidential, non-public investigation and would like to
         follow up with you regarding an email that you sent to OTC Markets in December 2020.

         Would you be willing to speak to us tomorrow? Other than from 11 – noon MST, we
         are generally available. If you are willing, please just let me know a good time and I will
         circulate a dial-in number.

         Attached is a copy of SEC Form 1662 – it describes how the SEC uses information that it
         collects in investigations and contains other important information. We would be
         happy to answer any questions about the Form when we speak.

         Thank you, in advance, for your time.

         Sincerely,

         Danielle R. Voorhees
         Assistant Regional Director
         Division of Enforcement
         U.S. Securities and Exchange Commission
         Denver Regional Office
         1961 Stout Street, Suite 1700
         Denver, Colorado 80294
         VoorheesD@sec.gov
         303.844.1108 (direct)



         <Form 1662.pdf>
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                                DECLARATION OF RAUL SANTOS

           I, Raul Santos, declare under penalty of perjury under the laws of the United States of

   America, in accordance with 28 United States Code § 1746, that the following statements are
   true and correct, and that I am over the age of 18 years of age and I am competent to testify to

   the matters stated herein:
      1. In December 2015, I was installed as the Chief Executive Officer (“CEO”) and Director

   of Arcis Resources Corporation (“Arcis Resources”). I do not believe that anyone else has taken

   over the role of CEO of Arcis Resources since that time.

      2.   During 2015 and 2016, Arcis Resources Corporation was a public company with

   securities traded under the symbol ARCS that were quoted through a trading platform operated

   by the OTC Markets Group Inc.

      3. In late 2016, Arcis Resources ceased doing business and became a dormant shell. The

   company stopped paying for or maintaining its website that was previously located at

   www.arcisresourcescorp.com.

      4.   In December 2020, I became aware that someone who is not affiliated with Arcis

   Resources was spreading lies about the company on Twitter/message boards. Exhibit 1 is a true

   and correct copy of an email that I sent to OTC Markets Group Inc. on December 14, 2020

   requesting that my name be removed from information posted about Arcis Resources.

      5. During December 2020, Arcis Resources and I did not control or operated a website

   located at www.arcisresourcescorp.com.

      6. During December 2020, I did not have access to or use the email address “Raul

   Santos<info@arcisresourcescorp.com” or info@arcisresourcescorp.com.
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      7. I did not write or send the email purportedly from “Raul Santos” addressed to “Sean

   Travis” with the subject line “Shareholder update” on or about December 8, 2020, that is

   attached as Exhibit 2.

      8. During December 2020, Arcis Resources and I were not “working on bringing the

   company up to date” on its Quarterly Disclosure Statements with OTC Markets Group Inc. so the

   company could “regain Pink current status.”

      9. I did not receive or respond to the email dated December 8, 2020, attached as Exhibit 3.

      10. During December 2020, Arcis Resources was not an operating business. It did not

   possess 380,000 square feet of space for cultivation or 1 million square feet of space for

   processing. In or about December 2020, Arcis Resources was not involved in the American

   cannabis industry. In December 2020, Arcis Resources was not involved in merger discussions.

      11. I did not receive or respond to an email dated on or about December 9, 2020, attached as

   Exhibit 4.

      12. During December 2020, I did not represent that Arcis Resources would retire shares,

   receive QB status, or receive Pink current status, and I did not take any steps to do any of these

   things. I also did not claim that Arcis Resources had “big investors” behind it.

      13. On or about December 9, 2020, I did not write or send an email to a person using the

   Twitter handle @GainsDayTrades confirming that Arcis Resources possesses “a 380,000 sq ft

   facility and has plans on becoming current,” which is attached as Exhibit 5.

      14. During December 2020, I did not send email messages to anyone using the Twitter

   handle @OCMillionaire or @PennyKing130, to Andrew Fassari, or to Sean Travis.
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Case 8:21-cv-00403-JVS-ADS Document 6 Filed 03/02/21 Page 109 of 114 Page ID #:180




    From: Raul Santos <rauls         @gmail.com>
    Sent: Monday, December 14, 2020 2:32 PM
    To: OTC Markets Group Billing <otcmarketsgroupbilling@otcmarkets.com>; Info Box
    <info@otcmarkets.com>
    Subject: [EXT] Re: Invoice from OTC Markets for Arcis Resources Corporation

    To whoever it may concern,

    I have just become aware someone not affiliated with Arcis Resources corporation is
    spreading lies about Arcis Resources on Twitter/ message boards claiming they have an
    affiliation to the company & spreading false lies. This has been a dormant shell for several
    years now & there is nothing is going on. What can I do to have my name removed from the
    OTC Markets? Additionally, what person from the OTC Markets can I talk to so investors are
    not harmed any further?

    Respectfully,

    Raul Santos

    Sent from my iPhone


          On Feb 1, 2016, at 5:00 PM, OTC Markets Group Billing
          <otcmarketsgroupbilling@otcmarkets.com> wrote:


          Dear Arcis Resources Corporation,
          Please find attached your renewal invoice, I217558, for services provided by OTC Markets
          Group Inc.
          We have also sent under separate cover a hard copy of the invoice via regular mail for your
          records. Our preferred method of payment is ACH, although payment instructions for all
          methods of payment are included on the bottom of the attached invoice.
          If you have any questions regarding your invoice please e-mail us at
          otcmarketsgroupbilling@otcmarkets.com or call us at (212) 896-4405. You may also
          contact Issuer Services at (212) 896-4420 or issuers@otcmarkets.com for any other
          questions.
          Thank you.
          Finance Department
          OTC Markets Group
          304 Hudson Street / New York, NY 10013
          Office: (212) 896-4405
                                                                                                    EXHIBIT
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          Website: http://www.otcmarkets.com/home
          Twitter: https://twitter.com/OTCMarkets
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         Facebook: https://www.facebook.com/OTCMarkets
         LinkedIn: https://www.linkedin.com/company/otc-markets-group




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         for the intended recipient only. Do not, directly or indirectly, copy, reproduce, print or disclose any part of this e-mail
         without the prior written consent of OTC Markets Group Inc. If you receive this message in error, please delete it and
         any attachments, and notify OTC Markets Group of misdelivery by return e-mail.




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